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        UNITED STATES DISTRICT COURT FOR THE DISTRICT OF RHODE ISLAND


  MARY SEGUIN,
  pro se

  Plaintiff,

  VS.                    Civil Action No. 1:23-cv-126-WES-PAS
                         U.S. Court of Appeals for the First Circuit Appeal No. 23-1967
                         Related Appeal No. 23-1851
                         Related Appeal No. 24-1451

  RHODE ISLAND DEPARTMENT OF HUMAN SERVICES, et al.
  Defendants-Appellees
  Defendants



          SECOND RULE 62.1 INDICATIVE MOTION ON PLAINTIFF’S
  RULE 60(b), RULE 15(a)(2) and RULE 15(d) MOTIONS TO SUPPLEMENT
   AND ADD BIVENS AND TORT CLAIMS AND FEDERAL AND STATE
   DEFENDANTS FOR DAMAGES CLAIMS AND INJUNCTIVE RELIEF


                      ORAL ARGUMENT REQUESTED
                                  ___________________


    STATE-SPONSORED ORGANIZED FRAUD, THEFT OF PUBLIC
  MONEY AND GOVERNMENT PROGRAMS INVOLVING BILLIONS OF
                       DOLLARS
    Unlawful Interstate Collection of Unlawful 12% Compound Interest Within
   the Title IV-D Legal Framework Involving Organized Felonious Obstruction
      of Justice Acts by Defendants, Obstruction of Justice and Misprision of
                         Felony by Defendant Counsels, and


                             I.      UNDISPUTED FACTS


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     Before the Court is Plaintiff’s Rule 62.1 Indicative Motion filed on September

  6, 2024 (ECF 64). On September 13, 2024, Plaintiff-Appellant filed Appellant’s

  Opening Brief in Appeal No. 23-1967 that arises from the above-captioned district

  court case. Plaintiff, MARY SEGUIN, hereby incorporates all factual allegations

  and arguments alleged therein (in ECF 64 and 23-1967 Opening Brief) as fully

  alleged herein, and hereby moves under Rule 62.1 for an Indicative Ruling on

  Plaintiff’s Rule 15(a)(2) and Rule 15(d) Motions to (1) add tort and Bivens claims

  to the Amended Complaint (ECF 25), and to (2) supplement the Pleading with

  facts subsequent to the September 1, 2023 Amended Complaint; and to add

  defendants William E. Smith, John Doe and Jane Doe clerks of the United States

  District Court for the District of Rhode Island, Joanna Achille, Marissa Pizana and

  Peter Neronha and all named individual defendants in their individual functus

  officio void ab initio capacities under Bivens (federal) and official and individual

  liability of the defendants for tort claims, Sections 1983 claims and RICO claims

  (monetary damages) for misprisio clerici obstruction acts that further involve

  concealing any and all federal record alteration and falsification already aforesaid

  raised before this Court and the Court of Appeals in the First Circuit, and

  interfering with the pending Appeals 23-1967, then 23-1978, that exposes the

  above named for Bivens, tort, 42 U.S.C. §1983, civil RICO, among others.

  Plaintiff seeks $605,000 in damages per count and $605 Million in damages for the


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  conspiracy. Public Interest is implicated - their obstruction acts and conspiracy go

  towards the legitimacy of the judiciary and the legitimacy of the government.

     Plaintiff hereby preserves the issues raised in this motion for Article III review

  by the U.S. Supreme Court and states on the record that the raised and preserved

  issues are ripe for Supreme Court review.

     In support thereof, the Plaintiff states the follows:

                                I. LAW AND ARGUMENT

  1. Plaintiff is injured and seeks to sue aforesaid William E. Smith, John Doe and

  Jane Doe individually under Bivens claims for his and their post-appeal functus

  officio void ab initio acts, altering and concealing the alteration and falsification of

  federal records of the record on appeal, and aiding in and concealing his former

  clients’ alteration and falsification of federal Title IV-D federal Central Registry

  records for the purpose of making false claims that exposes him and the above-

  named to, among others, civil rights deprivation, obstruction and RICO liability

  and monetary damages. The Ninth Circuit Court of Appeals explains that “[t]he

  whole administrative record,” as per 5 U.S.C. § 706, “’is not necessarily those

  documents that the agency has complied and submitted as ‘the’ administrative

  record.’ ’The ‘whole’ administrative record . . . consists of all documents and

  materials directly or indirectly considered by agency decision-makers and includes


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  evidence contrary to the agency’s position.’” Thompson v. United States Dep’t of

  Labor, 885 F.2d 551, 555 (9th Cir. 1989) (emphasis in original; citations omitted).

  The newly discovered evidence prescribing administrative procedures that

  systemically and systematically shows falsification and alteration of federal Title

  IV-D records as it relates to Rhode Island’s unlawful 12% compound interest that

  prescribes “zeroing out” interest and altering support orders to zero out interest,

  purposefully on its face is intended to conceal the unlawful and 42 U.S.C. §

  654(21)(A) noncompliant 12% compound interest Rhode Island Defendants seek

  to collect in actions in debt, triggering systemic (1) RICO liability, (2) false claims

  liability and (3) obstruction liability. The Supreme Court Trump v. U.S., 603

  U.S.__(2024) and Fischer v. U.S., 603 U.S. __ (2024) made it crystal clear that

  alterations and falsification of court orders trigger 18 U.S.C. § 1512(c)(2), record

  alterations that interfere with a pending proceeding, which is precisely what the

  functus officio William E. Smith leading the charge of the remainder aforesaid

  persons did post-appeal, and concealed the record alteration, that as it turns out,

  goes towards the impeding and impairing the availability of, and concealment of

  [precisely and textually what the new evidence prescribes to do, alter court orders

  to zero out the interest. The whole district court post-judgment administrative

  record and Smith’s former clients’ Title IV-D administrative record must now be

  brought before this Court.


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   II. FED. R. CIV. P. 62.1 ALLOWS THIS COURT TO REMEDY SMITH’S,
         JOHN DOE’S, JANE DOE’S AND DEFENDANTS’ CRIMINAL
                               MALFEASANCE.
  2. Defendants’ criminal record alteration and falsification obstruction

  malfeasance infiltrates the federal district court for the District of Rhode Island by

  their former attorney, the functus officio William E. Smith, who led the functus

  officio charge to tamper the record on appeal of 23-1967 post-appeal during the

  pendency of the appeal, corruptly calculated in part to make the federal appellate

  court to falsely believe it lacked jurisdiction over an appeal proper before it – since

  post-judgment Smith obstructed appellate review of Plaintiff’s monetary damages

  claims for, as it turns out, his former clients’ systemic administrative procedures of

  Title IV-D that alters and falsifies the interest records calculated to ultimately

  make false claims for Rhode Island’s unlawful 12% compound interest debt, and to

  make false claims for federal funding operating the RICO scheme – Smith himself

  has a personal interest in the outcome of this matter, as he knew and should have

  known the systemic odious Title IV-D federal record falsification that is in effect

  throughout all political subdivisions of Rhode Island, who are his former clients,

  with whom he had in addition, intimate political and personal relationships – his

  judgeship is precisely owed to this very loyal political relationship to Governor

  Chafee who is responsible for approving the record alteration administrative

  procedures dated 2011 that is in question in 2011, (see Exhibit I, at bottom left


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  corner of document, date of 2011); central to the facts and evidence is the fact that

  Governor Chafee oversaw the Executive Office of Health and Human Services that

  also had to approve the record alteration administrative procedures under Rhode

  Island laws and regulations that themselves are regulated by federal law and

  auditors under Title IV-D. See, Rhode Island General Laws § 42-7.2-2, § 42-7.2-

  4, § 42-7.2-5, § 42-7.2-6, § 42-7.2-6.1(2). The new evidence makes clear that the

  “zeroing out interest” procedures apply to Rhode Island’s prior legacy Title IV-D

  computer system named InRed. See Exhibit I. InRed is the legacy system that

  Rhode Island implement in response to Congress’s 1996 Amendments to Title IV-

  D that required participating States to implement a computer record system for

  federal Title IV-D records, that needed to be in effect by the year 2000. See 42

  U.S.C. §654(24), (27). From 1996 to 2002, Smith built and headed the largest

  Rhode Island Public Law Practice advising a broad base of political subdivisions

  of Rhode Island covered by 42 U.S.C. §654(1), who knew and should have known

  Rhode Island’s falsification of Title IV-D records in response to Congress’s 1996

  Amendments across the State in order to falsely make it look like Rhode Island

  federal law compliant, calculated to make claims for federal funding Rhode Island

  knew it is ineligible for, and would moreover incur substantial penalties. See 42

  U.S.C. §655. Accordingly, Smith’s personal interest in the outcome of this matter

  is so great that he led the charge pre-appeal to obstruct docketing of three post-


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  judgment motions raising his disqualification, and then post-appeal to alter the

  record on appeal, to falsely make it look like there were pending post-judge

  motions before the filing of the notice of appeal in order to falsely make the

  appellate falsely believe that the appellate court lacked jurisdiction to review de

  novo Plaintiff’s properly filed appeal (ECF 32, 32-1, 33, 33-1). Smith et al. is

  exposed to Bivens liabilities under federal law for their post-appeal actions, and

  Defendants’ and their counsels’ federal obstruction actions expose them to tort,

  Section 1983 and RICO monetary damages liabilities.

  2. Plaintiff has already proffered the newly discovered evidence to obtain an

  indicative ruling – see ECF 64. To reiterate, “A party proffering newly discovered

  evidence may obtain an indicative ruling from a district court concerning relief

  from judgment pending appeal.” Franken v. Mukamal, 449 F. App’x 776, 779

  (11th Cir. 2011) (citing Fed. R. Civ. P. 62.1; Fed. R. App. P. 12.1); see also

  Amarin Pharm. Ireland v. Food & Drug Admin., 139 F. Supp. 3d 437, 447 (D.D.C.

  2015) (“Where a district court concludes, for example, that newly discovered

  evidence warrants vacatur of a judgment that is already on appeal, the court can

  issue an indicative ruling . . . .”).

  3. Once an appeal is filed, the District Court no longer has jurisdiction to consider

  motions to vacate judgment. Gould v. Mut. Life Ins. Co. of N.Y., 790 F.2d 769, 772

  (9th Cir.1986). However, the District Court may entertain and decide a motion
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  after notice of appeal is filed if the movant adheres to Rule 62.1, which sets forth a

  process to “ask the district court whether it wishes to entertain the motion, or to

  grant it, and then move this court, if appropriate, for remand of the case.” Id; see

  also Crateo, Inc. v. Intermark, Inc., 536 F.2d 862, 869 (9th Cir. 1976) (“The most

  the District Court could do was to either indicate that it would ‘entertain’ such a

  motion or indicate that it would grant such a motion.”). If the District Court states

  that it would grant the motion or that the motion raises a “substantial issue,” the

  movant must notify the Circuit Clerk and the District Court “may decide the

  motion if the court of appeals remands for that purpose.” Fed. R. Civ. P. 62.1(b),

  (c); see also Hoopa Valley Tribe v. Nat'l Marine Fisheries Serv., No. 16- 04294,

  2018 WL 2010980, at *4 (N.D. Cal. Apr. 30, 2018) (district courts “have authority

  to deny [a motion], but . . . may not grant it without a remand from the court of

  appeals”).

   1. Fed. R. Civ. P. 60(b) Relief From This Court’s Judgment is Appropriate.

  4. Usually, Rule 62.1 relief is sought under Rule 60(b). See Williams v. Woodford,

  384 F.3d 567, 586 (9th Cir. 2004) (“To seek Rule 60(b) relief during the pendency

  of an appeal, the proper procedure is to ask the district court whether it wishes to

  entertain the motion, or to grant it, and then move this court, if appropriate, for

  remand of the case.”). As explained in Hake v. Guardian Life Ins. Co.: Rule 62.1

  permits the Court to make an “indicative ruling” on a post-judgment motion to give
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  the Court of Appeals an indication on how the Court would rule if it still had

  jurisdiction to rule. The Rule 62.1 “indicative ruling” procedure was instituted to

  deal with post-appeal Rule 60(b) motions, where a district court lacks jurisdiction

  to rule directly. No. 07-1712, 2010 WL 11578944, at *2 (D. Nev. Apr. 1, 2010)

  (citing Fed. R. Civ. P. 62.1 advisory committee’s note). In Comm. on Oversight &

  Gov't Reform, United States House of Representatives v. Sessions it was similarly

  explained: Rule 62.1 provides that upon the timely filing of a motion for relief that

  the court lacks authority to grant because of an appeal that has been docketed and

  is pending, the court may: (1) defer considering the motion; (2) deny the motion; or

  (3) state either that it would grant the motion if the court of appeals remands for

  that purpose or that the motion raises a substantial issue. This rule is invoked in

  situations where a court has lost jurisdiction over a case because it has been

  docketed for appeal, and therefore cannot entertain motions such as those made

  under Rule 60(b) for relief from judgment. Rule 62.1 allows a court to indicate to

  the appeals court that it would grant the party’s motion if remanded to the lower

  court. 344 F. Supp. 3d 1, 7 (D.D.C. 2018) (quotation omitted).

         2. Fed. R. Civ. P. 15(a)(2) Leave To Amend Is Also Appropriate.

  5. While “Rule 62.1 codifies the procedure most courts used to address Rule 60(b)

  motions to vacate final judgments which had already been appealed . . . , nothing in

  Rule 62.1’s language limits its application to Rule 60(b) motions or to motions
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 made after final judgment.” Ret. Bd. of Policemen's Annuity v. Bank of New York

 Mellon, 297 F.R.D. 218, 221 (S.D.N.Y. 2013). The Advisory Committee’s note

 confirms that it “adopt[ed] for any motion that the district court cannot grant

 because of a pending appeal the practice that most courts follow when a party

 makes a Rule 60(b) motion to vacate a judgment that is pending on appeal.” Fed.

 R. Civ. P. 62.1 Advisory Committee’s Note; see also Idaho Bldg. & Const. Trades

 Council, AFL-CIO v. Wasden, No. 11-0253, 2013 WL 1867067, at *3 (D. Idaho

 May 1, 2013) (issuing an indicative ruling under Rule 62.1 regarding a motion to

 add a party under Rule 21); Reflex Media, Inc. v. Chan, No. 16- 0795, 2017 WL

 8223985, at *1 (C.D. Cal. Oct. 17, 2017) (“Rule 62.1 provisions were originally

 drafted as an addition to Rule 60, addressing only relief under Rule 60 pending

 appeal, but the proposal was broadened to include all circumstances in which a

 pending appeal ousts district court authority to grant relief.”). Thus, an indicative

 ruling is appropriate where, under any Rule of Federal Procedure, it would “allow

 for the timely resolution of motions which may further the appeal or obviate its

 necessity” and not simply “place a district court in a position where it must predict

 the outcome of an appeal of its own decision.” United States v. Brennan, 385 F.

 Supp. 3d 205, 208 (W.D.N.Y. 2019) (quotation omitted); see e.g. Rabang v. Kelly,

 No. 17-088, 2018 WL 1737944, at *3 (W.D. Wash. Apr. 11, 2018) (denying a Rule

 62.1 motion that was “simply asking this Court to decide the question on appeal”).


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 6. Plaintiff is requesting that this Court allow Plaintiff to assert new Bivens

 claims, tort claims, Section 1983 claims and RICO claims, and add new federal

 and state individual defendants, based on both pre-appeal federal records

 falsification obstruction (covering both federal Title IV-D records and federal court

 records) and also subsequent actions by functus officio William Smith leading the

 charge altering federal records on appeal during the pendency of an official

 proceeding and based on new evidence that was not—but should have been—

 available when Defendants made their filings in the district court. Attached to

 Exhibit I is so the forensic investigation of the record on appeal that Smith et al.

 altered performed by Plaintiff and the appellate court in an official proceeding,

 after which the appellate court found, despite Smith et al,’s record alteration, that

 the appellate court has jurisdiction, inherent in which Smith et al,’s post-appeal

 alterations of the record are nothing but functus officio void ab initio actions and

 inactions that obstructed the pending appellate proceeding, inherently criminally.

       3. Fed. R. Civ. P. 15(d) Leave To Supplement Is Also Appropriate.

 6. Fed. R. Civ. P. 15(d) provides:

        “Supplemental Pleadings. On motion and reasonable notice, the court may,
      on just terms, permit a party to serve a supplemental pleading setting out
       any transaction, occurrence, or event that happened after the date of the
     pleading to be supplemented. The court may permit supplementation even


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     though the original pleading is defective in stating a claim or defense. The
     court may order that the opposing party plead to the supplemental pleading
                                within a specified time.”


 7. The rule is intended “to give district courts broad discretion in allowing

 supplemental pleadings[,]” and promote judicial economy and convenience.

 Moreover, “[i]t is a useful device, enabling a court to award complete relief, or

 more nearly complete relief, in one action, and to avoid the cost, delay and waste

 of separate actions which must be separately tried and prosecuted.” See, U.S. ex

 rel. Gadbois v. PharMerica Corp., 809 F.3d 1, 4 (1st Cir. 2015) (“Fed. R. Civ. P.

 15(d) affords litigants a pathway for pleading any transaction, occurrence, or event

 that happened after the date of the pleading to be supplemented. The rule shares the

 core objective of the Civil Rules: to make pleadings a means to achieve an orderly

 and fair administration of justice.”). See, also, San Luis & Delta-Mendota Water

 Auth. v. U.S. Dept. of Int., 236 F.R.D. 491, 495-96 (E.D. Cal. 2006) (quoting Keith

 v. Volpe, 858 F.2d 467, 473, 496. (9th Cir. 1988)). A supplemental pleading differs

 from an amended pleading: although an amended pleading concerns matters that

 happened prior to the original pleading and serves to completely replace the

 original pleading, a supplemental pleading concerns events that happened after the

 initial pleading and adds to the initial pleading. Therefore, it is appropriate for

 parties to follow up their pleadings with supplemental pleadings should that be


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 needed to bring a case up to date. See, Habitat Educ. Ctr., Inc. v. Kimbell, 250

 F.R.D. 397, 401 (E.D. Wis. 2008); Millay v. Surry Sch. Dept., 584 F. Supp. 2d 219,

 226 (D. Maine 2008) (quoting United States v. Russell, 241 F.2d 879, 882 (1st Cir.

 1957)); see also, Francis ex rel. Estate of Francis v. Northumberland Cty., 636 F.

 Supp. 2d 368, 383 (M.D. Pa. 2009). Supplemental pleadings are particularly

 flexible—even when parties have mislabeled requests for supplemental pleadings,

 courts have granted leave to file the correct type of pleading. Because the motions

 under the rule for amended pleading and supplemental pleading are both within the

 discretion of the court, the fact that parties may incorrectly plead one or the other is

 not fatal. Thus, courts may treat amended pleadings which seek to add claims to

 the original pleadings as if they had been properly filed pursuant to Rule 15(d),

 even if incorrectly labeled. See, e.g., Broadview Chem. Corp. v. Loctite Corp., No.

 13104, 1970 WL 10113, *1 (D. Conn. Sept. 23, 1970); Soler v. G & U, Inc., 103

 F.R.D. 69, 73 (S.D.N.Y. 1984).

 8. A supplemental pleading may be used for numerous purposes. Supplemental

 pleadings may be used to introduce facts which bring the original pleading up to

 date, including new facts which enlarge or change the relief first sought.

 Additionally, supplemental pleadings may reflect events that occurred after the

 original pleading was first filed. Although some courts have held that supplemental

 pleadings cannot assert new causes of action, other courts have allowed such

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 pleadings so long as the new pleading is based on the events and facts raised in the

 original pleading and does not unduly prejudice the opposing party. See, Kaiser-

 Frazier Corp. v. Otis & Co., 8 F.R.D. 364, 367 (S.D.N.Y. 1948); see, City of

 Texarkana, Tex. v. Arkansas, Louisiana Gas Co., 306 U.S. 188, 203 (1939); see

 also, Health Ins. Ass’n of America v. Goddard Claussen Porter Novelli, 213 F.R.D.

 63, 67 (D.D.C. 2003) (quoting Aftergood v. Central Intelligence Agency, 225 F.

 Supp. 2d 27, 30 (D.D.C. 2002)).

 9. Under the 1963 amendments to the Federal Rules of Civil Procedure, courts

 have been given great discretion to allow for supplemental pleadings, even under

 circumstances concerning defective original pleadings. The court may allow

 supplemental pleading even though the original pleading is defective in stating a

 claim or defense. All of this is to say that Fed. R. Civ. P. 15(d) allows for broad

 and flexible supplemental pleading, which permits litigants to correct, add and

 supplement without the added cost and expense of dismissal and subsequent suits

 over the same set of issues or bringing new claims in a separate suit. See, Notes of

 Advisory Committee on 1963 Amendment to FED. R. CIV. P. 15(d); see also,

 Harnett v. Barr, 538 F. Supp. 2d 511, 514 (N.D.N.Y. 2008). Under the law,

 Plaintiff is entitled to Rule 15(d) relief to supplement the amended complaint.

       II.    PLAINTIFF DESERVES FED. R. CIV. P. 60(B), 15(A)(2) AND
                               15(D) RELIEF.

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 1. Plaintiff Deserves Leave To Supplement Pleading and To Plead New
 Bivens, Tort, Section 1983 and Civil RICO Claims By Amendment.
 10. Under U.S. ex rel. Gadbois v. PharMerica Corp., 809 F.3d 1, 4 (1st Cir. 2015),

 (“Fed. R. Civ. P. 15(d) affords litigants, such as the Plaintiff, a pathway for

 pleading any transaction, occurrence, or event that happened after the date of the

 pleading to be supplemented. The rule shares the core objective of the Civil Rules:

 to make pleadings a means to achieve an orderly and fair administration of

 justice.”) Moreover, a motion to amend the complaint “can be entertained if the

 judgment is first reopened under a motion brought under Rule 59 or 60.” Lindauer

 v. Rogers, 91 F.3d 1355, 1357 (9th Cir. 1996); see also Laber v. Harvey, 438 F.3d

 404, 427 (4th Cir. 2006) (same). Under Rule 60(b)(6), a judgment may be vacated

 for any “reason justifying relief from operation of the judgment.” Fed. R. Civ. P.

 60(b)(6). The U.S. Supreme Court has held that a “motion to vacate the judgment

 in order to allow amendment of the complaint” constitutes such a justifying reason,

 so long as the movant meets the requirements of Rule 15(a). Foman v. Davis, 371

 U.S. 178, 182 (1962). As the Foman rule was more recently articulated by the

 Fourth Circuit: “To determine whether vacatur is warranted . . . the court need not

 concern itself with either [Rule 59 or 60]’s legal standards. The court need only ask

 whether the amendment should be granted, just as it would on a prejudgment

 motion to amend pursuant to Fed. R. Civ. P. 15(a). In other words, a court should


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 evaluate a post judgment motion to amend the complaint under the same legal

 standard as a similar motion filed before judgment was entered—for prejudice, bad

 faith, or futility.” Katyle v. Penn Nat. Gaming, Inc., 637 F.3d 462, 471 (4th Cir.

 2011) (quotation omitted).

 11. Had the Defendants not withheld in both 2022 and 2023 the new 2024

 evidence, when the public officers Defendants originally produced documents

 pursuant to APRA in 2022, and in the district court as required by federal law

 based on their administration of Title IV-D, pursuant to Rule 11(b)(3), 18 U.S.C. §

 4, 1503 and 1512(c)(2), the Plaintiff would have had the factual and legal basis

 required by Rule 11(b)(3) to seek leave to amend Plaintiff’s Amended Complaint

 and add the above referenced claims and add new defendants, e.g., William E.

 Smith, Lincoln Chafee, Office of the Governor, Secretary of Executive Office of

 Health and Human Services, former Firm Edwards & Angell. Plaintiff now has the

 evidence Plaintiff needs to bring those damages claims and add the new

 defendants. Plaintiff was manifestly prejudiced by not being able to seek leave to

 plead those five new claims to the Court under Rule 15(a). None of the new claims

 would be futile. All claims are plausible, if not dispositive in favor of Plaintiff.

 Defendants, on the other hand, have demonstrated bad faith by not originally

 producing the federal record alteration and falsification evidence either as part of

 the administrative record in July 2023, or in response to Plaintiff’s APRA-FOIA

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 request for administrative procedures documents or in response to Plaintiff’s

 APRA-FOIA request for administrative procedures documents on December 1,

 2022.

 12. Moreover, post-appeal of this matter from November 17, 2023 onward, it is

 well settled law the district court is functus officio and loses jurisdiction over the

 matter – there is no “outer-perimeter,” for example, allowing for altering records

 on appeal to make it falsely look like the appellate court lacks appellate jurisdiction

 over a properly filed appeal where the district court clerk certified there were no

 pending motions at the time of filing of appeal (ECF 32, 32-1, 33, 33-1).

 Obstruction Functus Officio acts are unofficial. Plaintiff is entitled to Bivens

 claims and add William E. Smith, John Doe, Jane Doe; and Plaintiff is entitled to

 add tort, Sections 1983 and Civil RICO claims, and add the aforesaid state

 defendants. Under Bivens v. Six Unknown Named Agents of Federal Bureau of

 Narcotics, 403 U.S. 388 (1971), individuals have access to a judicial damages

 remedy for federal officers conduct by federal agents that violates the U.S.

 Constitution. In Bivens, the Supreme Court held that where a federal officer

 “acting under color of [federal] authority” commits a constitutional tort, a cause of

 action for money damages arises directly under the Constitution. Bivens, 403 U.S.

 at 389. The Court reasoned that “where legal rights have been invaded . . . federal

 courts may

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 use any available remedy to make good the wrong done.” Id. at 396 (quotation and

 citation

 omitted). In addition, the Court found “no special factors counselling hesitation in

 the absence of affirmative action by Congress.” Id. Accordingly, the Court held

 that Mr. Bivens pled a cause of action under the Fourth Amendment and therefore

 could recover monetary damages for the agents’ violations thereof. Id. at 397. The

 Court also recognized that federal courts had the power to award equitable relief—

 such as injunctive relief—directly under the Constitution. Id.; see also id. at 400

 (Harlan, J., concurring). Unlike a Federal Tort Claims Act (FTCA) claim, Plaintiff

 can file a Bivens action directly in district court.

 2. Plaintiff Should Also Be Granted Rule 60(b)(2) Relief.

 13. Rule 15(a) aside, Plaintiff is independently entitled to Rule 60(b)(2) relief

 under the “newly discovered evidence” rule. Fed. R. Civ. P. 60(b)(2). For the Court

 to grant relief under this rule “the movant must show the evidence (1) existed at the

 time of the [judgment], (2) could not have been discovered through due diligence,

 and (3) was of such magnitude that production of it earlier would have been likely

 to change the disposition of the case.” Jones v. Aero/Chem Corp., 921 F.2d 875,

 878 (9th Cir. 1990) (quotation omitted). Requirements (1) and (2) are easily met.

 There is no doubt that this evidence was discovered after the now-appealed


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 judgment was issued. There is no doubt that Plaintiff made several APRA-FOIA

 requests for administrative procedure documents to both the Department of Human

 Services and Rhode Island Judiciary Defendants in 2022 and 2023. This evidence,

 particularly was of such magnitude that production of it earlier would have been

 likely to change the disposition of the case. Those new evidence show that in

 making systemic falsification of federal records to zero out interest in Title IV-D

 federal registry, federal interests are not only central to this case, but that

 Defendants are involved in systematic and systemic falsifying records in official

 proceedings systematic for the purpose of making false claims to both the United

 States and support obligors, in actions at debt at common law, and creating

 purposeful constitutional infirm Title IV proceeding forums to rig the process in a

 RICO scheme, that purposefully impair the availability of public Title IV-D

 actions in debt at common law proceeding records to federal auditors, pro se

 support obligors and to the public. This is not permitted under Title IV-D that is

 subject to the Administrative Procedures Act (APA). Id. at 43; see also, e.g., ATX,

 Inc. v. U.S. Dep’t of Transp., 41 F.3d 1522, 1527 (D.C. Cir. 1994) (“The test is

 whether ‘extraneous factors intruded into the calculus of consideration’ of the

 individual decisionmaker.”) (quoting Peter Kiewit Sons’ Co. v. United States Army

 Corps of Eng’rs, 714 F.2d 163, 170 (D.C. Cir. 1983)); Saget v. Trump, 375 F.

 Supp. 3d 280, 360 (E.D.N.Y. 2019) (finding an agency “decision was arbitrary and


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 capricious due to improper political influence”); Connecticut v. U.S. Dep’t of the

 Interior, 363 F. Supp. 3d 45, 65 (D.D.C. 2019) (APA claim where “significant

 political pressure was brought to bear on the issue and the Secretary may have

 improperly succumbed to such pressure”); Tummino v. Torti, 603 F. Supp. 2d 519,

 544 (E.D.N.Y. 2009) (“An agency’s consideration of some relevant factors does

 not immunize the decision; it would still be invalid if based in whole or in part on

 the pressures emanating from political actors.”) (quotation omitted). The new

 evidence would have easily produced a different result. In addition, as noted

 above, had Plaintiff been in possession of the record falsification record, in

 particular, Plaintiff would have sought to amend Plaintiff’s Complaint pursuant to

 Rule 15(a) to allege additional claims and add additional defendants, as alleged

 above already. See e.g. Jianhong Zhai v. Ning Liu, No. 16-7242, 2017 WL

 7156251, at *2 (C.D. Cal. Aug. 17, 2017) (instructing plaintiffs to “file a motion to

 set aside the default judgment pursuant to Rule 60(b) in conjunction with a motion

 to supplement the complaint pursuant to Rule 15(d)” in order to include new

 evidence in a pleading).

 14. Plaintiff is moreover entitled to Rule 60(b)(3) relief for fraud, as the new

 evidence delineates in detail falsification of records for false claims in actions in

 debt at common law – and is corollary to the functus officio Smith-led charge to

 alter the federal record on appeal.

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 15. Plaintiff is further entitled to Rule 60(b)(4) relief to vacate all void orders

 issued post appeal after November 17, 2023 by William Smith, as outlined above.

 17. Plaintiff is additionally entitled to Rule 60(b)(6) relief to vacate based on the

 extraordinary egregious gross irreparable harm to Plaintiff that has been outlined in

 detail above, that implicates Public Interests in the legitimacy of the judiciary and

 the legitimacy of the government. District courts have jurisdiction over Bivens

 causes of action under 28 U.S.C. § 1331 because they are “civil actions arising

 under the Constitution.” Carlson, 446 U.S. at 21-22 (“[O]ur decisions, although not

 expressly addressing and deciding the question, indicate that punitive damages

 may be awarded in a Bivens suit.”); Sanchez v. Rowe, 651 F. Supp. 571, 574 (N.D.

 Tex. 1986) (“[P]unitive damages may be awarded against an individual defendant

 in a Bivens suit”) (citing Carlson, 446 U.S. at 22). The Supreme Court has

 reasoned that a Bivens action deters future constitutional violations of individual

 officers by providing a mechanism by which they can be held accountable for their

 unlawful actions. See Malesko, 534 U.S. at 70 (“The purpose of Bivens is to deter

 individual federal officers from committing constitutional violations.”). Plaintiff

 moreover is entitled to injunctive actions must brought against officers who, in

 their official capacities, have the authority to carry out the requested injunctive

 relief. See, e.g., Hubbard v. EPA Adm’r, 809 F.2d 1, 11 (D.C. Cir. 1986)

 (recognizing claim against the agency for equitable relief to remedy constitutional

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 violations); Solida v. McKelvey, 820 F.3d 1090 (9th Cir. 2016) (holding that

 Bivens suits are individual capacity suits; and official government action can be

 enjoined). Thus, in this case in which claims for both damages under Bivens and

 injunctive relief can be brought, the Plaintiff seeks to sue in both their individual

 capacity (for the Bivens claim) and their official capacity (for the injunctive relief

 claim), covering federal auditors or persons or officers who knew or should have

 known of alteration and falsification of federal records and obstruction in Rhode

 Island. See, the Ninth Circuit affirmed the availability of a Bivens remedy “where

 a federal official willfully submitted false documentation evidence and the

 submission of this evidence resulted in a complete bar to relief to which the

 individual was otherwise entitled under congressionally enacted laws.” Lanuza v.

 Love, 899 F.3d 1019, 1028 (9th Cir. 2018), indicating that Congress contemplated

 the availability of civil actions for statutory or constitutional violations by federal

 officers and state officers authorized to act in a federal capacity)). Notably Bivens

 applies to First and Fourth Amendment injuries: In 2021, the Ninth Circuit

 recognized a Bivens remedy against a border patrol agent for First and

 Fourth Amendment violations; see, Boule v. Egbert, 998 F.3d 370 (9th Cir. 2021)

 (federal agent entered the plaintiff’s private property and physically injured him).

 18. Based on the above, the Court must disqualify William E. Smith and re-assign

 to hear this motion. As stated by James Madison, “No man is allowed to be a
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 judge in his own cause; because his interest would certainly bias his judgment, and,

 not improbably, corrupt his integrity.” The Federalist No. 10, at 59 (J. Cooke ed.

 1961). William E. Smith is exposed to Bivens liability and Plaintiff has a Bivens

 claim against Smith. As 28 U.S.C. §455(a) is self-executing, Smith is moreover

 required under the law to recuse. See, In re Martinez-Catala,129 F.3d 213, 220 (1st

 Cir. 1991).

 19. The issues raised herein are hereby preserved on the record and is ripe for

 Article III review by the Supreme Court of the United States.

                                   VI. CONCLUSION

    20. Plaintiff is entitled to Bivens claims, tort claims, Section 1983 claims and

 civil RICO claims for both monetary damages remedies, punitive remedies and

 injunctive relief; Plaintiff is entitled to Rule 60(b), 15(a)(2) and Rule 15(d) reliefs.

 Plaintiff is entitled to the availability of civil actions for statutory or constitutional

 violations by federal officers and state officers authorized to act in a federal

 capacity). This Court must be allowed to discover who (state and federal) and

 what actually caused to and to what extent, and how falsified Title IV-D records

 have been transmitted to the federal Central Registry, based on which how much

 federal public funds has been knowingly falsely claimed to the United States under

 the Title IV-D legal framework to operate the RICO scheme and to support


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 obligors, and to the Plaintiff. Plaintiff and this Court must allow amendment and

 supplements to the complaint. Oral Argument is Requested.

                                 Respectfully submitted,
                                 Mary Seguin
                                 Pro See
                                 /s/____________________
                                        _______________
                                 Email:: maryseguin22022@gmail.com
                                         maryseguin22022
                                 Phone: (281)744-2016
                                 P.O. Box 22022
                                 Houston, TX 77019

                                 Dated: September 15, 2024

                          CERTIFICATE OF SERVICE

       This is to certify that the foregoing motion has been filed on September 15,
 2024 electronically transmitted to the Clerk of the Court who serves via the Court’s
 ECF filing system, on all registered counsel of record.

                                               Mary Seguin
                                                        g
                                               Pro See
                                               /s/____________________
                                                      _______________
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                             EXHIBIT I.
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        UNITED STATES DISTRICT COURT FOR THE DISTRICT OF RHODE ISLAND


  MARY SEGUIN,
  pro se

  Plaintiff,

  VS.                       Civil Action No. 1:23-cv-126-WES-PAS
                            U.S. Court of Appeals for the First Circuit Appeal No. 23-1967
                            Related Appeal No. 23-1851
                            Related Appeal No. 24-1451

  RHODE ISLAND DEPARTMENT OF HUMAN SERVICES, et al.
  Defendants-Appellees
  Defendants



                 RULE 62.1 INDICATIVE MOTION ON PLAINTIFF’S
                     RULE 60(b)(2) Motion based on New Evidence
                                           AND
        RULE 60(b)(3) Motion based on Fraud to Vacate the Final Judgment
                                           AND
               RULE 60(b)(4) MOTION to Vacate Void Post Appeal Orders
                                           AND
         RULE 60(b)(6) MOTION to Vacate based on 28 U.S.C. § 655(a)
   Disqualification of William E. Smith for Functus Officio Pattern of Mispricio
   Clericio Obstruction Involving the Alteration and Falsification of the Record
    on Appeal Corruptly Influencing A Pending Official Appellate Proceeding,
           NECESSITATING DISQUALIFICATION and RE-ASSIGN
                                           AND
                              RULE 15(a)(2) MOTION


                          ORAL ARGUMENT REQUESTED

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    STATE-SPONSORED ORGANIZED FRAUD, THEFT OF PUBLIC
  MONEY AND GOVERNMENT PROGRAMS INVOLVING BILLIONS OF
                       DOLLARS
   Unlawful Interstate Collection of Unlawful 12% Compound Interest Within
  the Title IV-D Legal Framework Involving Organized Felonious Obstruction
     of Justice Acts by Defendants, Obstruction of Justice and Misprision of
                        Felony by Defendant Counsels, and


                              I.      UNDISPUTED FACTS


     State Title IV-D Administrator and private partner Defendants withheld from

  the Court, concealed from United States judges and federal authorities listed in 18

  U.S.C. §§ 1503, 1512, and 4 concealed document evidence (Exhibit A) within

  their possession (and knowledge) that shows the decades-long and on-going

  official Rhode-Island State-prescribed administrative procedure that prescribes

  altering and falsifying federal Central Registry records and state court orders for

  the purpose of concealment by “zeroing out” Rhode Island’s unlawful usurious

  12% compound interest in interstate support cases, which on its face runs afoul of

  federal laws and regulations requiring the Rhode Island Title IV-D State Plan

  Administrator State Defendants to only charge interest (if any) between 3%-6%

  simple interest, per 42 U.S.C. § 654(21)(A). The new evidence shows the corrupt

  scheme put in place (regarding altering and falsifying the interest records in the


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  State’s new computer Title IV record system as of 2011 by the State Defendants

  Administrators of federal Title IV-A and Title IV-D of the Social Security Act)

  entails the coordination of all political subdivisions of the State of Rhode Island

  (see 42 U.S.C. § 654(1) requiring the State’s Title IV-D administrative procedures

  in place to be in effect in all political subdivisions of the State), to order 12%

  compound interest through the complicit state family court, which the Title IV-D

  State Administrators (State Defendants) subsequently “zero out” in the 42 U.S.C. §

  654(27) computer federal records when transmitting support records to the federal

  Central Registry (see federal regulation 45 CFR 303.2 and 45 CFR 303.7),

  including “modifying court orders” that contain Rhode Island’s unlawful 12%

  compound interest. Federal regulation requires the State Title IV-D Administrator

  Defendants to certify records transmitted to the federal Central Registry within

  Title IV-D framework (see 45 CFR 303), which the State Title IV-D Administrator

  Defendants falsely certified to the accuracies of the interest “zeroed-out” support

  records and support court orders that the Defendants modified, aided in modifying

  and knew were modified. In interstate support cases under 42 U.S.C. § 666(14),

  the State Title IV-D Administrator Defendants moreover certify systematically and

  systemically to Receiving States, such as Texas, that there is no interest in the

  support cases, after falsifying the records and support orders “zeroing out” interest.

  In this matter, State Title IV-D Administrator Defendants’ false certifications of


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  “zero interest” to the United States and to Texas occurred in 2018, 2019, 2020,

  2021, 2022, 2023 and 2024, and is on-going, pursuant to the new evidenced

  Defendants’ Title IV-D administrative procedures. New evidence shows that after

  the aforesaid 12% compound interest record is “zeroed out,” Defendants represent

  to support obligor victims that interest was “waived” then fraudulently “put interest

  back on the system” and pursue debt collection activities and legal actions in debt

  at common law, including placing fraudulent liens on properties for the

  Defendants’ “zeroed out” 12% compound interest against the support obligor

  victims, dressed up as “enforcement” under the Title IV-D legal framework in

  “Title IV” proceedings in constitutionally infirm forums, that moreover deprive the

  right to jury trial. The infirm state family court forum’s domestic procedure does

  not even contain rules (e.g. domestic rule 38 of the state family court’s rules and

  procedures is intentionally left blank as “reserved”) preserving the right to jury

  trial – the deprivation of trial by jury in a thoroughly constitutionally infirm forum

  for Title IV-D proceedings is intentional, so that the Defendants’ egregious

  systemic and systematic criminal “zeroing out” of Rhode Island’s unlawful 12%

  compound interest in both Title IV federal records and modification of support

  orders has not been at issue in the annals of Rhode Island Supreme Court caselaw.

  To that end, the Judiciary Title IV-D State Administrator Defendants make sure to

  conceal, impair and otherwise obstruct the availability to the public and federal


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  auditors alike of state court records and state judge-created laws in the State’s

  digital courts so as to obstruct and impair the availability and access to cases in

  which the systemic criminal federal record alteration “zeroing out of interest”

  issues are actually raised in cases in the state’s digital courts. Finally, to ensure

  that judge-created laws relating to the unlawful 12% compound interest that is

  “zeroed out” is cleaned up so that the State Defendants’ criminal systemic record

  alterations in Title IV proceedings are equally “erased from the record,” the State

  Judiciary Defendants implemented and continuously operate digital courts that

  operate two separate electronic case management systems, one undisclosed and

  unnamed “legacy system” with its own separate set of court clerks called “clerks of

  Reciprocal” for the filings for State Title IV-D Administrator Defendants who

  “zero out interest” record alterations and falsifications that only the State and the

  judge can see, and another separate electronic case filing system for everyone else

  called Odyssey, purposefully failing to integrate the two case management

  systems, so that: (1) State Administrator Defendants’ electronic filings (pursuing

  12% compound interest) cannot be seen by anyone else other than the judge and

  the State Defenders; (2) State Administrator Defendants’ electronic filings are not

  noticed to the opposing party who is predominantly pro se; (3) the clerks of the

  state family court are not able to see the State Administrator Defendants’ filings

  nor can the Rhode Island’s Virtual Clerk see their “legacy system” filings; (4)


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  despite objections filed by the opposing party to the State Administrator’s

  proposed orders (that obscure the unlawful 12% compound interest and zeroing out

  interest facts purposefully in vague language in order to conceal it), the judge

  automatically signs and enters the State’s proposed orders without a hearing, in

  violation of due process; (5) pro se litigants are denied electronic remote access to

  their own court case information; (6) the public, pro se litigants and federal

  auditors are denied remote access to court information of Rhode Island’s digital

  courts, effectively denied access to, obstructed from access to Rhode Island judge-

  created laws, in violation of the First Amendment, the Due Process and Equal

  Protection and Privileges and Immunities Clauses, the Supremacy Clause, the

  Administrative Procedures Act, and the Government Edicts Doctrine – see Rhode

  Island Supreme Court promulgated and enforced Rule 5 Denying Remote Access

  to Court Information to the public, pro se litigants and Federal Auditors – see new

  evidence Exhibit A showing Rhode Island Supreme Court acknowledgement that

  Rule 5 “is a problem.” More importantly, Defendants’ acts carry federal criminal

  penalties, in violation of RICO (making false claims for debt), wire fraud, mail

  fraud, computer fraud, obstruction (inter alia 18 U.S.C. §§1512, 1503, 1516, 666).

  Plaintiff repeatedly raised these facts and issues of egregious criminality, to which

  neither Defendants nor Defendant counsel disputed, including the Rhode Island

  Attorney General, in the pending official federal proceeding Appeal 23-1967, nor


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  any explanatory justification whatsoever for systemically and systematically

  altering and falsifying federal Title IV records zeroing out Rhode Island’s 12%

  compound interest for both federal central registry computer records and

  “modifying court orders zeroing out interest,” then certifying there is no interest to

  both the United States and to receiving State Sovereigns. Under the

  Administrative Procedures Act, State Defendants’ criminal record falsification and

  alteration to conceal Rhode Island’s unlawful 12% compound interest systemically

  and systematically altering court orders in the system to zero out interest in order

  to conceal it, falsely certifying to the altered records’ accuracy then making claims

  for federal funds under Title IV-A and Title IV-D when the State is knowingly

  noncompliant with federal regulation are egregious, treasonous crimes. Obvious to

  the Court and to any objective observer under 28 U.S.C. § 455(a), the integrity of

  federal records for one of the largest State-Federal work-together Programs is

  damaged, the legitimacy of the agency administration and political subdivision

  administration of an Act of Congress is grossly harmed, the United States is the

  recipient of false claims from Rhode Island, and the State Defendants systemically

  make false claims to support obligors within the federal Title IV-D legal

  framework. Defendants caused gross irreparable harm to the Plaintiff, and the

  systemic nature of Defendants’ corrupt egregiously criminal administration of an




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  Act of Congress is a matter of extraordinary public interest causing extraordinary

  irreparable public harm. The aforesaid is at the state level.

     At the federal level, the Plaintiff is moreover irreparably harmed by the federal

  judiciary in the district for Rhode Island, for similar pattern of criminal misprisio

  clericio record alteration, falsification, impairment and obstruction of the record on

  appeal during the pendency of Appeal No. 23-1967 by the functus officio William

  E. Smith and associating clerks of the court in the district court, in violation of 18

  U.S.C. § § 1512(c)(2) and 1503. Moreover, the Plaintiff has raised the facts and

  criminal issues of the record on appeal in this matter in the pending Appeal No. 23-

  1967 to United States judges – again, none of the Defendants-Appellees disputed.

  The undisputed facts of the record on appeal shows the follows:

        (1) Emblazoned on the Federal Judiciary website for the district of Rhode

            Island is the undisputed biographical facts that U.S. District Court Judge

            William E. Smith has had unusually intimate multi-prong and multi-

            layered personal, professional attorney-client relationships with

            numerous state (inter alia Office of the Governor and Office of the

            Treasury) and municipal political subdivisions of the State of Rhode

            Island, and loyal political relationships with the Rhode Island

            government judicial and executive Appellees, who implemented the 2024

            newly evidenced systemic and systematic criminal document alteration
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          of Title IV of the Social Security Act federal records procedures

          approved and operating under former Rhode Island Governor Lincoln

          Chafee in 2011 (systemic criminal computer record alteration procedures

          evidenced in the 2024 new evidence shows it is effective from 2011 (start

          of Chafee Governorship) to the present), for whom William Smith had

          quit his Partnership at his former firm Edwards & Angell in order to run

          Chafee’s campaign full-time for the U.S. Senate in 2000; Chafee, after

          successful election to the Senate, in turn rewarded Smith’s personal and

          political loyalty by nominating Smith to the federal judgeship that Smith

          started twenty-two years ago in 2002.

       (2) Earlier iterations (from 1996 to 2011) of the 2024 evidence showing

          Rhode Island’s systemic and systematic criminal federal document

          alteration procedures were implemented by and in effect in all political

          subdivisions of Rhode Island (including counties, cities, towns, villages)

          under the Rhode Island State Plan pursuant to 42 U.S.C. § 654(1).

          Chafee served as the mayor of W. Warwick at the time of the seismic

          1996 Congressional Amendments to Part D of Title IV of the Social

          Security Act, and the Rhode Island criminal federal document alteration

          procedures were in effect in W. Warwick, a political subdivision of

          Rhode Island, as early as 1996, zeroing out Rhode Island’s 12%


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          compound interest systemically and systematically electronically and

          manually.

       (3) Smith had complex and in-depth attorney-client relationships with

          political subdivisions of Rhode Island at multiple levels, e.g., towns,

          cities, counties, state judiciary, state attorney-general, state secretary,

          state treasury, state governor and executive subdivisions, to a well-known

          personal attorney-client relationship fact in Rhode Island with Lincoln

          Chafee from 1996 to 2002. This fact is so well known that the Federal

          Judiciary Website itself credits Smith with building Edward & Angell’s

          Public Law Practice based on Smith’s person, professional and political

          attorney-client relationships with the judiciary and executive Appellees,

          in part through his personal relationship with Chafee. Smith knew and or

          should have known the 2024 new evidence of Rhode Island systemic

          alteration of federal records for the purpose of making false claims to the

          United States for federal public funds of billions of dollars, and making

          false claims to support obligors for tens of millions of dollars within the

          reach of the Title IV legal framework.

       (4) Before the Notice of Appeal was filed on November 17, 2024 (ECF 32),

          Smith interfered three times with the docketing of Appellant’s filed

          papers on November 16, 2024 and November 17, 2024, in a pending


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          judicial proceeding at the federal district court in the district of Rhode

          Island in violation of Federal Rules of Civil Procedure 79, and federal

          criminal laws 18 U.S.C. § 1512(c)(2) and 18 U.S.C. § 1503, among

          others, such as misprisio clerici.

       (5) There were no pending motions before the docketing of the Notice of

          Appeal (ECF 32) on November 17, 2023 – this critical fact is now

          undisputable: The Court Order dated May 24, 2024 in Appeal No. 23-

          1967 Document: 00118148678 found the Court has jurisdiction over

          Appeal No. 23-1978 after reviewing Appellant’s court-ordered Show

          Cause, which is only legally possible if there were no pending motions at

          the time of notice of appeal filing on November 17, 2023 (ECF 32).

       (6) Moreover, the district court clerk had certified there were no pending

          motions on November 17, 2023 (ECF 33, 33-1) – this critical fact is also

          undisputable: The Court Order dated May 24, 2024 in Appeal No. 23-

          1967 Document: 00118148678 found the Court has jurisdiction over

          Appeal No. 23-1978 after reviewing Appellant’s court-ordered Show

          Cause.

       (7) Three days post appeal (23-1967), on November 20, 2023, the functus

          officio misprisio clerici district court judge William E. Smith, whose

          personal, political and professional attorney-client relationship with the


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          executive and judicial Appellees are at issue on appeal (and the

          subsequent 2024 new evidence shows Smith knew or should have known

          of the systemic Rhode Island falsification of federal Title IV official

          records in the federal Central Registry), in his unofficial capacity

          schemed to alter the record on appeal. Issuing a void, functus officio

          directive dressed up as “an order,” William E. Smith instructed the

          district court clerks in Rhode Island to alter the district court docket and

          the record on appeal, that purposefully falsified the record on appeal to

          make it look like there were pending motions on November 17, 2023.

          Therefore, while the federal Appeal 23-1967 was pending, Smith and the

          district court clerks knowingly falsified the federal record on appeal by

          post-appeal docketing three motions under the date November 17, 2023,

          to corruptly fabricate a false appellate record aimed to confuse this Court

          to falsely believe there were pending motions on November 17, 2023 this

          Court lacked jurisdiction over properly filed appeal no. 23-1978 that

          precisely appealed the district court’s void November 20, 2023 text order

          and the subsequent resulting falsification and alteration of the original

          record on appeal, docketing on November 20, 2023 three motions under

          the November 17, 2023 docket entry date for the purpose of falsely

          making it look like there were pending motions on November 17, 2023,


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          for the purpose of corruptly influencing this Court into believing it lacked

          jurisdiction over properly filed appeal No. 23-1978 (that appealed the

          validity of William Smith’s post-appeal functus officio November 20,

          2023 order). The knowing functus officio actions by William E. Smith

          and persons in the district court altering the record on appeal for the

          purpose of corruptly influencing and interfering with a pending federal

          official proceeding in their unofficial capacities, trigger 18 U.S.C. §

          1512(c)(2) and § 1503, and misprisio clerici among others.

       (8) William E. Smith’s former clients, the Rhode Island government

          judiciary and executive Appellees, in coordination with Smith,

          knowingly and purposefully filed dressed up “objections” in the district

          court while Appeal No. 23-1967 was pending, in coordination with the

          functus officio district court transmitting altered and falsified record on

          appeal with the purpose of interfering with the pending No. 23-1967 and

          23-1978, moreover triggered 18 U.S.C. § 1512(c)(2) and § 1503 and

          among others, misprisio clerici.

       (9) On February 1, 2024, William Smith in his functus officio misprisio

          clerici unofficial capacity issued a void “order” dressed up as “in aid of

          the court” to interfere with the pending appeals 23-1967 and 23-1978.




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       (10) This appellate Court fell for the functus officio William E. Smith’s and

          the Rhode Island judiciary and executive Appellees’ criminal misprisio

          clerici ruse. Three days prior to the due date of the opening brief, this

          Court vacated its original briefing schedule on the late afternoon of a

          Friday, on March 1, 2024, with explicit instructions to the Appellant to

          file a motion for extension of time under FRAP 4 or amend the complaint

          in Appeal no. 23-1967.

       (11) Appeal No. 24-1313 arises from the district court’s equally functus

          officio misprisio clerici VOID denials (dressed up as legitimate) of timely

          filed FRAP 4 motions for extensions of time, that this Court-instructed

          Appellant to file.

       (12) The functus officio misprisio clerici William E. Smith, in his

          unofficial capacity, persons in the district court in coordination with

          Smith, and William Smith’s former clients, Rhode Island judiciary and

          executive Appellees, in coordination with Smith, knowingly altered and

          falsified the record on appeal, committed at common law misprisio

          clerici, and collectively interfered with Appeal No. 23-1967 and 23-1978,

          that succeeded in confusing this Court and succeeded in interfering with

          pending proceedings in this Court, which necessitated the filing of an




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          appeal of yet more functus officio VOID denial orders in March 2024, the

          resulting Appeal 24-1313.

       (13) The newly discovered evidence showing criminal systemic and

          systematic procedures altering and falsifying federal records by the

          Appellees and all political subdivisions under the State Plan federally

          regulated and federally funded under Part D of Title IV of the Social

          Security Act shows the motive behind the elaborate falsification and

          alteration of federal records of pending official proceedings in Appeals

          No. 23-1967 and 23-1978 by the functus officio William E. Smith, the

          Appellees with whom William E. Smith had intimate, extensive and

          broad multiple attorney-client relationships at multiple levels of political

          divisions and political subdivisions of the State of Rhode Island in which

          the systemic and systematic falsification of federal records procedures

          were in effect pursuant to federal regulation under 42 U.S.C. § 654(1),

          and functus officio persons employed by the district court for the district

          of Rhode Island, who all knew or should have known that making

          functus officio alterations to the record pursuant to a functus officio

          judge’s void orders during the pendency of said appeals to falsely make it

          look like the appellate court lacked jurisdiction over a properly filed

          appeal corruptly interferes with the pending official appellate


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          proceedings. The forensic misconduct implicates on its face misprisio

          clerici by officers of the federal court, whose misconduct this Court has

          ministerial supervision responsibility.

       (14) After this Court performed a forensic investigation of the record on

          appeal in the same underlying district court matter 23-cv-126 and

          determined that the Court has jurisdiction over Appeal 23-1978 because

          the forensic record investigation concluded there were no pending

          motions on November 17, 2023, the Court in effect determined forensic

          misconduct misprisio clerici by the functus officio William E. Smith who

          issued not one but FIVE functus officio misprisio clerici VOID orders

          post appeal, purposefully and corruptly dressed up as legitimate orders by

          falsifying the docket entry post-appeal on November 20, 2023 to make it

          look like there were pending motions at the time of the appeal of the final

          judgment on November 17, 2023. The forensic investigation of the

          record performed by this Court shows as a matter of undisputed fact that

          the acts of William E. Smith, the Appellees with whom Smith had

          extensive attorney-client relationships, and persons at the district court

          triggered federal criminal 18 U.S.C. § 1512(c)(2) and 18 U.S.C. § 1503,

          as well as misprisio clerici among others.




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       (15) Pursuant to the performance of forensic investigation of the record on

          appeal, the Court of Appeals, at Plaintiff-Appellant’s request,

          consolidated three appeals, 23-1967, 23-1978 and 24-1313.

       (16) These above extraordinary circumstances involve federal obstruction

          crimes by federal officers of the district court for the district of Rhode

          Island under misprisio clerici at common law.

       (17) Under these extraordinary circumstances that involve the commission

          of misprisio clerici by functus officio persons of the federal judiciary

          in and officers of the lower district court for the district of Rhode

          Island, this Court’s equitable obligations and the Court’s adherence to 28

          U.S.C. § 455(a) require the Court to disqualify William E. Smith, at the

          minimum, whose actions caused appeals No. 23-1978 and 24-1313, that

          had stemmed from injurious harm to Appellant caused by the misprisio

          clerici functus officio forensic misconduct by William E. Smith. The

          Court by law should apply the superseding Fischer vs. U.S., 603 U.S. __

          (2024), Trump vs. U.S., 603 U.S. __ (2024), and Lopes Bright

          Enterprises, Inc. vs. Raimondo (2024)(Slip Opinion).

    Plaintiff hereby incorporates the Appellate Court’s May 24, 2024 Order in

 Appeal No. 23-1967 Document: 00118148678 as fully referenced herein.

 Plaintiff hereby incorporates the Appellate Court’s filings Documents

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 00118162842 and Document 00118178653 as fully alleged herein. The Court

 must note and find as a matter of fact in the record on appeal in Appeal 23-1967

 that Plaintiff-Appellant repeatedly made several filings of the above facts in the

 pending Appeal 23-1967 for seven months from March 2024 to September 2024,

 to which facts the Defendants from March 2024 to September 2024 do not dispute.

 The state government defendants as a matter and fundamental issue of government

 legitimacy concern must dispute allegations challenging the legitimacy and legality

 of its actions that violate federal criminal laws in our democratic government

 system. The Title IV-D Administrator Defendants never disputed any of the above

 aforesaid facts. The aforesaid facts are undisputed facts. William E. Smith’s

 extensive, broad and political attorney-client relationship makes it clear to the 28

 U.S.C. § 455(a) objective observer that Smith knew or should have known about

 the systemic and systematic criminal alteration and falsification of federal Title IV-

 D records effective in ALL political subdivisions of Rhode Island under 42 U.S.C.

 § 654(1)with whom Smith had intimate, broad, in depth political and personal and

 attorney-client relationships in one of the largest state-federal work-together

 programs in the counry.

    In light of this newly discovered withheld and concealed evidence, Plaintiff

 respectfully requests that the Court indicate to the First Circuit that it would grant

 Plaintiffs’ Rule 60(b) and 15(a)(2) Motions.

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    Had Defendants, who are not just officers of the federal Court but are also

 public officers in the First Circuit under United States v. §ballo-Rodriguez, 480

 F.3d 62 (1st Cir. 2007) (who are also referenced as public officers in Section 1503

 and Section 1512) that applies to any and all public federal and state officials

 throughout the First Circuit as required by federal law, and when required by this

 Court nearly a year ago, Plaintiff would have sought leave to bring five

 Administrative Procedure Act (“APA”) claims, i.e., that State Defendant Agency

 Rhode Island Department of Human Service’s November 29, 2022, decision (1) is

 per se arbitrary and capricious; and (2) resulted from improper criminal influence

 by the Office of the Child Support Services and for reasons that Congress did not

 intend him to consider; Defendants’ “zeroing out interest” of Title IV-D records

 then put the zeroed out and State falsely certified “no-interest” back on the system

 are criminal obstruction; Defendants’ Rule 5 concealment, impairment of

 availability of court information records showing the State’s systemic and

 systematic zeroing out of interest from federal auditors are criminal obstruction;

 denials of access to administrative procedures relating to the State’s making claims

 for all Title IV federal Public Funds related to the zeroed out interest records that

 are criminal obstruction. 5 U.S.C. § 706; Motor Vehicle Mfrs. Ass’n of U.S., Inc. v.

 State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983)




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    Plaintiff has now presented new evidence that “raises a substantial issue,” the

 relevance of which Plaintiff and this Court should at least be allowed to explore.

 Fed. R. Civ. P. 62.1. Plaintiff has otherwise “made [a] showing that defendants’

 actions were ‘arbitrary, capricious, an abuse of discretion, or otherwise not in

 accordance with law.” 5 U.S.C. § 706. This Court should not countenance

 Defendants’ now transparent criminal dereliction of agencies’ duties—especially

 Title IV-D administrators’ statutory and regulatory obligation to furnish this Court

 the whole record. 5 U.S.C. § 706.

    II.     The Omitted New Evidence Reveal Defendants’ and Smith’s Scheme
            To Help Operate A ‘Racket’ Under RICO.
    The aforesaid makes clear that Defendants’ and William E. Smith’s scheme

 help operate a “racket” under RICO and operating false claims that involves

 document obstruction under 18 U.S.C. § 1512(c)(2) and 1503, including mispisio

 clerico.

    III.    Defendants Withheld The Systemic and Systematic Title IV-D
            Administrative Procedures Prescribing “Zero Out Interest” Federal
            Record Alteration and Falsification Evidence Despite Plaintiffs’
            APRA-FOIA Request.
    The Defendant State Administrators of Title IV-D withheld the federal record

    alteration and falsification Title IV-D administrative procedures prescribing

    zeroing out to conceal Rhode Island’s unlawful 12% compound interest despite

    Plaintiff’s APRA-FOIA request. The Defendant’s administration of Title IV-D


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    involves falsifying federal Title IV-D records in the federal Central Registry

    that is regulated by federal law and regulations and the Defendants’

    administration is funded by federal public funds contingent upon compliance

    with federal laws and regulations, which Defendants purposefully schemed to

    violate, conceal and aimed to operate a RICO debt collecting enterprise, funded

    by federal public funds. It is utterly outrageous and goes towards the

    legitimacy of the government that commits systemic fraud and obstruction with

    each count punishable by 20 years imprisonment.

    IV.    FEDERAL OBSTRUCTION OF JUSTICE CONSTRUCTION
           STATUTES RELATING TO DOCUMENTS IS BROAD



    1. The undisputed fact remains that Smith, persons in the district court and the

 Appellees altered the record on appeal in part to make it look like the Court lacked

 jurisdiction over Appeal 23-1978 and subsequent post-appeal void orders,

 succeeded in confusing this Court, the Court had to perform a forensic

 investigation of the record, found forensic alteration implicating functus officio

 misprisio clerici forensic misconduct by officers of the district court, and that it

 turns out in part was calculated to conceal a more egregious systemic document

 alteration and falsification crime by the State Appellees, with whom William E.

 Smith had extensive and broad attorney-client relationships, and who knew and

 should have known about the systemic federal record falsification implicating false
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 claims involving billions of federal public funds, showing Smith’s commission of

 egregious misprisio clerici with broad implications affecting the legitimacy of the

 judiciary and the corrupt administration of the federal Title IV-A and Title IV-D

 programs.

    2. Obstruction of justice as both a concept and a legal term of art has adorned

 the halls of Anglo-American justice in the context of professional misconduct for

 over four centuries. See People ex. rel. Karlin v. Culkin, 162 N.E. 487, 489-92

 (N.Y. 1928) (Cardozo, C.J.) (tracing, with derision, the history of barristers and

 attorneys who have been charged with obstruction of justice back to the

 seventeenth century and making comparisons to contemporaneous prosecutions).

 In analyzing a case involving "practices obstructive or harmful to the

 administration of justice," Justice Cardozo considered the early instances of the

 attachment of culpability for such behavior, and that history underscores the

 importance of documentation in the judicial process dating to the 16th Century.' Id.

 at 490-91 (discussing the charge of misprisio clerici: the submission of writs

 without the required formalities). The appearance of judicial propriety, equity, and

 fairness was the underlying rationale behind the charge, as the Court emphatically

 must apply here. "Our court is 'slandered and evil spoken of, our cares and labors

 made void and frustrate' by the 'negligence of clerks and ministers;' the client

 'beginneth to think evil of us that are judges, to suspect our skill,' and to speak evil

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 of the law." Id. (quoting in part the Lord Chief Justice of the Common Pleas,

 Easter Term, 9 Eliz. 1567). The charge of obstruction of justice was carried into

 the Americas and retained its strongly negative normative overtone. See THE

 DECLARATION OF INDEPENDENCE para. 2, 10 (U.S. 1776), noted in

 O'Malley v. Woodrough, 307 U.S. 277, 284 (1939). The Declaration of

 Independence is illustrative: "The history of the present King of Great Britain is a

 history of repeated injuries and usurpations, all having in direct object the

 establishment of an absolute Tyranny over these States .... He has obstructed the

 Administration of Justice, by refusing his Assent to Laws for establishing Judiciary

 powers. ' Id. (emphasis added). In the twentieth century, federal obstruction of

 justice provisions expanded from Section 1503, the wellspring from which most of

 the obstruction of justice provisions arose, including section 1512. See United

 States v. Poindexter, 951 F.2d 359, 380-83 (D.C. Cir. 1991) (providing a detailed

 history of the development of federal obstruction of justice statutes including §§

 1503, 1505, and 1512). Sections 1503 and 1512 have been broadly construed to

 proscribe actions beyond those enumerated in their provisions. See Michael E.

 Tigar, Crime Talk, Rights Talk, and Double-Talk: Thoughts on Reading the

 Encyclopedia of Crime and Justice, 65 TEX. L. REV. 101, 111 n.72 (1986).

 Section 1512 was thought to "significantly broaden" the reach of Section 1503,

 even while 1503 was being read to reach outside its specifically enumerated scope.


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 Tigar, supra note 33, at 111 n.72. Modern readings of the statutes texts “corrupt”

 intent require only that the act in question have the reasonably foreseeable effect of

 obstructing a proceeding, regardless of the defendant's actual intent. See Jeffrey R.

 Kallstrom & Suzanne E. Roe, Obstruction of Justice, 38 AM. CRIM. L. REV.

 1090-91 (2001). The prosecutorial inquiry is not, therefore, the presence of intent

 to obstruct the proceeding per se, but rather the presence of intent to commit an act

 that could reasonably be foreseen to have that effect. Id. Already having had to

 apply the necessary prosecutorial inquiry itself during the Appellate Court’s own

 performance of forensic investigation of the appellate record in order to determine

 that Appeal 23-1978 could proceed, the Appellate Court already answered in the

 affirmative the “presence of intent to commit an act that could reasonably be

 foreseen to have that effect” – the act did in fact confuse the Appellate Court, did

 in fact mislead the Appellate Court into falsely believing initially that the

 Appellate Court lacked jurisdiction over 23-1978 after William E. Smith and

 officers of the court in the district court altered and falsified the appellate record

 post-appeal (on November 20, 2023) to falsely make it look like there were

 pending motions when the notice of appeal was filed for appeal no. 23-1967 (ECF

 32 filed on November 17, 2023). (Successfully) Misleading the Appellate Court

 through record alteration into falsely believing the Appellate Court lacks threshold




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 jurisdiction over a properly filed notice of appeal (23-1978) is a fundamental

 material corruption of the record on appeal.

    3. Moreover, under construction of Section 1503, to be "corrupt" an act must

 only have the natural and probable effect of interfering with an official proceeding.

 Both natural and probable effect of interfering with this pending official

 proceeding occurred here. See United States v. Aguilar, 515 U.S. 593, 598-601

 (1995). In United States v. Aguilar, a federal judge was convicted of both illegally

 disclosing a wiretap and obstruction of justice. Section 1512(c)(1) states, “alters,

 destroys, mutilates, or conceals a record, document, or other object, or attempts to

 do so, with the intent to impair the object’s integrity or availability for use in an

 official proceeding.” Section 1512(c)(2) states, “otherwise obstructs, influences, or

 impedes any official proceeding, or attempts to do so, shall be fined under this title

 or imprisoned not more than 20 years, or both.”

    4. The Supreme Court in Fischer vs. U.S., 603 U.S. ___ (2024) made clear that

 Section 1512(c)(2) “otherwise obstructs, influences, or impedes any official

 proceeding, or attempts to do so,” relates to any official proceeding obstruction

 involving documents and records, that this Court must apply to the district court’s

 acts in these consolidated matters. The Court must independently review the facts

 of travel of the appellate record post appeal after the overturn of the Chevron

 deference (see Lopes Bright Enterprise vs. Raimondo, (2024) (Slip Opinion), with
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 no deference to the agency Defendant-Appellees who aided and abetted the

 criminal alteration of the record on appeal. Trump vs. U.S., 603 U.S. ___ (2024)

 instructs the Court to review official and unofficial acts by public officials, that

 when applied here, must make the distinction among functus officio void acts of

 mispriscio clericio dressed up as valid judge-created law that on its face states “in

 aid of the court” showing intent to corruptly influence and interfere with the

 appellate judges in a pending official appellate proceeding when the functus officio

 William Smith lacked any authority, that the 2024 new evidence shows Smith’s

 action is calculated to conceal, impair, impede the availability of egregiously

 incriminating evidence from coming to light showing systemic and systematic

 federal record falsification and alteration procedures that went on for decades in

 Rhode Island covered by 18 U.S.C. §1512(c)(1) and (2), each count up to 20 years

 imprisonment.

    5. Under the Court’s fundamental truth-finding and equitable obligations, these

 sets of extraordinary circumstances involving systematic and systemic obstruction

 with each count up to 20 years imprisonment warrants the Court to explore the

 “substantial issue.”   Smith’s obstruction act is not merely prejudicial to the

 Plaintiff-Appellant but compounds the officer mispriscio clericio injury rather than

 provide requisite truth-seeking and equitable obligation the Court by law is

 required to remedy. The harm of any resulting error would be irreparable and

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 goes towards the legitimacy of the judiciary. Appellant hereby preserves the issues

 raised in this motion for Article III review by the U.S. Supreme Court and states on

 the record that the raised and preserved issues are ripe for Supreme Court review.

                              V. LAW AND ARGUMENT

 6. The Ninth Circuit Court of Appeals explains that “[t]he whole administrative

 record,” as per 5 U.S.C. § 706, “’is not necessarily those documents that the

 agency has complied and submitted as ‘the’ administrative record.’ ’The ‘whole’

 administrative record . . . consists of all documents and materials directly or

 indirectly considered by agency decision-makers and includes evidence contrary to

 the agency’s position.’” Thompson v. United States Dep’t of Labor, 885 F.2d 551,

 555 (9th Cir. 1989) (emphasis in original; citations omitted). The newly

 discovered evidence prescribing administrative procedures that systemically and

 systematically shows falsification and alteration of federal Title IV-D records as it

 relates to Rhode Island’s unlawful 12% compound interest that prescribes “zeroing

 out” interest and altering support orders to zero out interest, purposefully on its

 face is intended to conceal the unlawful and 42 U.S.C. § 654(21)(A) noncompliant

 12% compound interest Rhode Island Defendants seek to collect in actions in debt,

 triggering systemic (1) RICO liability, (2) false claims liability and (3) obstruction

 liability. The Supreme Court Trump v. U.S., 603 U.S.__(2024) made it crystal

 clear that alterations and falsification of court orders trigger 18 U.S.C. §
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 1512(c)(2), which is [precisely and textually what the new evidence prescribes to

 do, alter court orders to zero out the interest. The whole administrative record

 must now be brought before this Court.

        A. FED. R. CIV. P. 62.1 ALLOWS THIS COURT TO REMEDY
               DEFENDANTS’ CRIMINAL MALFEASANCE.
 7. “A party proffering newly discovered evidence may obtain an indicative ruling

 from a district court concerning relief from judgment pending appeal.” Franken v.

 Mukamal, 449 F. App’x 776, 779 (11th Cir. 2011) (citing Fed. R. Civ. P. 62.1; Fed.

 R. App. P. 12.1); see also Amarin Pharm. Ireland v. Food & Drug Admin., 139 F.

 Supp. 3d 437, 447 (D.D.C. 2015) (“Where a district court concludes, for example,

 that newly discovered evidence warrants vacatur of a judgment that is already on

 appeal, the court can issue an indicative ruling . . . .”).

 8. Once an appeal is filed, the District Court no longer has jurisdiction to consider

 motions to vacate judgment. Gould v. Mut. Life Ins. Co. of N.Y., 790 F.2d 769, 772

 (9th Cir.1986). However, the District Court may entertain and decide a motion

 after notice of appeal is filed if the movant adheres to Rule 62.1, which sets forth a

 process to “ask the district court whether it wishes to entertain the motion, or to

 grant it, and then move this court, if appropriate, for remand of the case.” Id; see

 also Crateo, Inc. v. Intermark, Inc., 536 F.2d 862, 869 (9th Cir. 1976) (“The most

 the District Court could do was to either indicate that it would ‘entertain’ such a


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 motion or indicate that it would grant such a motion.”). If the District Court states

 that it would grant the motion or that the motion raises a “substantial issue,” the

 movant must notify the Circuit Clerk and the District Court “may decide the

 motion if the court of appeals remands for that purpose.” Fed. R. Civ. P. 62.1(b),

 (c); see also Hoopa Valley Tribe v. Nat'l Marine Fisheries Serv., No. 16- 04294,

 2018 WL 2010980, at *4 (N.D. Cal. Apr. 30, 2018) (district courts “have authority

 to deny [a motion], but . . . may not grant it without a remand from the court of

 appeals”).

   1. Fed. R. Civ. P. 60(b) Relief From This Court’s Judgment is Appropriate.

  9. Usually, Rule 62.1 relief is sought under Rule 60(b). See Williams v. Woodford,

 384 F.3d 567, 586 (9th Cir. 2004) (“To seek Rule 60(b) relief during the pendency

 of an appeal, the proper procedure is to ask the district court whether it wishes to

 entertain the motion, or to grant it, and then move this court, if appropriate, for

 remand of the case.”). As explained in Hake v. Guardian Life Ins. Co.: Rule 62.1

 permits the Court to make an “indicative ruling” on a post-judgment motion to give

 the Court of Appeals an indication on how the Court would rule if it still had

 jurisdiction to rule. The Rule 62.1 “indicative ruling” procedure was instituted to

 deal with post-appeal Rule 60(b) motions, where a district court lacks jurisdiction

 to rule directly. No. 07-1712, 2010 WL 11578944, at *2 (D. Nev. Apr. 1, 2010)

 (citing Fed. R. Civ. P. 62.1 advisory committee’s note). In Comm. on Oversight &
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 Gov't Reform, United States House of Representatives v. Sessions it was similarly

 explained: Rule 62.1 provides that upon the timely filing of a motion for relief that

 the court lacks authority to grant because of an appeal that has been docketed and

 is pending, the court may: (1) defer considering the motion; (2) deny the motion; or

 (3) state either that it would grant the motion if the court of appeals remands for

 that purpose or that the motion raises a substantial issue. This rule is invoked in

 situations where a court has lost jurisdiction over a case because it has been

 docketed for appeal, and therefore cannot entertain motions such as those made

 under Rule 60(b) for relief from judgment. Rule 62.1 allows a court to indicate to

 the appeals court that it would grant the party’s motion if remanded to the lower

 court. 344 F. Supp. 3d 1, 7 (D.D.C. 2018) (quotation omitted).

        2. Fed. R. Civ. P. 15(a)(2) Leave To Amend Is Also Appropriate.

 10. While “Rule 62.1 codifies the procedure most courts used to address Rule

 60(b) motions to vacate final judgments which had already been appealed . . . ,

 nothing in Rule 62.1’s language limits its application to Rule 60(b) motions or to

 motions made after final judgment.” Ret. Bd. of Policemen's Annuity v. Bank of

 New York Mellon, 297 F.R.D. 218, 221 (S.D.N.Y. 2013). The Advisory

 Committee’s note confirms that it “adopt[ed] for any motion that the district court

 cannot grant because of a pending appeal the practice that most courts follow when

 a party makes a Rule 60(b) motion to vacate a judgment that is pending on appeal.”
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 Fed. R. Civ. P. 62.1 Advisory Committee’s Note; see also Idaho Bldg. & Const.

 Trades Council, AFL-CIO v. Wasden, No. 11-0253, 2013 WL 1867067, at *3 (D.

 Idaho May 1, 2013) (issuing an indicative ruling under Rule 62.1 regarding a

 motion to add a party under Rule 21); Reflex Media, Inc. v. Chan, No. 16- 0795,

 2017 WL 8223985, at *1 (C.D. Cal. Oct. 17, 2017) (“Rule 62.1 provisions were

 originally drafted as an addition to Rule 60, addressing only relief under Rule 60

 pending appeal, but the proposal was broadened to include all circumstances in

 which a pending appeal ousts districtcourt authority to grant relief.”). Thus, an

 indicative ruling is appropriate where, under any Rule of Federal Procedure, it

 would “allow for the timely resolution of motions which may further the appeal or

 obviate its necessity” and not simply “place a district court in a position where it

 must predict the outcome of an appeal of its own decision.” United States v.

 Brennan, 385 F. Supp. 3d 205, 208 (W.D.N.Y. 2019) (quotation omitted); see e.g.

 Rabang v. Kelly, No. 17-088, 2018 WL 1737944, at *3 (W.D. Wash. Apr. 11,

 2018) (denying a Rule 62.1 motion that was “simply asking this Court to decide

 the question on appeal”).

 11. Plaintiff is requesting that this Court allow Plaintiff to assert five new claims,

 based on new evidence that was not—but should have been—available when

 Defendants made their filings in the district court.



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   C. PLAINTIFF DESERVES BOTH FED. R. CIV. P. 60(B) AND 15(A)(2)
                           RELIEF.
 1. Plaintiff Deserves Leave To Plead Two New APA Claims By Amendment.

 12. A motion to amend the complaint “can be entertained if the judgment is first

 reopened under a motion brought under Rule 59 or 60.” Lindauer v. Rogers, 91

 F.3d 1355, 1357 (9th Cir. 1996); see also Laber v. Harvey, 438 F.3d 404, 427 (4th

 Cir. 2006) (same). Under Rule 60(b)(6), a judgment may be vacated for any

 “reason justifying relief from operation of the judgment.” Fed. R. Civ. P. 60(b)(6).

 The U.S. Supreme Court has held that a “motion to vacate the judgment in order to

 allow amendment of the complaint” constitutes such a justifying reason, so long as

 the movant meets the requirements of Rule 15(a). Foman v. Davis, 371 U.S. 178,

 182 (1962). As the Foman rule was more recently articulated by the Fourth Circuit:

 “To determine whether vacatur is warranted . . . the court need not concern itself

 with either [Rule 59 or 60]’s legal standards. The court need only ask whether the

 amendment should be granted, just as it would on a prejudgment motion to amend

 pursuant to Fed. R. Civ. P. 15(a). In other words, a court should evaluate a post

 judgment motion to amend the complaint under the same legal standard as a

 similar motion filed before judgment was entered—for prejudice, bad faith, or

 futility.” Katyle v. Penn Nat. Gaming, Inc., 637 F.3d 462, 471 (4th Cir. 2011)

 (quotation omitted).



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 13. Had the Defendants not withheld in both 2022 and 2023 the new 2024

 evidence, Plaintiff (also — per 5 U.S.C. § 706) when the public officers

 Defendants originally produced documents pursuant to APRA in 2022, and in the

 district court as required by federal law based on their administration of Title IV-

 D, pursuant to Rule 11(b)(3), 18 U.S.C. § 4, 1503 and 1512(c)(2), the Plaintiff

 would have had the factual and legal basis required by Rule 11(b)(3) to seek leave

 to amend Plaintiff’s Amended Complaint and add five new Administrative

 Procedure Act (APA) claims. Plaintiff now has the evidence Plaintiff needs to

 bring those five claims. Plaintiff was manifestly prejudiced by not being able to

 seek leave to plead those five new claims to the Court under Rule 15(a). None of

 the new claims would be futile. All claims are plausible, if not dispositive in favor

 of Plaintiff. Defendants, on the other hand, have demonstrated bad faith by not

 originally producing the federal record alteration and falsification evidence either

 as part of the administrative record in July 2023, or in response to Plaintiff’s

 APRA-FOIA request for administrative procedures documents or in response to

 Plaintiff’s APRA-FOIA request for administrative procedures documents on

 December 1, 2022.

 2. Plaintiff Should Also Be Granted Rule 60(b)(2) Relief.

 14. Rule 15(a) aside, Plaintiff is independently entitled to Rule 60(b)(2) relief

 under the “newly discovered evidence” rule. Fed. R. Civ. P. 60(b)(2). For the Court
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 to grant relief under this rule “the movant must show the evidence (1) existed at the

 time of the [judgment], (2) could not have been discovered through due diligence,

 and (3) was of such magnitude that production of it earlier would have been likely

 to change the disposition of the case.” Jones v. Aero/Chem Corp., 921 F.2d 875,

 878 (9th Cir. 1990) (quotation omitted). Requirements (1) and (2) are easily met.

 There is no doubt that this evidence was discovered after the now-appealed

 judgment was issued. There is no doubt that Plaintiff made several APRA-FOIA

 requests for administrative procedure documents to both the Department of Human

 Services and Rhode Island Judiciary Defendants in 2022 and 2023. This evidence,

 particularly was of such magnitude that production of it earlier would have been

 likely to change the disposition of the case. Those new evidence show that in

 making systemic falsification of federal records to zero out interest in Title IV-D

 federal registry, federal interests are not only central to this case, but that

 Defendants are involved in systematic and systemic falsifying records in official

 proceedings systematic for the purpose of making false claims to both the United

 States and support obligors, in actions at debt at common law, and creating

 purposeful constitutional infirm Title IV proceeding forums to rig the process in a

 RICO scheme, that purposefully impair the availability of public Title IV-D

 actions in debt at common law proceeding records to federal auditors, pro se

 support obligors and to the public. This is not permitted under the APA. Id. at 43;


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 see also, e.g., ATX, Inc. v. U.S. Dep’t of Transp., 41 F.3d 1522, 1527 (D.C. Cir.

 1994) (“The test is whether ‘extraneous factors intruded into the calculus of

 consideration’ of the individual decisionmaker.”) (quoting Peter Kiewit Sons’ Co.

 v. United States Army Corps of Eng’rs, 714 F.2d 163, 170 (D.C. Cir. 1983)); Saget

 v. Trump, 375 F. Supp. 3d 280, 360 (E.D.N.Y. 2019) (finding an agency “decision

 was arbitrary and capricious due to improper political influence”); Connecticut v.

 U.S. Dep’t of the Interior, 363 F. Supp. 3d 45, 65 (D.D.C. 2019) (APA claim

 where “significant political pressure was brought to bear on the issue and the

 Secretary may have improperly succumbed to such pressure”); Tummino v. Torti,

 603 F. Supp. 2d 519, 544 (E.D.N.Y. 2009) (“An agency’s consideration of some

 relevant factors does not immunize the decision; it would still be invalid if based in

 whole or in part on the pressures emanating from political actors.”) (quotation

 omitted). The new evidence would have easily produced a different result. In

 addition, as noted above, had Plaintiff been in possession of the record falsification

 record, in particular, Plaintiff would have sought to amend Plaintiff’s Complaint

 pursuant to Rule 15(a) to allege additional five APA claims, as alleged above

 already. See e.g. Jianhong Zhai v. Ning Liu, No. 16-7242, 2017 WL 7156251, at *2

 (C.D. Cal. Aug. 17, 2017) (instructing plaintiffs to “file a motion to set aside the

 default judgment pursuant to Rule 60(b) in conjunction with a motion to




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 supplement the complaint pursuant to Rule 15(d)” in order to include new evidence

 in a pleading).

 15. Plaintiff is moreover entitled to Rule 60(b)(3) relief for fraud, as the new

 evidence delineates in detail falsification of records for false claims in actions in

 debt at common law.

 16. Plaintiff is further entitled to Rule 60(b)(4) relief to vacate all void orders

 issued post appeal after November 17, 2023 by William Smith, as outlined above.

 17. Plaintiff is additionally entitled to Rule 60(b)(6) relief to vacate based on the

 extraordinary egregious gross irreparable harm to Plaintiff that has been outlined in

 detail above.

 18. Based on the above, the Court must disqualify William E. Smith and re-assign

 to hear this motion.

 19. The issues raised herein are hereby preserved on the record and is ripe for

 Article III review by the Supreme Court of the United States.

                                  VI. CONCLUSION

    20. Plaintiff and this Court must be allowed to discover who and what actually

 caused to and to what extent, and how falsified Title IV-D records have been

 transmitted to the federal Central Registry, based on which how much federal


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 public funds has been knowingly falsely claimed to the United States to operate the

 RICO scheme and to support obligors, and to the Plaintiff. Oral Argument is

 Requested.

                                 Respectfully submitted,
                                 Mary Seguin
                                         guin
                                 Pro Se
                                 /s/____________________
                                         _________________
                                 Email: maryseguin22022@gmail.com
                                 Phone: (281)744-2016
                                 P.O. Box 22022
                                 Houston, TX 77019

                                 Dated: September 5, 2024

                          CERTIFICATE OF SERVICE

       This is to certify that the foregoing motion has been filed on September 5,
 2024 electronically transmitted to the Clerk of the Court who serves via the Court’s
 ECF filing system, on all registered counsel of record.

                                               Mary Seguin
                                               Pro Se
                                               /s/____________________
                                                      __________________
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                             Recorded Phone Call


                              Recording Name:
   [Recording of phone conversations among John Langlois, Debra DeStefano and
        Mary Seguin recorded in Texas by Mary Seguin on October 5 2022]




                         Transcript Prepared By:




                                  720-287-3710
                               3801 E. Florida Ave.
                                    Suite 500
                                Denver, CO 80210


                          DUNS Number: 037801851
                            CAGE Code: 6C7D5
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   1   Seguin:      ‘Cause all -- like, if -- if we base the practice on

   2                how things are done of -- based on what Mr. Langlois,

   3                John, is representing today, everyone should be able

   4                to look at that screenshot, that screen, and be able

   5                to rely on it, correct?

   6   DeStefano:     Well, yeah, I --

   7   Seguin:      And its accuracy, correct?

   8   DeStefano:     -- I mean, the agen- --

   9   Seguin:      So --

  10   DeStefano:     The agency is going to have to prove it.                    Yes.   The

  11                agency is going to have to submit -- and, again, it --

  12                it’s difficult for me to know how relevant what you’re

  13                asking for is ‘cause I don’t know what the agency’s

  14                gonna submit yet, uh, to -- to support their position.

  15                So --

  16   Langlois: And can I -- can I just say, the reason I asked

  17                earlier whether, uh, Mary had spoken to Carla after

  18                she made the $104,000 payment was because there was a

  19                change in circumstances immediately after that and I

  20                don’t know whether anyone in my agency has ever

  21                explained that to Mary.

  22   Seguin:      Wait -- wait -- wait a minute.

  23   Langlois: (Inaudible - 00:01:10)

  24   Seguin:      Wait a minute.

  25   Langlois: (Inaudible - 00:01:11)




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   1   Seguin:      Wait -- wait -- wait -- wait a minute.                   Wait a minute.

   2                If there is --

   3   DeStefano:     Wait a minute.

   4   Seguin:      -- I’d like to get some documents of that.                    Okay?   So

   5                -- so, again --

   6   DeStefano:     Mary, what do you --

   7   Seguin:      -- I’ve asked for, I think --

   8   DeStefano:     Oh.     Wait a minute --

   9   Seguin:      I -- I’m so sorry.         I’m --

  10   DeStefano:    -- Mary.       I know -- I know what you asked for.                  Let

  11                me get to -- let me understand what John just said

  12                before.    So, John, you’re saying there was a change

  13                subsequent to her making a payment --

  14   Langlois: Correct.

  15   DeStefano:     -- but before the Notice of Lien went out?

  16   Langlois: Yes.

  17   DeStefano:     Okay.    So --

  18   Langlois: And can I -- can -- if I could just back up and

  19                explain what happened.           Okay?

  20   DeStefano:    Okay.

  21   Seguin:      This --

  22   Langlois: This is -- 99 percent of this is a misunderstanding.

  23   DeStefano:     Okay.

  24   Langlois: Okay?

  25   Seguin:      Including --




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   1   Langlois: (Inaudible - 00:01:51)

   2   Seguin:      -- what’s on the screenshot?              Is that a

   3                misunderstanding?

   4   Langlois: Can -- can I speak without being shouted over?

   5   Seguin:      Well, I’m --

   6   DeStefano:        Mary, let --

   7   Seguin:      I’m sh- --

   8   DeStefano:        Let --

   9   Seguin:      I’m flabbergasted really.

  10   DeStefano:        Uh, Mary, you’ve got to let me --

  11   Seguin:      Sorry.

  12   DeStefano:        -- listen --

  13   Seguin:      Sorry.

  14   DeStefano:        -- to what the agency is gonna --

  15   Seguin:      I appreciate that.

  16   DeStefano:     I mean, I know -- I only know that -- what’s in

  17                front of me and I don’t know everything that has

  18                happened in this case, but if -- if -- let me just

  19                listen to the agency and see what they have to say for

  20                --

  21   Seguin:      Sure.

  22   DeStefano:        Go ahead, John.

  23   Langlois: What -- what happened in this case is when, uh --

  24                Mary’s representative, her attorney, called us in late

  25                November 2021 and said there’s a -- she wants her




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   1              passport released.           What does she have to do to

   2              release her passport?             They put her in touch with

   3              Carla, who gave her the $104,000 number.                      Where that

   4              number came from, was the department attorney

   5              contacted the custodial parent, Mr. Miurski (ph) or,

   6              uh, Mr. -- I can’t pronounce her last name.

   7              Meyersiek.        So we contacted his attorney -- it wasn’t

   8              me, but it was someone in my office -- and said, “If

   9              she’s willing to make a $104,000 payment to pay off

  10              the principal, would you agree to waive the $75,000” -

  11              - I think it was $73,000 in arrears at that time?                        He

  12              said yes.       So Carla notified Mary that, if she paid

  13              $104,000, it would be paid in full because he was

  14              willing to waive the interest.                 That was just the

  15              principal.        What happened was, the day after Carla

  16              spoke to Mary and told her to mail in the -- or to --

  17              to wire the $104,000, the attorney for Mr., um,

  18              Meyersiek contacted us again and said he changed his

  19              mind, please put the interest back up on the system,

  20              so we did.        That’s his money.          The state is just

  21              collecting for -- for this past child support that’s

  22              owed to him.         If he wants the arrears, he has every

  23              right to ask for it.            So the number that was given to

  24              her was correct on the day it was given to her.                        The

  25              arrears for $104,000.             Because when he was waiving the




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   1                arrears, wen he changed his mind the next day, we put

   2                the arrear -- I mean, interest back up on the system.

   3   Seguin:      I think --

   4   Langlois: He was waiving the interest, and when that interest

   5                went back up on the system, that’s why the system is

   6                now saying she owes $73,000.              That’s why, in March,

   7                when the system saw that she had a, uh -- some kind of

   8                a personal injury settlement or some kind of an

   9                insurance settlement, we had -- we -- our system was

  10                showing that she owed $73,000 in interest, so we

  11                issued the lien.        But that’s what happened, is when he

  12                changed his mind the next day, and that’s what messed

  13                up the numbers.        So that’s how this all happened.              It

  14                was a pure misunderstanding.              I don’t know whether

  15                anyone has ever explained that to Mary, how that

  16                happened.

  17   DeStefano:     Okay.    Mary, did anybody ever explain that to you

  18                before?

  19   Seguin:      No.   No one ever --

  20   DeStefano:     That the system has just -- just --

  21   Seguin:      -- explained any of that, and I --




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   1                             TRANSCRIBER'S CERTIFICATE

   2

   3              I, Laurel Keller, do hereby certify that I have

   4   listened to the recording of the foregoing; further that the

   5   foregoing transcript, Pages 1 through 5, was reduced to

   6   typewritten form from a digital recording of the proceedings

   7   held October 5, 2022, in this matter; that Participant Mary

   8   Seguin has stated John Langlois and Debra DeStefano present were

   9   included in this recording; and that the foregoing is an

  10   accurate record of the proceedings as above transcribed in this

  11   matter on the date set forth.

  12              DATED this 20th day of June, 2024.

  13

  14

  15                                                   _________________________

  16                                                   Laurel Keller

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  19                                                   Tel: 720-287-3710
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                                                                         Supreme Court

                                                                         No. 2023-278-A.



                    Mary Seguin                    :

                         v.                        :

  Rhode Island Department of Human Services        :
      Office of Child Support Services.


                                            ORDER

              The appellant’s “Second Motion to Repeal Rule 5 of the Rhode Island Rules of

    Practice Governing Public Access to Electronic Case Information”, as prayed, is denied.

              The appellant’s “Second Motion to Stay Proceedings Until Repeal of Rule 5 of

    Rules of Practice Governing Public Access to Electronic Case Information”, as prayed, is

    denied.

              The appellant’s “Motion to Compel and Comply with the Court’s Order”, as

    prayed, is denied. This Court’s November 27, 2023 Order stated that, to extent the

    appellant needed any materials “related to this matter” during the pendency of this appeal,

    the Clerk’s Office was directed to make reasonable efforts to provide her with the requested

    materials. Pursuant to that Order, the appellant is only permitted to request materials from

    the Clerk’s Office that have been filed in her Superior Court case (PC 22-07215) or in this

    appeal.

              The appellant’s “Third Motion for an Extension of Time to File Statement of the

    Case and a Summary of the Issues Proposed to be Argued” is granted. The appellant shall

    either file her Rule 12A statement within thirty (30) days of the date of this Order or she
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    may seek to hold this appeal in abeyance until she is permitted remote access to case

    materials as a pro se litigant which access we estimate will be in effect by the end of the

    year.

            Chief Justice Suttell did not participate.

            Justice Lynch Prata did not participate.


            Entered as an Order of this Court this 29th day of March 2024.


                                                   By Order,



                                                   /s/ Meredith A. Benoit
                                                   Clerk
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              STATE OF RHODE ISLAND                                            SUPREME COURT
             MARY SEGUIN
                Appellant

             VS.                                                   C.A. NO. SU-2023-0278-A

             RHODE ISLAND DEPARTMENT OF HUMAN SERVICES et al.
                 Appellees

                    APPELLANT’S MOTION FOR PRELIMINARY INJUNCTION
                    Texas Appellant, MARY SEGUIN, proceeding self-represented (“pro se”),

             respectfully moves the Court for a preliminary injunction to enjoin the Court, also

             known as the Rhode Island Supreme Court, in its ministerial capacity as the Rhode

             Island courts rules promulgator, administrator and digital court implementor to

             immediately enjoin from enforcing (1) Rhode Island Supreme Court promulgated

             and administered Rule 5 that denies remote access to judge-created laws and all

             digital court information (except for the docket sheet) to the public, pro-se litigants

             and federal agency or federal auditors in Rhode Island’s digital courts; (2) enjoin

             from enforcing and ministering grossly structurally defective digital courts that

             operates TWO digital case management systems and TWO sets of court clerks,

             effectively, TWO court systems within the court that forces pro-se and all other

             court users to use Odyssey while executive administrative agencies, such as the

             Appellee Department of Human Services, file through an unnamed LEGACY case

             management system where agency filings are (a) only visible to themselves and the

             judge, (b) are invisible to pro se litigants, the public and the Virtual Clerk in
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             Odyssey, (c) are not digitally nor electronically noticed to the pro-se litigant, (d)

             the agencies’ filings are managed by a separate “reciprocal court clerks” that fail to

             coordinate with the main court clerks who manage everyone else’s filings through

             Odyssey, (d) that result in agency proposed orders automatically entered and

             signed by a judge even though objections are filed by defendants through Odyssey

             without a hearing thereby unconstitutionally structurally prejudiced to advantage

             Rhode Island’s agencies in violation of inter alia Due Process and Equal

             Protection Clauses; (3) enjoin Appellees and this Court’s ministered Rhode Island

             Family Court forum from structurally depriving defendants of United States

             Constitutional Seventh Amend rights to trial by jury in civil actions at law and civil

             actions in debt at common law (ordered support are debts (including debts signed

             over to the State in welfare cases) with the federal Title IV legal framework in

             Title IV proceedings – this Court’s ministered Domestic Family Relations Rule 38

             that traditionally provide for preserving the right for jury trial does not exist and is

             ”reserved”; (4) enjoin Appellees and this Court’s ministered Rhode Island Family

             Court forum from structurally depriving defendants of Rhode Island constitutional

             right to jury under Section 15 right to jury trial shall be inviolate in civil actions at

             law and civil action in debt at common law (ordered support are debts (including

             debts signed over to the State in welfare cases) within the federal Title IV llegal

             framework in Title IV proceedings. Appellant is unconstitutionally denied access


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             to judge-created laws in Rhode Island’s digital courts and hereby reserves and

             preserves Appellant’s right to amend and supplement this motion with Rhode

             Island judge-created laws created by the Superior Court judges, Family Court

             judges, and Supreme Court judges that are unpublished and freely publicly

             accessible on all issues raised herein. This State’s constitution moreover

             guarantees the right to justice and entitles the Appellant to the requested remedy

             under Section 5 that guarantees Appellant the right to “obtain justice freely,

             without purchase, completely and without denial, promptly and without delay,

             comformably to the laws.” This Court in its ministerial capacity promulgating and

             administering the rules of the courts and the structures of the digital courts

             purposefully and knowingly violate established principles of the Government

             Edicts Doctrine, the First Amendment, Due Process and Equal Protection,

             Privileges and Immunities Clauses, the Seventh Amendment, and the Supremacy

             Clause, as well as this state’s constitution guarantees in Section 5 and Section 15.

             In support of this motion for preliminary injunction, Appellant incorporates all

             motions files before this Court requesting access to judge-created laws and court

             information in Rhode Island’s digital courts, that have been acknowledged by this

             Court as “a problem” and won’t be resolved until the “end of the year,” and

             simultaneously denied immediate relief in violation of the First Amendment, Due

             Process, Equal Protection, Privileges and Immunities Clauses and the Government


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             Edicts Doctrine, violating constitutional guarantees for prompt remedy without

             delay and purchase, and contravening constitutional requirement to comform to the

             laws. The laws require this Court to minister the judicial branch’s court

             architecture and basic structure to conform to the Laws and to the Constitution, not

             structurally rig proceedings to the advantage of agencies, such as the Appellees.

             Appellant has raised this fundamental structural issue in both lower courts (in

             superior court incorporating the Administrative Procedure Act over Title IV

             administration by Appellee, and in the family court incorporating compliance to

             Title IV in Title IV proceedings) to no avail, saying they can’t do anything about it

             (denying remedy) and to go and ask the Rhode Island Supreme Court for remedy.

             Appellant hereby moves this Court now for the above requested remedy to enjoin

             the aforesaid structural bias promulgated, implemented and ministered by this

             Court – in other words, the lower courts point to THIS Court for unconstitutional

             structural bias causation - and preserves this Rhode Island Supreme Court

             fundamental ministerial unconstitutional court structural bias for United States

             Supreme Court review – Appellant preserves the issue of structural bias and raises

             before the Court that it is ripe for Article III review. Appellant raises before the

             Court that the Court’s ministered structural bias functions to CONCEAL criminal

             agency administration of federal programs calculated to make false claims in

             constitutionally infirm forums that deny the fundamental right to jury trial in civil


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             actions at common law, to wit the Appellees’ criminal policy and procedure to

             falsify interstate interest support records zeroing out Rhode Island’s illegal 12%

             compound interest disallowed by 42 U.S.C. sec. 654(21)(A) then electronically

             transmits the falsified zeroed out interest support records to the Federal Central

             Registry within the Title IV legal framework, while falsely certifying the falsified

             support record and falsely transmitting a falsified zeroed out interest support order

             to the Federal Central Registry and to the Receiving State, in this case, to Texas,

             thus damaging and destroying the integrity of both the Federal Central Registry

             records and the Receiving State (this case Texas) Registry records within the Title

             IV legal framework – that encompassed the calculation to ultimately make false

             claims to the United States Title IV federal program for funding in the attempt to

             CONCEAL the 12% compound interest that facially contravenes 42 U.S.C. sec.

             654(21)(A) for the purpose of receiving TANF and Title IV-D 66% funding that

             the Appellee agency persons know(s) they are not eligible for when they falsify

             records, zero out the unlawful 12% compound interest and “collect debt” in actions

             in debt at common law in constitutionally infirm forums like this Court’s

             ministered family court that operates the illegal aforesaid structurally biased two

             digital case management systems that further deprives access to court information

             and judge-created laws to pro se litigants and the public, as well as deprive

             defendants the right to jury trial in actions in debt at common law, and which the


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             Appellee agencies knowingly scheme to conceal this penalty incurring scheme

             from federal auditor detection under 42 U.S.C. sec. 655. This Court’s ministering

             and enforcement of Rule 5 effectively functions to CONCEAL from and obstruct

             federal auditors access to judge-created law Title IV proceeding documents that

             involve documented evidence of the falsification of Title IV records by Appellees

             routinely zeroing out Rhode Island’s unlawful 12% compound interest in Title IV

             interstate support cases, false certifications of Title IV compliance, routinely

             falsifying support orders with zeroed out interest, routinely transmitting falsified

             records to the Federal Central Registry and routinely transmitting falsified records

             to the receiving states’ registry carrying false certifications of regulatory

             compliance within the Title IV legal framework. As such, Appellant incorporates

             the Administrative Procedure Act that is triggered upon injury to the Appellant.

             This Access to Public Records Act action over the Appellees’ interstate

             administration of the Title IV program incorporates by definition the

             Administrative Procedure Act. The Appellant submitted the public records request

             to the Appellee agency on December 1, 2022, at which time there was no pending

             action initiated by the Appellees. The Appellees’ public records written denial on

             December 13, 2022 relied on alleged “unsegregable” reasons, not impending

             litigation. The Appellee agency Chief Counsel Ms. Martinelli’s written public

             records denial letter dated December 16, 2022 also relied on unsegregable reasons


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             not impending litigation, notifying Appellant in writing of Appellant’s right to

             appeal under the Access to Public Records Act. Mr. Coleman’s written claims in

             this proceeding contravenes his boss Ms. Martinelli’s written reasons for record

             denial. Either Mr. Coleman is lying on July 31, 2024 before this Court or his boss

             Ms. Martinelli is lying, in writing, dated December 16, 2022. Either way, the

             Appellee is lying, in writing, before this Court and/or committing wire fraud

             interstate to Texas lying about public record denials under both open records laws

             and the Administrative Procedure Act governing Appellee administration

             procedures of the federal Title IV program, that it turns out, involves routine

             interstate criminal fraud, false claims, obstruction, and obstruction of federal

             auditors. This state’s open government laws never differentiate textually between

             Title IV records and other federal program records, conferring the family court

             jurisdiction over public access to Title IV records – instead jurisdiction is

             conferred to the Superior Court over ALL records access denial appeals

             irrespective of program, agency or nature. No litigation was pending at the time of

             APRA request and Appellee counsel Ms. Martinelli never stated impending

             litigation as a basis for denial on December 16, 2022, instead stating in writing

             “unsegregable” as the reason. The Superior Court structurally is required to review

             the disputed records to make a determination, not defer to Appellee agency

             opinions, which is controlled by new Supreme Court case law, Loper Bright


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             Enterprise Inc. vs. Raimondo, Slip opinion (2024) conclusively overturning the

             Chevron deference. In support of this motion, Appellant incorporates Appellant’s

             Rule 12A Statement, all of Appellant’s filed motions to repeal Rule 5 and grant

             access to judge-created laws, motion to stay, and the Court’s orders to date in this

             matter, as fully alleged and raised herein. Moreover, Appellant states the follows:

             New Controlling United States Supreme Court Case Law

                    Overturn of the Chevron Deference

                    1. This Court's ministering of the biased court structure rigged in favor of

                        the Appellee agency, replete with family court structure operating the

                        aforesaid said biased and illegal TWO digital case management systems

                        that blinds the pro se litigant, fails to notice the pro se litigant and

                        coupled with access denial to court information and judge-created laws

                        effectively functions as this Court’s deference to the agency on steroids,

                        that implements and enforces and administers structural biased rigged in

                        favor of the Appellee agency. This Court’s ministerial bias in gross

                        deference to the Administrative State is ripe for United States Supreme

                        Court review of this State’s administration of federal Title IV that

                        incorporates the Administrative Procedure Act over the subsequently

                        enacted Title IV.



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                    2. Lopes Bright Enterprises Inc. vs. Raimondo (Slip Opinion) (2024)

                        overturned the Chevron deference, and gives Article III courts

                        independent review of all agency administrative actions of federal

                        programs. This Court’s ministerial administration of structurally biased

                        state courts involving federal Title IV programs in favor of the agency

                        that de facto functions to conceal from the public and support obligors

                        and conceal from federal auditors court documents and otherwise

                        records evidence relating to the Appellee agency’s routine falsification

                        of Title IV records zeroing out Rhode Island’s unlawful 12% compound

                        interest in interstate cases in order to make false claims is

                        unconstitutional and Appellant is entitled under the Constitution to

                        remedy upon injury. Appellant preserves the issue for United States

                        Supreme Court review of Appellee and court structural ministering by

                        this Court triggering 18 U.S.C. § 4 and incorporates 18 U.S.C. § 1512,

                        18 U.S.C. § 666, 18 U.S.C. § 241, 18 U.S.C. § 1516.

                    3. Corner Post, Inc. v. Board of Governors of the Federal Reserve

                        System, 603 U. S. ____ (2024) makes clear that Appellant is entitled to

                        remedy upon injury by the aforesaid Court ministered structural defect

                        and the Appellee’s corrupt administration of a federal program,

                        including covering up and denying access to Appellees’ routine


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                        falsification of interstate Title IV support records under the

                        Administrative Procedure Act that requires disclosure of records.

                        Appellant is injured now and continues to seek denied remedy.

                        Appellant’s entitlement to remedy upon injury is moreover guaranteed

                        by the Rhode Island constitution Section 5. This issue of remedy denial

                        thus far is preserved for United States Supreme Court review. Appellant

                        seeks remedy now that conform to the laws, that this Court

                        acknowledges “is a problem” but denies Appellant the requisite

                        immediate remedy to irreparable harms by the Court’s ministerial acts.

                        Appellant is entitled to access Rhode Island’s judge’s created laws

                        relating to access to all Title IV public records, Appellee procedures

                        zeroing out interest, procedures falsifying and certifying zeroed out

                        interest in interstate Title IV support cases, and the procedures relating

                        to the transmission of falsified zeroed out interest records to the Federal

                        Central Registry and the receiving state that is moreover governed under

                        the Administrative Procedure Act. This Court’s ministerial court

                        information and judge-created laws access denial as it relates to what the

                        judges are up to in Rhode Island as it relates to agency administration of

                        federal programs requires immediate First Amendment injury remedial

                        access. This issue is preserved for Article III review.


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                    4. On June 28, 2024, the United States Supreme Court reinforced in

                        Fischer v. U.S., 603 U. S. ____ (2024), that 18 U.S.C. § 1512(c)(1) and

                        Section 1512(c)(2) cover criminal conduct altering, fabricating and

                        falsifying U.S. Government Federal Central Registry computer records

                        by the State Appellees and Appellee client Gero Meyersiek. On page 9,

                        the U.S. Supreme Court held “…subsection (c)(2) makes it a crime to

                        impair the availability or integrity of records, documents, or objects used

                        in an official proceeding in ways other than those specified in (c)(1). For

                        example, it is possible to violate (c)(2) by creating false evidence—

                        rather than altering incriminating evidence. See, e.g., United States v.

                        Reich, 479 F. 3d 179, 185–187 (CA2 2007) (Sotomayor, J.) (prosecution

                        under subsection (c)(2) for transmitting a forged court order). Subsection

                        (c)(2) also ensures that liability is still imposed for impairing the

                        availability or integrity of other things used in an official proceeding

                        beyond the “record[s], document[s], or other object[s]” enumerated in

                        (c)(1), such as witness testimony or intangible information. See, e.g.,

                        United States v. Mintmire, 507 F. 3d 1273, 1290 (CA11 2007)

                        (prosecution under subsection (c)(2) based in part on the defendant’s

                        attempt to orchestrate a witness’s grand jury testimony).” Id. It is plain

                        that the district court’s description of “state enforcement” that


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                        Appellant’s newly-discovered evidence proves fundamentally involves

                        the wholesale policy-prescribed criminal alteration, fabrication and

                        falsification of federal computer government records and State

                        Appellees’ false certification of federal law compliance that are

                        calculated to make false claims to the United States for billions of

                        dollars of federal funding Rhode Island is not eligible for, conceal from

                        federal auditors Rhode Island’s policy-prescibed wholesale criminal

                        falsification of federal Central Registry support obligation records and

                        conceal from federal auditors Rhode Island’s false certification of

                        federal law compliance, in violation of 18 U.S.C. § 1512(c)(1) and

                        (c)(2), and to make false claims to interstate support obligors for

                        unlawful interest debt and false claims for waived interest does not only

                        go towards the issue of Younger Abstention, but show Appellant’s

                        reporting to the United States judges under 18 U.S.C. § 4 the State

                        Appellees’ and Appellee Gero Meyersiek’s violate a slew of multiple

                        federal criminal laws discussed by Fischer v. U.S., 603 U. S. ____

                        (2024), such as 18 U.S.C. § 1516 (impairing or obstructing federal

                        audit), 18 U.S.C. § 1503(a), for example, makes it a crime to “corruptly,

                        or by threats or force, or by any threatening . . . communication,

                        endeavor[] to influence, intimidate, or impede” any juror or court


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                        officer”; “sub-sections (a)(2)(C), (b)(3), and (d)(2) criminalize various

                        means of preventing someone from giving a judge or law

                        enforcement officer information relating to the commission or

                        possible commission of a federal offense. And subsections (d)(3) and

                        (4) make it a crime to harass someone and thereby dissuade them from

                        arresting or prosecuting a person alleged to have committed a federal

                        offense. None of these crimes requires an “official proceeding.” Id.

                        (emphasis added). “For a person to have violated (c)(2), “an official

                        proceeding need not be pending or about to be instituted.” §1512(f )(1).

                        And interference with an arrest or with communications to authorities

                        about federal offenses could very well obstruct the initiation of future

                        official proceedings.” Id. Applying the Supreme Court’s rulings of

                        obstruction acts in Fischer to this matter, the record in this matter shows

                        State Appellees, counsel for State Appellees (a state official who knows,

                        aids and abets in the furtherance of the State Policy to falsify federal

                        records to impair their integrity that is calculated to aid and abet Rhode

                        Island to make false claims to the United States for federal funds Rhode

                        Island is not eligible for and to conceal the federal penalty-incurring

                        criminal conduct under 42 U.S.C. § 655) and Appellee Title IV client

                        Gero Meyersiek engaging in criminal activities discussed by the


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                        Supreme Court in Fischer. The Appellees by policy conceal Rhode

                        Island’s unlawful 12% compound interest by removing it thereby

                        falsifying federal Central Registry records that impairs the records’

                        integrity. After removing the interest that all users relying on the

                        integrity of the records rely on record truthfulness, the Appellees then

                        represent to the support obligor, the Appellant, that interest was waived.

                        After removing the interest from the record, State Appellees further

                        falsely certify to federal authorities and federal auditors that Rhode

                        Island is federal law compliant. Then, the Appellees put back on the

                        state register the unlawful 12% compound interest, then fraudulently lien

                        Appellant’s Texas properties. The State Appellee John Langlois again

                        states in 2022 in Rhode Island’s Title IV enforcement agency appeal

                        proceeding that Appellee Gero Meyersiek waived the interest. See

                        attached Exhibit I Transcript of audio recording Appellant made in

                        Texas on October 5, 2022 of telephone call Appellant had with Appellee

                        John Langlois, Esq., Deputy Chief Counsel of the Appellee Office of

                        Child Support Services, and Debra DeStefano, Rhode Island Executive

                        Office of Health and Human Services Appeals Officer in a Title IV

                        enforcement agency appeal proceeding in agency Appeal No. 22-2116




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                        that occurred on October 5, 2022, at the Title IV-D enforcement Appeal

                        telephonic Hearing, pages 2-5:

                 “DeStefano: -- Mary. I know -- I know what you asked for. Let

                11 me get to -- let me understand what John just said

                12 before. So, John, you’re saying there was a change

                13 subsequent to her making a payment --

                14 Langlois: Correct.

                15 DeStefano: -- but before the Notice of Lien went out?

                16 Langlois: Yes.

                17 DeStefano: Okay. So --

                18 Langlois: And can I -- can -- if I could just back up and

                19 explain what happened. Okay?

                20 DeStefano: Okay.

                21 Seguin: This --

                22 Langlois: This is -- 99 percent of this is a misunderstanding.

                23 DeStefano: Okay.



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                  24 Langlois: Okay?

                  25 Seguin: Including --

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                  1 Langlois: (Inaudible - 00:01:51)

                  2 Seguin: -- what’s on the screenshot? Is that a

                  3 misunderstanding?

                  4 Langlois: Can -- can I speak without being shouted over?

                  5 Seguin: Well, I’m --

                  6 DeStefano: Mary, let --

                  7 Seguin: I’m sh- --

                  8 DeStefano: Let --

                  9 Seguin: I’m flabbergasted really.

                  10 DeStefano: Uh, Mary, you’ve got to let me --

                  11 Seguin: Sorry.

                  12 DeStefano: -- listen --

                  13 Seguin: Sorry.


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                  14 DeStefano: -- to what the agency is gonna --

                  15 Seguin: I appreciate that.

                  16 DeStefano: I mean, I know -- I only know that -- what’s in

                  17 front of me and I don’t know everything that has

                  18 happened in this case, but if -- if -- let me just

                  19 listen to the agency and see what they have to say for

                  20 --

                  21 Seguin: Sure.

                  22 DeStefano: Go ahead, John.

                  23 Langlois: What -- what happened in this case is when, uh --

                  24 Mary’s representative, her attorney, called us in late

                  25 November 2021 and said there’s a -- she wants her

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                  1 passport released. What does she have to do to

                  2 release her passport? They put her in touch with

                  3 Carla, who gave her the $104,000 number. Where that


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                  4 number came from, was the department attorney

                  5 contacted the custodial parent, Mr. Miurski (ph) or,

                  6 uh, Mr. -- I can’t pronounce her last name.

                  7 Meyersiek. So we contacted his attorney -- it wasn’t

                  8 me, but it was someone in my office -- and said, “If

                  9 she’s willing to make a $104,000 payment to pay off

                  10 the principal, would you agree to waive the $75,000” -

                  11 - I think it was $73,000 in arrears at that time? He

                  12 said yes. So Carla notified Mary that, if she paid

                  13 $104,000, it would be paid in full because he was

                  14 willing to waive the interest. That was just the

                  15 principal. What happened was, the day after Carla

                  16 spoke to Mary and told her to mail in the -- or to --

                  17 to wire the $104,000, the attorney for Mr., um,

                  18 Meyersiek contacted us again and said he changed his

                  19 mind, please put the interest back up on the system,


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                  20 so we did. That’s his money. The state is just

                  21 collecting for -- for this past child support that’s

                  22 owed to him. If he wants the arrears, he has every

                  23 right to ask for it. So the number that was given to

                  24 her was correct on the day it was given to her. The

                  25 arrears for $104,000. Because when he was waiving the

                  Page 5

                  2 arrears, when he changed his mind the next day, we put

                  2 the arrear -- I mean, interest back up on the system.”

                  Then, after that agency proceeding was dismissed, Appellant on December 1,

              2022 requested the Title IV debt collection procedure records in general

              jurisdiction Superior Court under this state’s open records act that incorporates the

              federal Administrative Procedure Act. After the Appellant initiated the open

              records act record denial appeal in the Superior Court, the State Appellees initiated

              a judicial proceeding in the limited jurisdiction state family court that utterly lacks

              jurisdiction to put back on the federal computer system the unlawful 12%

              compound interest that Rhode Island Office of Child Support Services removes

              (and modifies the court order/falsified court order) from the Federal Central

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              Registry computer system, by Rhode Island’s official criminal State Policy and

              that Appellee nonwelfare client Gero Meyersiek waived – under Title IV and all

              applicable federal (preemption) law, the limited jurisdiction state family court

              lacks jurisdiction to oblige Rhode Island State Appellees and Appellee client Gero

              Meyersiek. As the United States Supreme Court warns corrupt officials on July 1,

              2024, “The President is not above the law.” Trump v. U.S., 603 U. S. ____ (2024).

              Nobody is above the law, the United States Supreme Court warned, much less the

              Appellees in Rhode Island, whose conduct by conclusive evidence have been

              shown to be criminally corrupt falsifying federal records for the purpose of making

              false claims, and reveal a sense of being above the law for decades, in this matter

              alone, from 1996 to the present, and is on-going. Similarly, the Court’s

              ministerial acts described herein as it relates to ministering the structurally

              defective courts that favors the Appellee agency, conceals judge-created laws

              relating to the Appellee criminal administration of Title IV and deprives defenders’

              right to jury trial in actions in law and in debt at common law, are not above the

              law. the state family court lacks jurisdiction to unlawfully establish 12%

              compound interest that violates the preemptive 42 U.S.C. § 654(21)(A), or

              establish the 12% compound interest retroactively that violates 42 U.S.C. §

              666(9)(C), or enforce unlawful 12% compound interest that is by Rhode Island’s

              State Policy always and “automatically” removed from the Federal Government


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              Central Registry computer system records, including transmitting modified support

              orders (falsified court orders in violation of 18 U.S.C. § 1512(c)(2) see June 28,

              2024 United States Supreme Court holding, Fischer v. U.S., 603 U. S. ____

              (2024), citing United States v. Reich, 479 F. 3d 179, 185–187 (CA2 2007)

              (Sotomayor, J.) (prosecution under subsection (c)(2) for trans mitting a forged

              court order). “Subsection (c)(2) also ensures that liability is still imposed for

              impairing the availability or integrity of other things used in an official proceeding

              be yond the “record[s], document[s], or other object[s]” enumerated in (c)(1), such

              as witness testimony or intangible information. See, e.g., United States v.

              Mintmire, 507 F. 3d 1273, 1290 (CA11 2007) (prosecution under subsection (c)(2)

              based in part on the defendant’s attempt to orchestrate a witness’s grand jury

              testimony)”) in order to conceal unlawful 12% compound interest from federal

              auditors (in violation of 18 U.S.C. § 1216, see Fischer v. U.S., Id.), the State

              Judiciary Appellees exercise the ministerial function of establishing “court rules”

              governing the digital courts the state judiciary implemented calculated to conceal

              from the public, from federal authorities, from pro-se litigants any and all judge-

              created laws (and the respective syllabi that show the State Appellee Department

              of Human Services and Office of Child Support routinely establishing and

              administering and enforcing unlawful 12% compound interest enabled in the state

              family court of limited jurisdiction that is by Rhode Island state policy criminally


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              removed from the Federal Central Registry, to which the Appellees transmit forged

              falsified self-modified court orders and whenever certifications of federal law

              compliance is performed) created by the state family court that lacks jurisdiction to

              preempt Title IV of the Social Security Act. See, Trump vs. U.S., 603 U. S. ____

              (2024) (reinforcing and directing Special Prosecutor Jack Smith to apply Fischer

              vs. U.S., 603 U. S. ____ (2024); Fischer vs. U.S., 603 U. S. ____ (2024); LOPER

              BRIGHT ENTERPRISES ET AL. v. RAIMONDO, SECRETARY OF

              COMMERCE, ET AL., No. 22-451 *Together with No. 22–1219, Relentless, Inc.,

              et al. v. Department of Commerce, et al.; Corner Post, Inc. v. Board of Governors

              of the Federal Reserve System, 603 U. S. ____ (2024)

                         THIS COURT MINISTERS STRUCTURALLY
                         CONSTITUTIONALLY INFIRM FORUMS THAT DEPRIVE THE
                         SEVENTH AMENDMENT TRIAL BY JURY RIGHT AND R.I.
                         CONSTITUTION SECTION 15 JURY TRIAL RIGHT IN DEBT
                         ENFORCEMENT PROCEEDINGS THAT THE LIMITED
                         JURISDICTION FAMILY COURT LACKS THE AUTHORITY TO
                         CALL – APPELLANT MOVES TO ENJOIN APPELLEES AND THE
                         COURT FROM MINISTERING FORUMS THAT DEPRIVE JURY
                         TRIAL RIGHTS IN LEGAL ACTIONS IN DEBT AT COMMON LAW



                      5. the United States Supreme Court’s June 28, 2024 ruling in S.E.C. v.

                          Jarkesy, 603 U.S.___(2024), that upheld the defendant’s right to a trial

                          by jury, not just a judge as in the limited jurisdiction family court, in

                          debt enforcement proceedings. “Actions by the Government to recover

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                          civil penalties under statutory provisions,” we explained, “historically

                          ha[d] been viewed as [a] type of action in debt requiring trial by jury”

                          quoting Tull v. U.S., 481 U.S., at 418-419 (1987).

                      6. When the state family court adjudicates, there are no juries. R.I.G.L. 8-

                          10-3 confers no authority to the limited jurisdiction state family court to

                          call juries. In these proceedings, the above-mentioned unconstitutional

                          structural defect already violates the due process mandate Congress

                          legislated in 42 U.S.C. § 666. The Fifth Circuit applied a two-part test

                          from Granfinan ciera, S. A. v. Nordberg, 492 U. S. 33 (1989), the panel

                          held that the agency’s decision to adjudicate the matter in-house violated

                          Jarkesy’s and Patriot28’s Seventh Amendment right to a jury trial. 34 F.

                          4th, at 451. First, the panel determined that because these SEC antifraud

                          claims were “akin to [a] traditional action[] in debt,” a jury trial would

                          be required if this case were brought in an Article III court. Id., at 454;

                          see id., at 453–455. The Fifth Circuit panel concluded that case should

                          have been brought in federal court, where a jury could have found the

                          facts. Based on this Seventh Amendment violation, the panel vacated the

                          final order. Id., at 459. It also identified two further constitutional

                          problems. First, it determined that Congress had violated the non

                          delegation doctrine by authorizing the SEC, without adequate guidance,


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                          to choose whether to litigate this action in an Article III court or to

                          adjudicate the matter itself. See id., at 459–463. The panel also found

                          that the insulation of the SEC ALJs from executive supervision with two

                          layers of for-cause removal protections violated the separation of

                          powers. See id., at 463–466.

                      7. Interest on overdue support claims are traditional actions in debt, and a

                          jury trial would be required if this case were brought in an Article III

                          court. The state family court is a constitutionally infirm forum for

                          actions in debt that violate Seventh Amendment right and to Section 15

                          of the R.I. Constitution guarantee to jury trial at common law. This

                          Court’s ministering of Title IV proceedings for actions in debt at

                          common law in constitutionally infirm forums that deprive the defendant

                          of the Seventh Amendment right to jury trial and Section 15 of the R.I.

                          constitution’s right to jury trial at common law must moreover be

                          immediately enjoined. The Appellees’ knowing deception against

                          support obligors in actions in debt at common law in constitutionally

                          infirm forums like the family court that deprive defendants’ right to jury

                          trial at common law must moreover be immediately enjoined. S.E.C. vs.

                          Jarkesy, 603 U.S.___(2024) is controlling, and Appellant preserves and

                          reserves this issue (Appellant is denied access by this Court to review


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                          R.I. judge created laws in all Rhode Island courts on the right of jury

                          trial and further reserves the right to supplement once access is granted

                          by the end of the year, per this Court’s orders) that is ripe for United

                          States Supreme Court review. A jury would have found the facts that

                          the Appellees actively sought to conceal, obstruct access to, and impair

                          access to documents relating to Appellee falsification of Title IV

                          records, zeroing out Rhode Island’s unlawful 12% compound interest

                          that facially violate 42 U.S.C. sec. 654(21)(A) in order to make false

                          claims. The Court’s ministerial acts depriving Title IV support obligors

                          in Title IV proceedings that deprive the right to trial by jury to find all

                          triable facts de facto functions to aid and abet agency Appellees’ making

                          false claims to support obligors and the United States. A jury would

                          have found triable facts surrounding the Appellee agency removal or

                          zeroing out Rhode Island’s 12% compound interest, then stating to

                          support obligors that the $0 interest showing resulting from the removal

                          means interest was waived, then clandestinely illegally put the interest

                          back on the system to make false claims. This fraudulent alteration of

                          federal Title IV interest record by Appellees in constitutionally infirm

                          and grossly structurally defective lower state courts implemented and

                          ministered by the Rhode Island Supreme Court must be enjoined


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                          immediately, must be remedied and is ripe for United States Supreme

                          Court review. The Court’s ministerial acts and the Appellees moreover

                          violate Separation of Powers, so that the Court denies immediate remedy

                          that conform with the law under both the U.S. Constitution and R.I.

                          constitution. This Court’s denial of remedy concerning federal interstate

                          programs that involve egregious criminal activity thus far is ripe for

                          Article III review.

                      8. Appellant incorporates this Court’s four orders dated November 27,

                          2023, January 19, 2024, March 29, 2024 and June 7, 2024 and all

                          motions filed before this Court to date by reference as proof of

                          Appellant-raised and preserved but unremedied fundamental structural

                          defect issues prejudicing not just this appeal forum but all state lower

                          court structural defects implemented and ministered against the

                          Appellant that violate core tenets of law and order in our democratic

                          system, namely the Government Edicts Doctrine, the First Amendment,

                          the Seventh Amendment, Sections 1, 5, 15 of the R.I. constitution, Due

                          Process and Equal Protection, Privileges and Immunities Clauses and

                          Separation of Powers in this Court’s ministered digital court structure

                          and purposely unlawfully designed architecture that shows conclusive

                          evidence of prejudice, bias, concealment with knowing, admitted and


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                          purposeful violation of the Constitution, of the First Amendment, the

                          Due Process Clause, the Equal Protection Clause, and the Privileges and

                          Immunities Clauses, the Seventh Amendment, Separation of Powers, and

                          the Supremacy Clause. Denied access to judge-created laws created in

                          Rhode Island, Appellant’s Due Process is violated and Appellant is

                          unconstitutionally targeted as a class (the public and the pro se litigants

                          are denied access) – this evidently ministerial court policy that motivates

                          the Rule 5 denial is upheld by the very persons who sit in a judicial

                          capacity in this matter to continue to deny judge-created law access by

                          its latest June 6, 2024 order denying Appellant’s application for access

                          in its entirety. Because access denial to Rhode Island’s judge-created

                          laws functions to conceal the law in Rhode Island relating to corrupt

                          administration of federal programs by the Appellees and conceal from

                          the public what the courts in Rhode Island are up to as they relate to the

                          continuing corrupt administration of the federal programs by the

                          Appellees, under the United States Supreme Court’s established case

                          laws on public access to court information and judge-created laws, the

                          Court in its ministerial acts and the Appellees violate the core tenets of

                          our democracy: see, Richmond Newspapers v. Virginia, 448 U.S. at

                          587–88 (1980) (emphasis added) “the First Amendment . . . has a


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                          structural role to play in securing and fostering our republican system of

                          self-government. Implicit in this structural role is not only ‘the principle

                          that debate on public issues should be uninhibited, robust, and wide-

                          open,’ but the antecedent assumption that valuable public debate—as

                          well as other civic behavior—must be informed. The structural model

                          links the First Amendment to that process of communication necessary

                          for a democracy to survive, and thus entails solicitude not only for

                          communication itself but also for the indispensable conditions of

                          meaningful communication.” The structure of this Court fails to comport

                          with the fundamental tenets of our republican system of self-government

                          and the Constitution, evidently by design and purposefully, and rejects

                          Appellant’s proper requests to timely comply with the Constitution

                          under the First Amendment. As such, Appellant hereby reserves and

                          preserves all rights to supplement Appellant’s motion to enjoin until

                          such time Appellant is granted remote access to judge-created laws

                          created by Rhode Island judges. Since the Court acknowledges the

                          problem and acknowledges proceeding is due process violative,

                          Appellant concurrently filed separately a motion to stay pursuant to the

                          Court’s Order dated March 29, 2024 relating to this matter – however,

                          the structural defects raised in this motion must be enjoined and


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                          remedied without delay nor could they be held in abeyance, which are

                          categorically ripe for review by Article III, the United States Supreme

                          Court. Jarkesy, Lopes Bright Enterprise Inc., Fischer, and Trump show

                          the United States Supreme Court places paramount priority reigning in

                          the excesses of the [criminal] abuses of the Administrative State of

                          government agency actions, as It should, that this matter shows the

                          Administrative State engages in criminal schemes to harm the public,

                          defraud the public and undermine core tenets and the rule of law of our

                          democracy.

                          Officials’ Violation of the Law Is Treated As More Severe That Is
                          Herein Preserved For Article III Review

                      9. Under 18 U.S.C. § 4, hinderance, concealment, suppression, affirmative

                          neglect, or unjustified delay are “especially culpable for public officers,

                          since they received a higher penalty for the crime than that received by

                          ordinary citizens at common law." Mullis, supra. at 1113. The public

                          officers specifically named in the Federal misprision statutory text with a

                          duty to act upon the receipt of information are “judge(s) and civil

                          authorities.” The First Circuit federal appeals court equally applies the

                          Federal misprision statute to state and local public officers, such as the

                          Appellees and Mr. Coleman, and this Court’s justices in their ministerial

                          capacities ministering, promulgating, administering, implementing the
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                          afore-described structurally defective and constitutionally infirm forums

                          targeting pro se litigants and concealing what the Appellees and the

                          judges in Rhode Island are up to, by denying access to court information

                          to the public and to Appellant regarding the judge-created laws

                          concerning the Appellees’ corrupt administration of Title IV program

                          that involves routine falsification of federal support records zeroing out

                          interest and otherwise alterations of the Title IV records to make false

                          claims. United States v. Caraballo-Rodriguez, 480 F.3d 62 (1st Cir.

                          2007). The First Circuit in Caraballo further noted that the Supreme

                          Court also noted in Branzburg v. Hayes, 408 U.S. 665, 696 n. 36, 92

                          S.Ct. 2646, 33 L.Ed.2d 626 (1972), that some lower courts had construed

                          the statute to require both knowledge of a crime and an affirmative act of

                          concealment or participation, but that both the Supreme Court and the

                          First Circuit did not adopt that construction. Appellant preserves this

                          issue as it relates to this matter concerning Appellee conduct, Mr.

                          Coleman’s conduct, and the Court’s ministerial conduct, and the issue is

                          ripe for Article III review by the United States Supreme Court.

                          Moreover, the Plaintiff-Appellant raised the specter of Appellee

                          Misprision of felony committed before this Court on July 31, 2024

                          evidenced by the Appellee’s 12A Counter Statement and Objection to


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                          Motion to Stay submitted by the Appellees through Mr. Coleman, an

                          agency Deputy Chief Counsel, a public officer. The First Circuit in

                          Caraballo (precedent) cited United States v. Sessions, Nos. 00-1756, 00-

                          1791, 2000 WL 1456903 (8th Cir. Oct.2, 2000) (unpublished decision),

                          holding that the misprision statute was satisfied where the individual

                          "gave incomplete information regarding his knowledge of the [crime],"

                          at least where he "gave the police partial information that was

                          misleading." Id. at *1, 2000 WL 1456903. If the statute is geared toward

                          avoiding the misleading of authorities, Ciambrone, 750 F.2d at 1418, it

                          is still possible, in concept and in fact, that even a truthful but partial

                          disclosure could conceal by misleading the government through the

                          withholding of key information, specifically in footnote 10 that “it is

                          commonly accepted in other areas of law. The specific cases the First

                          Circuit Court cited and relied on are all in the form of omitted facts in

                          filings submitted to judges in a federal court of law in official federal

                          proceedings that “may mislead.” (Emphatically, it is obvious that the

                          omission of key facts submitted in this Court which satisfies the

                          misprision statute equally applies to the omission of key facts submitted

                          in the federal appellate court). See the Caraballo Court cited cases,

                          United States v. Nelson-Rodriguez, 319 F.3d 12, 33 (1st Cir.2003)


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                          (recognizing that omitted facts in a wiretap warrant affidavit may

                          mislead); United States v. Reilly, 76 F.3d 1271, 1280 (2d Cir.1996)

                          (commenting that a "bare-bones description" submitted to judge may

                          have been "calculated to mislead"); United States v. Stanert, 762 F.2d

                          775, 781 (9th Cir.1985) (holding that omitted facts in a warrant

                          affidavit may mislead); United States v. Previte, 648 F.2d 73, 85 (1st

                          Cir.1981) (noting that trial court's use of slide transparencies to deliver

                          jury instructions "had some potential to mislead the jury, more by what

                          they omitted than by what they contained"). Therefore it is abundantly

                          plain that the First Circuit Caraballo Court applied the misprision

                          statute to court “filings submitted to a judge.” The federal misprision

                          of felony statute is a carry-over of common law misprision of felony that

                          equally applies to Rhode Island state misprision of felony – accordingly

                          both apply as they relate to Title IV program administration and corrupt

                          ministering or aid and abet of corrupt administration of federal programs

                          by state persons. Accordingly, the Appellee Rule 12A Counter

                          Statement and Objection to motion to stay that were filed before this

                          very Court, that grossly and egregiously omitted key facts evidenced in

                          the previously Appellant-submitted state policy documenting the

                          falsification of federal computer records zeroing out the unlawful 12%


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                          compound interest in order to conceal it for the felonious purpose of

                          feloniously making false claims to the United States and to support-

                          obligors, “may have been calculated to mislead” which the First Circuit

                          held in United States v. Caraballo-Rodriguez, 480 F.3d 62 (1st Cir.

                          2007) satisfies the misprision of felony statute, holding that the

                          misprision statute was satisfied where the individual "gave incomplete

                          information regarding his knowledge of the [crime]," at least where he

                          "gave the partial information that was misleading" which the Plaintiff-

                          Appellant plainly contends before this same Court was committed by the

                          Appellees, and Plaintiff-Appellant now preserves this misprision of

                          felony by the Appellees filings submitted to appellate Rhode Island

                          supreme court judges omitting the substantial fact of falsification of

                          federal computer records zeroing out the unlawful 12% compound

                          interest for the purpose of making false claims “calculated to mislead”

                          and “satisfies the misprision statute” for all applicable prosecution under

                          misprision of felony by the Appellant, and all qualifying persons, and

                          that it is ripe for review by Article III United States Supreme Court. The

                          Court should note that the Plaintiff-Appellant applies for the $250,000

                          per Appellee submission per count allowed under the misprision statute

                          by law and should grant under the misprision law – there is no basis in


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                          law or fact for NO consequence or no addressment or indifference or

                          inaction or denying remedy by this Court under the misprision statute or

                          at common law, as painstakingly detailed by the First Circuit in United

                          States v. Caraballo-Rodriguez, 480 F.3d 62 (1st Cir. 2007).

                      10.Under United States v. Caraballo-Rodriguez, 480 F.3d 62 (1st Cir.

                          2007), immediate remedy and relief to the Appellant at the first

                          opportunity further complies with 18 U.S.C. § 4 and Rhode Island’s

                          misprision of felony at common law and by the First Circuit Court’s own

                          addressment in Caraballo, is required at common law, having at length

                          described as a forewarning the consequences of failure to act by public

                          officers. This applies in equal force to this Court’s ministerial acts

                          implementing, ministering and enforcing structurally defective and

                          constitutionally infirm lower courts in the administration of federal Title

                          IV proceedings in the administration of federal programs, incorporating

                          the Administrative Procedure Act.

                          CONCLUSION

                                    WHEREFORE, the Court should GRANT Appellant’s motion

                          to enjoin. The Court should commit its decision, remedy or lack thereof

                          and reasoning in writing. The structurally defective and all issues raised

                          herein are preserved and are ripe for the United States Supreme Court


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                          review of the State’s corrupt, unlawful, unconstitutional, and criminally

                          obstructive administration of a federal program that implicates billions

                          of federal funds falsely claimed by the State and billions of dollars

                          falsely claimed by the State against support obligors since the 1996

                          Amendments to Title IV through the routine falsification of Title IV

                          records zeroing out Rhode Island’s 12% compound interest by the

                          Appellees since 1996, such as the Appellant. The Court should GRANT

                          Appellant’s application for $250,000 per Appellee concealment,

                          obstruction and misprision of felony under common law by the

                          Appellees. Appellant condemns the Appellees. Appellant preserves the

                          issue of Appellee violation of, and the Court’s ministering of Rule 5’s

                          violation of, and those persons knowingly ministering Rule 5, and denial

                          of public, federal auditors and Appellant’s right to remote access of

                          court information and judge-created laws in violation of the following

                          federal criminal codes (that are not exhaustive): 18 U.S.C. § 2, 18 U.S.C.

                          §3, 18 U.S.C. § 4, 18 U.S.C. § 1512, 18 U.S.C. § 1516, 18 U.S.C. § 666,

                          18 U.S.C. § 241. Appellant reserves and preserves all rights to

                          supplement this motion upon being granted remote access to Rhode

                          Island’s judge-created laws in all its courts.

                                                                Respectfully submitted,

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                                                                 Mary Seguin
                                                                 Pro Se
                                                                     ______
                                                                      _   ____________
                                                                 /s/____________________
                                                                 Email:
                                                                     il maryseguin22022@gmail.com
                                                                                i 2202
                                                                 Phone: (281)744-2016
                                                                 P.O. Box 22022
                                                                 Houston, TX 77019

                                                                 Dated: August 1, 2024



                                                 CERTIFICATE OF SERVICE


                    I HEREBY CERTIFY that on August 1, 2024, I filed the within Motion with
              the Clerk of the Court via the Rhode Island Electronic filing system, and a copy to
              Attorney Michael Coleman, Esq., 25 Howard Bldg. 57, Cranston, RI 02920. A
              copy of the filing through the Court’s EFS is available for downloading and
              viewing.
                                                           Respectfully submitted,
                                                                 Mary Seguin
                                                                 Pro See
                                                                 /s/____________________
                                                                      ___________________
                                                                 Email:
                                                                      l maryseguin22022@gmail.com
                                                                                i
                                                                 Phone: (281)744-2016
                                                                 P.O. Box 22022
                                                                 Houston, TX 77019

                                                                 Dated: August 1, 2024




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                                                 EXHIBIT I.
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                                                 Recorded Phone Call


                                                  Recording Name:
                [Recording of phone conversations among John Langlois, Debra DeStefano and
                     Mary Seguin recorded in Texas by Mary Seguin on October 5 2022]




                                            Transcript Prepared By:




                                                      720-287-3710
                                                   3801 E. Florida Ave.
                                                        Suite 500
                                                    Denver, CO 80210


                                             DUNS Number: 037801851
                                               CAGE Code: 6C7D5
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                1    Seguin:        ‘Cause all -- like, if -- if we base the practice on

                2                   how things are done of -- based on what Mr. Langlois,

                3                   John, is representing today, everyone should be able

                4                   to look at that screenshot, that screen, and be able

                5                   to rely on it, correct?

                6    DeStefano:        Well, yeah, I --

                7    Seguin:        And its accuracy, correct?

                8    DeStefano:        -- I mean, the agen- --

                9    Seguin:        So --

               10    DeStefano:        The agency is going to have to prove it.                    Yes.   The

               11                   agency is going to have to submit -- and, again, it --

               12                   it’s difficult for me to know how relevant what you’re

               13                   asking for is ‘cause I don’t know what the agency’s

               14                   gonna submit yet, uh, to -- to support their position.

               15                   So --

               16    Langlois: And can I -- can I just say, the reason I asked

               17                   earlier whether, uh, Mary had spoken to Carla after

               18                   she made the $104,000 payment was because there was a

               19                   change in circumstances immediately after that and I

               20                   don’t know whether anyone in my agency has ever

               21                   explained that to Mary.

               22    Seguin:        Wait -- wait -- wait a minute.

               23    Langlois: (Inaudible - 00:01:10)

               24    Seguin:        Wait a minute.

               25    Langlois: (Inaudible - 00:01:11)




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                1    Seguin:        Wait -- wait -- wait -- wait a minute.                    Wait a minute.

                2                   If there is --

                3    DeStefano:        Wait a minute.

                4    Seguin:        -- I’d like to get some documents of that.                     Okay?   So

                5                   -- so, again --

                6    DeStefano:        Mary, what do you --

                7    Seguin:        -- I’ve asked for, I think --

                8    DeStefano:        Oh.       Wait a minute --

                9    Seguin:        I -- I’m so sorry.          I’m --

               10    DeStefano:        -- Mary.      I know -- I know what you asked for.                  Let

               11                   me get to -- let me understand what John just said

               12                   before.       So, John, you’re saying there was a change

               13                   subsequent to her making a payment --

               14    Langlois: Correct.

               15    DeStefano:        -- but before the Notice of Lien went out?

               16    Langlois: Yes.

               17    DeStefano:        Okay.      So --

               18    Langlois: And can I -- can -- if I could just back up and

               19                   explain what happened.            Okay?

               20    DeStefano:        Okay.

               21    Seguin:        This --

               22    Langlois: This is -- 99 percent of this is a misunderstanding.

               23    DeStefano:        Okay.

               24    Langlois: Okay?

               25    Seguin:        Including --




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                1    Langlois: (Inaudible - 00:01:51)

                2    Seguin:        -- what’s on the screenshot?               Is that a

                3                   misunderstanding?

                4    Langlois: Can -- can I speak without being shouted over?

                5    Seguin:        Well, I’m --

                6    DeStefano:          Mary, let --

                7    Seguin:        I’m sh- --

                8    DeStefano:          Let --

                9    Seguin:        I’m flabbergasted really.

               10    DeStefano:          Uh, Mary, you’ve got to let me --

               11    Seguin:        Sorry.

               12    DeStefano:          -- listen --

               13    Seguin:        Sorry.

               14    DeStefano:          -- to what the agency is gonna --

               15    Seguin:        I appreciate that.

               16    DeStefano:        I mean, I know -- I only know that -- what’s in

               17                   front of me and I don’t know everything that has

               18                   happened in this case, but if -- if -- let me just

               19                   listen to the agency and see what they have to say for

               20                   --

               21    Seguin:        Sure.

               22    DeStefano:          Go ahead, John.

               23    Langlois: What -- what happened in this case is when, uh --

               24                   Mary’s representative, her attorney, called us in late

               25                   November 2021 and said there’s a -- she wants her




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               1                 passport released.           What does she have to do to

               2                 release her passport?             They put her in touch with

               3                 Carla, who gave her the $104,000 number.                      Where that

               4                 number came from, was the department attorney

               5                 contacted the custodial parent, Mr. Miurski (ph) or,

               6                 uh, Mr. -- I can’t pronounce her last name.

               7                 Meyersiek.        So we contacted his attorney -- it wasn’t

               8                 me, but it was someone in my office -- and said, “If

               9                 she’s willing to make a $104,000 payment to pay off

              10                 the principal, would you agree to waive the $75,000” -

              11                 - I think it was $73,000 in arrears at that time?                        He

              12                 said yes.       So Carla notified Mary that, if she paid

              13                 $104,000, it would be paid in full because he was

              14                 willing to waive the interest.                 That was just the

              15                 principal.        What happened was, the day after Carla

              16                 spoke to Mary and told her to mail in the -- or to --

              17                 to wire the $104,000, the attorney for Mr., um,

              18                 Meyersiek contacted us again and said he changed his

              19                 mind, please put the interest back up on the system,

              20                 so we did.        That’s his money.          The state is just

              21                 collecting for -- for this past child support that’s

              22                 owed to him.         If he wants the arrears, he has every

              23                 right to ask for it.            So the number that was given to

              24                 her was correct on the day it was given to her.                        The

              25                 arrears for $104,000.             Because when he was waiving the




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               1                 arrears, wen he changed his mind the next day, we put

               2                 the arrear -- I mean, interest back up on the system.

               3    Seguin:      I think --

               4    Langlois: He was waiving the interest, and when that interest

               5                 went back up on the system, that’s why the system is

               6                 now saying she owes $73,000.                That’s why, in March,

               7                 when the system saw that she had a, uh -- some kind of

               8                 a personal injury settlement or some kind of an

               9                 insurance settlement, we had -- we -- our system was

              10                 showing that she owed $73,000 in interest, so we

              11                 issued the lien.          But that’s what happened, is when he

              12                 changed his mind the next day, and that’s what messed

              13                 up the numbers.          So that’s how this all happened.              It

              14                 was a pure misunderstanding.                I don’t know whether

              15                 anyone has ever explained that to Mary, how that

              16                 happened.

              17    DeStefano:      Okay.     Mary, did anybody ever explain that to you

              18                 before?

              19    Seguin:      No.    No one ever --

              20    DeStefano:      That the system has just -- just --

              21    Seguin:      -- explained any of that, and I --




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               1                                TRANSCRIBER'S CERTIFICATE

               2

               3                 I, Laurel Keller, do hereby certify that I have

               4    listened to the recording of the foregoing; further that the

               5    foregoing transcript, Pages 1 through 5, was reduced to

               6    typewritten form from a digital recording of the proceedings

               7    held October 5, 2022, in this matter; that Participant Mary

               8    Seguin has stated John Langlois and Debra DeStefano present were

               9    included in this recording; and that the foregoing is an

              10    accurate record of the proceedings as above transcribed in this

              11    matter on the date set forth.

              12                 DATED this 20th day of June, 2024.

              13

              14

              15                                                      _________________________

              16                                                      Laurel Keller

              17                                                      Ditto Transcripts
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      An o icial website of the United States government Hereʼs how you know


State Child Support Agencies with Debt
Compromise Policies
    Listen



Publication Date: June 2, 2023 Current as of: June 2, 2023
OCSS found that at least 36 states and the District of Columbia have debt compromise options available to
noncustodial parents. Although the approach varies from state to state, each has the same goal to
encourage consistent payments and foster better family relationships.

Please check with the state in which you have your child support order for additional information. See our
map for contact information for each state.



Alabama

An interest rebate law allows for forgiveness of interest owed to the state and custodial parent (if the
custodial parent agrees), in cases where current support is paid consistently for at least 12 months.

Source: Code of Alabama §30-3-6.1

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Alaska

The state o ers debt forgiveness for noncustodial parents who have accrued at least $1,500 in state-owed
child support arrears and meets other eligibility criteria. If the parent complies with the arrears forgiveness
agreement, state-owed debt will be forgiven in stages over a 6-year period.

Source: 15 AAC 125.650

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Arizona

The Division of Child Support Services (DCSS) Settlement Program assists noncustodial parents who may
have a large arrears balance on their child support case. It provides an opportunity to pay o past-due
balances.
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If you are limited in your ability to pay, you may o er to settle your arrears balance by paying either a lump
sum or by making monthly installments that can be accepted for up to three months.

To participate in the program:

    1.   Think about how much you would like to o er to settle the past due amount.
    2.   Stop by a local DCSS o ice or contact the DCSS Customer Service Center at 602-252-4045 or 1-800-
         882-4151, or email the DCSS Settlement Team at dcsssettlement@azdes.gov to submit your
         settlement o er.

Note: The stateʼs role is not to advocate the amount of the settlement, but to facilitate whatever o er is
appropriate for the state and the parties involved in the case. The DCSS cannot require a custodial parent
to accept a settlement o er.

Source: Arizona Parents who Pay Child Support




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Arkansas

Does not have a program.

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California

The California Department of Child Support Servicesʼ Debt Reduction Program aims to increase support
collected for families and resolve uncollectable debt that is owed to the state of California. The Debt
Reduction Program allows for the acceptance of a partial-pay o er in exchange for compromising the
remainder of permanently assigned arrears owed by a participant.

Source: Child Support Reduction Program




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Colorado

County child support o ices have the ability to o er arrears compromise for assigned child support
arrears. It is up to the counties to determine if they want to implement an arrears compromise program
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                                                       2494
and, if so, what criteria they wish to use.

Source: State
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Connecticut

Connecticut has implemented two arrears programs. The first one, the Arrears Adjustment Program, is
designed to reduce state-owed debt as well as encourage the positive involvement of NCPs in the lives of
their children and to pay current support. The second program, the Arrears Liquidation Program, is
designed to liquidate state-owed arrears by allowing obligors to pay o arrears in a lump-sum payment at a
discounted rate.

Source: Regulations of Connecticut State Agencies §17b-179b-1 to §17b-179b-4

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Delaware

Does not have a program.

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District of Columbia

The Fresh Start program allows for a portion of Temporary Assistance for Needy Families (TANF) arrears to
be forgiven in return for successfully making consecutive timely payments on the current support
obligation or making a lump sum payment towards arrears. The Child Support Services Division must invite
noncustodial parents to participate in the program.

Qualifications are:

             At least $1,000 owed in TANF arrears
             No voluntary payment in at least 12 months
             Previous unsuccessful enforcement e orts
             Valid addresses for both parties
             Failure to pay support must not be due to bad faith
             Responding interstate cases are not eligible for the program

Source: District of Columbia Fresh Start Program
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Florida

Does not have a program.

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Georgia

A state statute gives the child support program the authority to waive, reduce, or negotiate the payment of
state-owed arrears for administrative child support orders if it is determined that there is good cause for
nonpayment or that enforcement would result in substantial and unreasonable hardship to the parent or
parents responsible for the support. Courts have discretion in applying or waiving past-due interest owed
on arrears.




Source: O.C.G.A. § 19-11-5, § 7-4-12.1; Ga. Comp. R. & Regs. r. 290-7-1-.20

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Hawaii

Does not have a program.

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Idaho

Does not have a program.

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Illinois

Project Clean Slate provides opportunities for low‐income noncustodial parents to apply for forgiveness of
assigned arrears in exchange for making regular, ordered payments of current support to the custodial
parent for six months. The noncustodial parent must have demonstrated that they were unable to pay the
assigned support at the time it was owed due to unemployment, incarceration, or serious illness. The
noncustodial parent must also meet low‐income standards.
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Source: Clean Slate Program       ; Illinois Public Aid Code §5/10-17.12; 89 Illinois Administrative Code
Section 160.64.
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Indiana

Does not have a program.

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Iowa

The Promoting Opportunities for Parents Program assists parents in overcoming the barriers which
interfere with fulfilling their obligations to their children. In order to encourage parent participation, Iowaʼs
Child Support Recovery Unit may partner with community providers and resources and o er incentives.
The incentives include satisfactions of arrears due to the state for payment of court-ordered child support.

Source: Iowa CSRU Customer Handbook

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Kansas

The updated incentive program returned January 1, 2021, with an e ective date of September 1, 2020. The
focus of the updated incentive program is to work with payors to achieve stable employment. The primary
incentive remains: a reduction of state-owed arrears only, with a lifetime maximum of $2500 and an
additional incentive of $1000 for those payors who complete their GED or high school diploma. So, the
lifetime maximum for those who obtain a GED is $3500.

There are three di erent categories in the incentives:
1) Career enhancement: Enables a payor to progress in their career, $2000 cap (HVAC certificate,
barbershop or cosmetology license, forkli driver certificate, etc.)

2) Education: $1000 cap (GED or high school equivalent)

3) Personal enhancement: $500 cap (fatherhood or parenting class, finance class, addiction class, etc.)

The incentives are capped by their category. For example, the completion of an addiction class and a
financial class will only result in one $500 incentive. Completion of both the HVAC and Welding certificate
programs will only result in one $2000 incentive. In addition, if a payor has already received the maximum
amount under prior versions of the incentive program, they will not receive additional incentives. If,
however, a payor only received $500 previously, they could be eligible for additional incentives under this
program.
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Beginning January 1, 2021, all incentives program requests with their appropriate documentation
(certificates of completion, attendance logs, etc.) must be sent to DCF.CSSIncentives@ks.gov for
consideration and approval of credit.
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Kentucky

Does not have a program.

                                                                                              Back to top

Louisiana

Does not have a program.

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Maine

Does not have a formal program. The state considers debt forgiveness on a case-by-case basis only for
assigned arrears. Factors considered are:

            Ability to pay (present and future)
            Partial or continuing payments for current or partial debt
            Reduction in state owed arrears
            Potential case closure




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Maryland

The Payment Incentive Program encourages the noncustodial parent to make consistent child support
payments by:

            Reducing state-owed arrears by half if the noncustodial parent makes full child support
            payments for a year.
            Eliminating the balance owed if the noncustodial parent makes full child support payments
            for two years.

The noncustodial parent will receive credit for uninterrupted court-ordered payments made immediately
prior to participation in the program. Consideration will be given for periods of unemployment due to
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seasonal work and no-fault termination.

Source: Maryland Payment Incentive Program
                                                                                                  Back to top
Massachusetts

Massachusetts child support regulations allow for the settlement of interest, penalties, and arrears, as well
as equitable adjustment of arrears. The Child Support Commissioner may waive all or a portion of the
interest and penalties owed to the Commonwealth if the Commissioner determines such waiver is in the
best interest of the Commonwealth and will maximize collection of current and past‐due child support.




The Commissioner may also accept an o er in settlement that is less than the full amount of state‐owed
arrears, where there is serious doubt as to liability or collectability of such arrearages. The Commissioner
may also equitably adjust the amount of child support arrearages owed to the Commonwealth when the
obligor has no present or future ability to pay the full arrearages.

Source: 830 CMR 119.A.6.2

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Michigan

Several laws allow for adjustment of arrears and interest.

             In some cases, the Department of Human Services or its designee may use discretion to settle
             and compromise state-owed arrears (MCL 205.13).
             Other laws allow noncustodial parents who do not have the ability to pay the arrearage in full,
             presently, or in the near future to request a payment plan (for a minimum of 24 months). At
             the completion of the payment plan, the court may waive any remaining arrears owed to the
             state (MCL 552.605e).
             Additionally, noncustodial parents may request a payment plan as a means to have the
             surcharge (interest) waived or reduced if regular payments are made (MCL 552.603d).

Source: MCL 205.13     , MCL 552.605e      , MCL 552.603d

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Minnesota
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State statute gives the parties (including the public authority with assigned arrears) the authority to
compromise unpaid support debts or arrearages owed by one party to another, whether or not docketed as
a judgment.

Source: Minn. Stat. §518A.62

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Mississippi

Does not have a program.




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Missouri

Does not have a program.

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Montana

Does not have a program.

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Nebraska

Does not have a program.

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Nevada

Nevada will only consider arrears-only cases where there is no money owed to the custodian. The
noncustodial parent must apply and provide supporting documents. Each application is reviewed, and a
recommendation is provided to the Administrator of the Division of Welfare and Support Services who has
authority to forgive state debt.

Source: State

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New Hampshire

The New Hampshire Division of Child Support Services does not have a formal debt compromise policy.
Child support workers do have some discretion to negotiate agreements to secure current support that
may include forgiveness of assistance debt owed to the state that accrued prior to the establishment of a
child support order and which was based on imputed income. Any such agreement must be approved by
the child support workerʼs supervisor. Check with the state for more information.

Source: State

                                                                                                Back to top

New Jersey

Occasionally, the New Jersey Child Support Program will o er a time-limited match on payments made
towards the child support case and credit the same amount towards the arrears balance owed to the state.
The program is announced yearly and is based on availability of funds.

Source: New Jersey Arrears Match Program

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New Mexico

New Mexicoʼs Child Support Arrears Management Program, Fresh Start, supports the needs of todayʼs
modern family by reviewing cases to focus on right-sized court orders, resulting in more payments and less
debt. This program may provide an option for the noncustodial parent to reduce the amount of assigned
arrears by providing a lumpsum payment or consistent monthly payments to the custodial parent. To be
eligible, the noncustodial parent must have over $1,000 of state-owed arrears and meet other additional
criteria outlined on the Fresh Start Arrears Management Program        .

Source: State

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New York

New York State o ers several debt compromise programs to noncustodial parents who owe the state. The
program varies depending on the local district. Interested persons must confirm with the local district
where their order was issued if the service is available.

             Arrears Cap: a limit on the amount of child support debt owed to the government.
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             Arrears Credit Program: open to noncustodial parents who owe Department of Social Services
             child support arrears and do not have more than $3,000 in the bank or more than $5,000 in
             property.
             Parent Success Program: designed to help noncustodial parents by supporting their well-
             being and strengthening their ability to provide for their children by completing a substance-
             use treatment program.
             Pay It O : a time-limited program that enables noncustodial parents to pay o NYC DSS child
             support debt twice as fast. See the website for more information about each program.

Source: New York Debt Reduction
                                                                                                 Back to top
North Carolina

To be eligible the obligor must:

             Owe a minimum of $15,000 in state‐owed arrears
             Agree to make 24 consecutive monthly payments for current support and an amount toward
             arrears
             Comply with the agreement.

Source: NC General Statute, Chapter 110, Section 135 (§ 110-135)         (PDF)

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North Dakota

North Dakota has three goals for its debt compromise program:

    1.   Motivate obligors to comply with long-term payment plan
    2.   Eliminate uncollectible debt
    3.   Facilitate case closure where appropriate

Compromise of assigned arrears is permitted if an o er is received for at least 95% of the outstanding
arrears balance (a er subtracting all negotiable interest) or 90% with IV-D Director approval.

Interest may be compromised when an obligor enters into a payment plan to avoid license suspension or
other enforcement remedies or when an obligor has been making payments on a regular basis.

In both cases, interest is not charged while regular payments are made and, a er one year of regular
payments, any unpaid interest that had accrued before that date can be compromised.
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Interest can also be considered uncollectible under certain circumstances. Some situations are pre-
approved, such as an obligor is receiving Supplemental Security Income. In these cases, a worker may
prevent interest from accruing on the case and can request an adjustment to the payment record for any
unpaid interest that has already accrued.

In situations that are not pre-approved, the worker cannot suspend interest or have it waived as
uncollectible without IV-D Director approval.

Source: State
                                                                                                Back to top
Ohio

Permanently assigned arrears can be reduced if/ when the obligor satisfies all the terms and conditions of a
waiver, installment plan compromise, lump sum compromise, or a family support program.

Source: Ohio Administrative Code: Rule 5101:12-60-70

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Oklahoma

The state permits a waiver of some or all child support arrears with court approval, provided the parents
mutually agree (or the state agrees when the debt is owed to the state).

Settlements of past support may include an agreement that the noncustodial parent make a lump-sum
partial payment or a series of payments toward the total amount of past support.

Settlements also may include an agreement for the noncustodial parent to pay a specified number of
current child support payments or in-kind payments in the future.

In addition, the state has established an amnesty program for accrued interest owed to the state. The state
attorney in the local district must approve all settlements of state-owed interest.

Source: 43 O.S. §112 Oklahoma Administrative Code 340:25-5-140 56 O.S. §234

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Oregon

The Oregon Child Support Program/ Division of Child Support does not have a formal program, but
forgiveness is used in appropriate situations. The program considers the familyʼs best interest and may
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satisfy all or any portion of child support arrears that are assigned to the State of Oregon or to any other
jurisdiction if:

              The arrears are a substantial hardship to the paying parent
              A compromise will result in greater collections on the case; or
              The paying parent enters into an agreement with the program to enhance the parentʼs ability
              to pay or their relationship with the children for whom the parent owes arrears.

Source: OAR Rule 137-055-6120




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Pennsylvania

Per Pennsylvania Supreme Court Rule, any compromise of state-owed debt must be approved by the court.

Source: State

                                                                                                   Back to top

Rhode Island

The O ice of Child Support Services has the discretion to compromise state-owed arrears.

Source: State

                                                                                                   Back to top

South Carolina

Does not have a program.

                                                                                                   Back to top

South Dakota

South Dakota Division of Child Support (DCS) does not have a formal debt compromise policy.

Child support workers do have some discretion to negotiate a lump sum settlement of 75% of state-owed
arrears. If the parents agree to a lump sum settlement for arrears owed to the family, DCS has a forgiveness
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of arrears form, which the parties can sign. The form is submitted to the court for approval. If the court
approves the settlement, DCS will remove the arrears from the case.

Source: State
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Tennessee

With the approval of the court, the parties have the right to compromise and settle child support arrears
owed directly to the person owed support (family-owed arrears). State-owed debt cannot be forgiven.

Source: Public Chapter 200, amending Tennessee Code Annotated, Section 36-5-101(f)               (PDF)

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Texas

The child support agency may establish and administer a payment incentive program to promote payment
by noncustodial parents who are delinquent in satisfying child support arrearages assigned to the child
support agency under Section 231.104(a).

The program must provide to a participating noncustodial parent a credit for every dollar amount paid on
interest and arrearage balances during each month of the NCPʼs voluntary enrollment in the program.

Source: Texas Family Code 231.124

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Utah

The Prisoner Forgiveness Program targets recently released prisoners and forgives state‐owed arrears for
those who are approved for the program and pay 12 consecutive months of current support plus a nominal
amount toward arrears.

Utah also targets obligors in treatment programs and forgives state‐owed arrears for those who are
approved for the program and pay 12 consecutive months of current support and/or arrears.

Source: UT Admin. Code Rule R527‐258

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Vermont

The court may limit the child support debt, taking into consideration the criteria of 15 V.S.A. § 659.
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Source: 33 VSA §3903
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Virginia

The Division of Child Support Enforcement's Temporary Assistance for Needy Families (TANF) Debt
Compromise Program is available to parents who owe TANF debt under a Virginia court or administrative
order.

The program is designed to encourage consistent child support payments by o ering eligible parents a
debt reduction in TANF debt. There are three tiers of participation based on your ability to pay. For more
information on how much you may be eligible to save, call 800-468-8894 or visit your local district o ice.

Source: State Child Support TANF Debt

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Washington

The Child Support Department may accept o ers of compromise of disputed claims and may grant partial
or total charge-o of support arrears owed to the state.

The state established an administrative dispute resolution process through its Child Support Conference
Boards to hear parentsʼ request to reduce the amount of arrears and make determinations based on the
individual circumstances.

Source: Rev. Code of Washington 74.20A.220         , Washington Admin. Code 388-14A-6400 through 388-
14A-6415

Washington Child Support Conference Boards           (PDF)

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West Virginia

This program allows forgiveness of interest for obligors who pay o all arrears within 5 years/60 months.
This is a voluntary program and requires all parties to voluntarily agree to forgive the interest.

Source: West Virginia Code §48‐1‐302 (c)

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Wisconsin

Local child support agencies may forgive all or part of the state-owed arrears under a variety of
circumstances, including when the obligor is unable to pay the arrearage based on income, earning
capacity, and assets, or the obligor has a long-term disability.

Source: Child Support Bulletin # CSB 20-06

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Wyoming

Does not have a program.

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Puerto Rico

Does not have a program.

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Virgin Islands

Does not have a program.

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American Samoa

Does not have a program.

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Commonwealth of the Northern Mariana Islands

Does not have a program.

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Guam

Does not have a program.
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Federated States of Micronesia

Does not have a program.

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Republic of the Marshall Islands

Does not have a program.

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Republic of Palau

Does not have a program.

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                    United States Court of Appeals
                                 For the First Circuit
                                    _____________________

      No. 23-1967

                                        MARY SEGUIN,

                                      Plaintiff - Appellant,

                                               v.

       RHODE ISLAND DEPARTMENT OF HUMAN SERVICES, in its official capacity; RHODE
           ISLAND OFFICE OF CHILD SUPPORT SERVICES, in its official capacity; GERO
       MEYERSIEK, in his individual and official capacity; PRISCILLA GLUCKSMAN; JOHN A.
          LANGLOIS; PAUL GOULD; MICHAEL D. COLEMAN, in his individual and official
            capacity; DEBORAH A. BARCLAY, in her individual and official capacity; LISA
         PINSONNEAULT, in her individual and official capacity; CARL BEAUREGARD, in his
        individual and official capacity; KEVIN TIGHE; MONIQUE BONIN; FRANK DIBIASE;
      WENDY FOBERT; KARLA CABALLEROS; TIMOTHY FLYNN; RHODE ISLAND COURT
       SYSTEM; MARISA BROWN; PAUL A. SUTTELL, in his individual and official capacity as
       Executive Head of Rhode Island State Court System; RHODE ISLAND ADMINISTRATIVE
        OFFICE OF STATE COURTS; RHODE ISLAND ADMINISTRATIVE OFFICE OF THE
      SUPERIOR COURT; RHODE ISLAND JUDICIAL COUNCIL; RHODE ISLAND SUPERIOR
        COURT; RHODE ISLAND SUPERIOR COURT JUDICIAL COUNCIL; THE JUDICIAL
           TECHNOLOGY CENTER; JULIE HAMIL; JOHN JOSEPH BAXTER, JR.; JUSTIN
       CORREA; RHODE ISLAND OFFICE OF THE ATTORNEY GENERAL; RHODE ISLAND
          OFFICE OF THE ATTORNEY GENERAL OPEN GOVERNMENT UNIT; ADAM D.
                   ROACH; PETER F. NERONHA; TYLER TECHNOLOGIES, INC.,

                                     Defendants - Appellees.

      Nos.   23-1978
             24-1313

                                        MARY SEGUIN,

                                      Plaintiff - Appellant,

                                               v.

       RHODE ISLAND DEPARTMENT OF HUMAN SERVICES, in its official capacity; RHODE
          ISLAND OFFICE OF CHILD SUPPORT SERVICES, in its official capacity; GERO
                      MEYERSIEK, in his individual and official capacity,
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                                            Defendants - Appellees,

       MICHAEL D. COLEMAN, in his individual and official capacity; DEBORAH A. BARCLAY,
        in her individual and official capacity; LISA PINSONEAULT, in her individual and official
         capacity; CARL BEAUREGARD, in his individual and official capacity; KEVIN TIGHE;
       MONIQUE BONIN; WENDY A. FOBERT; KARLA CABALLEROS; TIMOTHY FLYNN;
          RHODE ISLAND COURT SYSTEM; PAUL A. SUTTELL, in his individual and official
            capacity as Executive Head of Rhode Island State Court System; RHODE ISLAND
       ADMINISTRATIVE OFFICE OF STATE COURTS; RHODE ISLAND ADMINISTRATIVE
           OFFICE OF THE SUPERIOR COURT; RHODE ISLAND JUDICIAL COUNCIL; RI
        SUPERIOR COURT; RHODE ISLAND SUPERIOR COURT JUDICIAL COUNCIL; THE
         JUDICIAL TECHNOLOGY CENTER; JULIE PATALANO HAMIL; FRANK DIBIASE;
       MARISA P. BROWN; JOHN JOSEPH BAXTER, JR.; JUSTIN CORREA; RHODE ISLAND
          ATTORNEY GENERAL'S OFFICE; RHODE ISLAND OFFICE OF THE ATTORNEY
          GENERAL OPEN GOVERNMENT UNIT; ADAM D. ROACH; PETER F. NERONHA;
                                      TYLER TECHNOLOGIES, INC.,

                                                Defendants.
                                            __________________

                                            ORDER OF COURT

                                            Entered: May 24, 2024

              Plaintiff-Appellant Mary Seguin has filed three related appeals from rulings made in a
      single district court case concerning child-support matters. Seguin named as defendants various
      Rhode Island agencies, officials and employees, (collectively, "the State Defendants-Appellees"),
      as well as an individual by the name of Gero Meyersiek.

              The court has considered Seguin's response to the order to show cause entered in Appeal
      No. 23-1978. That appeal shall proceed, with all jurisdictional and other issues reserved to the
      ultimate merits panel. Further, the three above-captioned appeals are consolidated for purposes of
      briefing and disposition. A consolidated briefing schedule will enter in the ordinary course. The
      ultimate merits panel will decide the proper scope of the appeals and will consider to an appropriate
      extent each argument developed in briefing.

              Numerous motions currently are pending in the appeals. As an initial matter, this court
      resolves appeals through the briefing process and generally does not engage in piecemeal
      adjudication of individual issues by way of motion practice. Going forward, the parties should
      focus on briefing and are strongly discouraged from filing further motions, especially motions
      addressing the merits of the district court's rulings and procedural handling of the underlying
      matter.

              Many of Seguin's motions concern the merits of the district court's rulings in the underlying
      matter and/or offer materials and arguments not placed before the district court. Those motions are
      denied, though Seguin is free to address relevant matters during briefing, and this denial is without
      prejudice to the pursuit of any specific argument during briefing. Again, the ultimate merits panel
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      will decide this appeal based on the parties' briefs and will consider those matters properly
      encompassed by the appeals. In light of the foregoing, any requests for the court to strike filings
      by Seguin are denied.

             Seguin's sanctions motions are all denied, as Seguin has failed to identify legitimately
      sanctionable conduct, and Seguin is strongly discouraged from filing further such baseless
      motions.

              Any pending motions or requests not specifically addressed above are denied. Again, a
      consolidated briefing schedule will enter, and the parties are strongly encouraged to focus their
      attentions on briefing, not further motion practice.


                                                           By the Court:

                                                           Maria R. Hamilton, Clerk

      cc:
      Mary Seguin
      Marissa D. Pizana
      Joanna M. Achille
      Peter F. Neronha
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                                         No. 23-1978

                                      IN THE
                          UNITED STATES COURT OF APPEALS
                               FOR THE FIRST CIRCUIT
                            UNITED STATES OF AMERICA,

                                     Plaintiff-Appellant,
                                       MARY SEGUIN
                                              v.
           RHODE ISLAND DEPARTMENT OF HUMAN SERVICES in its official
             capacity; MICHAEL D. COLEMAN, DEBORAH A. BARCLAY in their
            individual and official capacities; Rhode Island OFFICE OF Child Support
        Services in its official capacity; KEVIN TIGHE, MONIQUE BONIN, FRANK
        DIBIASE, WENDY FOBERT, KARLA CABALLEROS, TIMOTHY FLYNN,
       LISA PINSONNEAULT, CARL BEAUREGARD, PRISCILLA GLUCKSMAN,
         JOHN LANGLOIS, PAUL GOULD, in their individual and official capacities;
        RHODE ISLAND STATE COURT SYSTEM in its official capacity; PAUL A.
          SUTTELL in his individual and official capacity as EXECUTIVE HEAD OF
                 RHODE ISLAND STATE COURT SYSTEM; RHODE ISLAND
          ADMINISTRATIVE OFFICE OF STATE COURTS in its official capacity;
      RHODE ISLAND ADMINISTRATIVE OFFICE OF THE SUPERIOR COURT in
           its official capacity; RHODE ISLAND JUDICIAL COUNCIL in its official
       capacity; RHODE ISLAND SUPERIOR COURT in its official capacity; RHODE
      ISLAND SUPERIOR COURT JUDICIAL COUNCIL in its official capacity; THE
        JUDICIAL TECHNOLOGY CENTER in its official capacity; JULIE HAMIL,
        MARISA BROWN, JOHN JOSEPH BAXTER, JR., JUSTIN CORREA in their
              individual and official capacities; RHODE ISLAND OFFICE OF THE
        ATTORNEY GENERAL in its official capacity; RHODE ISLAND OFFICE OF
          THE ATTORNEY GENERAL OPEN GOVERNMENT UNIT in its official
       capacity; ADAM D. ROACH, PETER NERONHA in their official and individual
                capacities; TYLER TECHNOLOGIES, INC.; GERO MEYERSIEK
                                    Defendants-Appellees.



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          Appeal from the United States District Court for the District of Rhode Island
                                      ___________________

            APPELLANT’S SHOW CAUSE IN SUPPORT OF APPELLANT’S
                         MOTION TO CONSOLIDATE
                            ___________________

               In response to the Court’s Order Extending Time to April 1, 2024 for

      Appellant to show cause, including in support of Appellant’s Motion to

      Consolidate, Appellant respectfully states the November 20, 2023 Notice of

      Appeal (ECF 38) filed by the Appellant in this matter appeals the district court’s

      November 20, 2023 Text Order, and as such the appeal is a direct attack on the

      district court’s void order issued on November 20, 2023 when the district court

      became functus officio, yet plainly and explicitly modified without authority the

      district court’s November 17, 2023 two denials denying the Plaintiff-Appellant

      post-judgment motions.

               This appeal is a direct attack on the district court’s November 20, 2023 void

      order.

               As such all subsequent void orders or “corrections arising from omissions”

      resulting from, stemming from, caused by, effected by, linked to, or corollary to

      the district court’s November 20, 2023 void order are subject to appellate review in

      this matter, including the February 1, 2024 district court denial, another void order.



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             The Notice of Appeal in this matter dated November 20, 2024 appeals the

      void district court November 20, 2023 Text order issued three days after the

      Notice of Appeal of the Final Judgement was filed (or perfected) on November 17,

      2023. See, ECF 32, 32-1, 33, 33-1.

             Pursuant to Griggs v. Provident Consumer Discount Company, 459 U.S. 56

      (1982) the district court on November 20, 2023 was divested of jurisdiction to

      modify its judgment or take other action affecting the cause without permission

      from the court of appeals.

             Appellant states, in support of the Show Cause, that a straightforward

      timeline and content examination of the November 17, 2023 docketed Notice of

      Appeal of the Final Judgment (ECF 32, 32-1) and the docketed district court

      clerk’s certification of the appeal record (ECF 33, 33-1), all dated November 17,

      2023, emphatically shows the district court was divested of jurisdiction as of

      November 17, 2023.

             As such, the district court’s November 20, 2023 and February 1, 2024 court

      orders in this matter are null and void, pursuant to Griggs v. Provident Consumer

      Discount Company, 459 U.S. 56 (1982).

             The Appellant avers the follows in support of consolidation:




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             I.    The November 17, 2023 district court certified record on appeal,
                   ECF 33 and ECF 33-1, shows on November 17, 2023, no pending
                   motions were docketed.

                   1. Emphatically, the November 17, 2023 district court certified record

                      on appeal, ECF 33 and ECF 33-1 shows on November 17, 2023,

                      no motions were docketed, proving there were no pending

                      motions filed prior to the Notice of Appeal of the Final Judgment.

                   2. Emphatically, the November 17, 2023 district court certified record

                      on appeal, ECF 33 and ECF 33-1, shows only two entries for

                      November 17, 2023: the two text orders dated November 17, 2023.

                   By way of visual illustration in support of this Show Cause, Appellant

                   attaches herewith a screenshot of ECF 33-1, of page 9 of 92:




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                   3. Moreover, the Court is requested to Judicially Notice pursuant to

                      Fed. R. Evid. 201 that the docket entry for ECF 32 on November

                      17, 2023 states unequivocally, “NOTICE OF APPEAL by Mary

                      Seguin as to Text Order, Text Order” making it explicitly clear

                      that the only two docket entries of November 17, 2023, “Text

                      Order and Text Order,” are the district court’s denials of

                      Appellant’s first November 16, 2023 post-judgment Rule 59

                      motions and then the one November 17, 2023 post-judgment Rule

                      60(b)(1) motion which the docket entry for ECF 32 makes clear

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                      that Appellant’s Notice of Appeal of the Final Judgment filed on

                      November 17, 2023 (ECF 32, 32-1) explicitly appeals “as to

                      TEXT ORDER, TEXT ORDER” in addition to the Final

                      Judgment. Therefore, all post-judgment motion filings actually

                      filed by the Appellant were disposed by the two post-judgment

                      denial Text Orders on November 17, 2023, prior to the filing of the

                      Notice of Appeal (ECF 32). Attached herewith for show cause

                      purposes are the aforementioned electronic court filing entry

                      documents:

                      Exhibit I.: ECF 32, ECF 32-1

                      Exhibit II.: ECF 33, 33-1



                      Therefore, the examination of ECF 32, 32-1, 33 and ECF 33-1

                   evidences that are attached to Exhibits A and B shows the functus

                   officio district court was divested of jurisdiction upon the filing of the

                   November 17, 2023 Notice of Appeal appealing the Final Judgment

                   and the two text orders issued on November 17, 2023 “as to Text

                   Order, Text Order.”



             II.   The District Court is DIVESTED of JURISDICTION Griggs v.
                   Provident Consumer Discount Company, 459 U.S. 56 (1982) and
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                   the November 20, 2023 Notice of Appeal in this matter appeals the
                   Void November 20, 2023

                            As a general rule, an appeal divests the district court of power

                   to modify its judgment or take other action affecting the cause without

                   permission from the court of appeals Griggs v. Provident Consumer

                   Discount Company, 459 U.S. 56 (1982). See also Hamer v.

                   Neighborhood Housing Services of Chicago, 583 U.S. ___ (2017).

                   The appeal filed on November 17, 2023 is from a Final Judgment.

                   Once a district court enters final judgment and once the district court

                   denies post-judgment motions, the final judgment and district court’s

                   denials of post-judgment motions become subject to appellate review.

                   See Commonwealth School, Inc. v. Commonwealth Academy Holdings

                   LLC, 2021 WL 1398268 (1st Cir. Apr. 14, 2021). See also John's

                   Insulation, Inc.v. L. Addison and Assocs., 156 F.3d 101, 105 (1st Cir.

                   1998).

                            Here, the two text orders docketed on November 17, 2023 are

                   clearly denials of the only post-judgment motions the Appellant filed

                   on November 16, 2023 and November 17, 2023 – as such the two

                   November 17, 2023 text orders disposed and denied Appellant’s post-

                   judgment motions on November 17, 2023. Subsequent to the district

                   court’s November 17, 2023 denials of post-judgment motions, in the
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                   late afternoon of November 17, 2023, Appellant filed the Notice of

                   Appeal (ECF 32, 32-1) appealing:

                          (1) the Final Judgment,

                          (2) the district court’s two denials of post-judgment motions

                   text orders of November 17, 2023, and

                          (3) the obstruction by Judge William Smith of the docketing by

                   the clerk of Appellant’s post-judgment motions between November

                   16th and 17th of 2023.

                          Therefore, the filing of the Notice of Appeal (ECF-32) meant

                   the final judgment and district court’s denials of post-judgment

                   motions dated November 17, 2023 become subject to appellate

                   review.

                          Therefore, here, the general rule that an appeal divests the

                   district court of power to modify its judgment or take other action

                   affecting the cause without permission from the court of appeals,

                   applies; see, Griggs v. Provident Consumer Discount Company, 459

                   U.S. 56 (1982).

                   The district court became functus officio and the district court functus

             offico judge William Smith, no longer holding office or having official

             authority, as he, nor the functus officio district court no longer had the


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             power to modify the two text orders judge Smith made on November 17,

             2023.

                     As such, on November 20, 2023, the functus officio district court,

             divested of jurisdiction, no longer had the authority to order

             modifications to the two text orders judge Smith made on November 17,

             2023.

                     Accordingly, the district court’s November 20, 2023 Text Order that

             plainly modified his November 17, 2023 two denials for leave to file, are

             VOID.

                     Accordingly, the November 20, 2023 Notice of Appeal in this matter

             filed by the Appellant appeals the void November 20, 2023 Text Order.

                     Having established that the appeal in this matter appeals the district

             court’s void November 20, 2023 Text Order, the Appellant respectfully

             requests Judicial Notice under Fed. R. Evid. 201 the 77-page Notice of

             Appeal (ECF-32).

                           A. Notice of Appeal (ECF 32) appeals the district court’s

                               “interference with appeal”

                               Appellant attaches herewith a screenshot of page 4 of the

                               Notice of Appeal, and under Fed. R. Evid. 201, requests

                               Judicial Notice of numbered paragraph 3 to 5:


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                            The Notice of Appeal requests appellate review of the

                            refusal by the United States District Court for the District of

                            Rhode Island’s refusal to docket on the record Plaintiff-

                            Appellant’s 28-day post-judgment motions filed on

                            November 16, 2023 and the third post-judgment motion




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                            filed on November 17, 2023, “pursuant to instructions by

                            Judge Smith.”

                               In enumerated paragraph 5, the Plaintiff plainly appeals,

                            “ Plaintiff attaches the aforesaid post judgment Motions and

                            requests appellate review under these extraordinary and

                            troubling factual circumstances that violate and obstruct the

                            fundamental First Amendment right of access to the Court of

                            Record, due process and obstruction to justice in the First

                            Circuit, and inter alia, interference with the accuracy of

                            the court’s record for appeal in this matter.”

                               Therefore, the “interference with the accuracy of the

                            court’s record for appeal in this matter” is under appellate

                            review in Appeal No. 23-1967.

                               Therefore, the appeal divests the district court of power

                            to take other action affecting the cause without permission

                            from the court of appeals. Griggs v. Provident Consumer

                            Discount Company, 459 U.S. 56 (1982). See also Hamer v.

                            Neighborhood Housing Services of Chicago, 583 U.S. ___

                            (2017).




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                               Since Judge Smith’s repeating “interference with the

                            accuracy of the court’s record for the appeal” on November

                            20, 2023 issuing the functus officio void November 20,

                            2023 Text Order modifying his pre-appeal November 17,

                            2023 text order denials is the order under appeal here, and is

                            a continuance of the “interference with the accuracy of the

                            court’s record for the appeal” that is under appellate review

                            in Appeal No. 23-1967, the legal justification to consolidate

                            Appeal No. 23-1967 and Appeal No. 23-1978 is

                            compelling.

                         B. “Purported Mistake has Been Rectified” - The functus
                            officio district court admits in the February 1, 2024
                            order that the November 20, 2023 “rectified the mistake”
                            of the district court’s November 17, 2023 text orders that
                            are under appeal in Appeal No. 23-1967 showing
                            continuing “interference with the accuracy of the court’s
                            record for the appeal” by rectifying mistakes after the
                            appeal and while the appeal is pending without
                            authorization from the court of appeals
                               In the void February 1, 2024 district court order, (ECF

                            48) the functus officio district court admits that the

                            November 20, 2023 order purported to “rectify the mistake”

                            of the two Text Orders of November 17, 2023 that are under

                            appeal in Appeal No. 23-1967. Appellant quotes the


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                            February 1, 2024 order, last paragraph of the last page of the

                            order “ … Text Order (Nov. 20, 2023). Thus, the purported

                            mistake has been rectified.” The Appellant attaches

                            herewith the screenshot of the void February 1, 2024 order

                            bearing Judge Smith’s signature, and under Fed. R. Evid.

                            201 requests judicial notice of the screenshot pasted to this

                            Show Cause here below (see page 14 of this Show Cause):




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                             Therefore, Judge Smith admits that on November 20, 2023,

                            when the district court became divested of jurisdiction, the

                            district court issued the void order purportedly to “rectify the



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                              mistake” of the district court order’s November 17, 2023

                              text orders.

                                 This Court is fully cognizant of the interference with the

                              accuracy of the record on appeal Judge Smith’s admitted

                              rectification caused. It is crystal clear that the functus

                              officio judge Smith lacked any authority on November 20,

                              2023 to modify the two November 17, 2023 district court

                              text orders issued before the filing of the Notice of Appeal

                              without the authority of the court of appeals.

             Therefore, Appeal No. 23-1967 and 23-1978 should be consolidated.


             III.   Judge Smith’s Functus Officio obstructions and interferences of
                    the appeal in this matter appears to be calculated to conceal from
                    judicial notice of the crucial fact that he was Defendant-
                    Appellees’ chief outside counsel at Edwards & Angell
                    representing the State of Rhode Island at the time of the 1996
                    Amendment of Title IV-D of the Social Security Act


                    The pinnacle matter of this action at law is the fact that the Rhode

                    Island Appellees in an organized and deliberate manner fail to comply

                    with the 1996 Amendment to Title IV Part D of the Social Security

                    Act. Indeed, the billion dollar question at the heart of the matter is the

                    extent to which the organized knowing failure to comply with Title IV


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                   pervades the 42 U.S.C. sec. 654(1) political subdivisions of Rhode

                   Island, and thus the amount in billions of dollars of penalties and

                   fines, that may involve jail time, incurred and accrued since 1996

                   when Judge Smith was the chief outside counsel of the Rhode Island

                   Appellees and their employees.

                         Title IV, one of the largest federal-state cooperative Entitlement

                   Program appropriated hundreds of billions to trillions of dollars

                   annually, saw Congress enact meaningful penalties against

                   noncompliant states in 1996, and as such Judge Smith as the lead

                   outside counsel for an extensive majority of the political subdivisions

                   of the State of Rhode Island had and should have had knowledge of

                   issues of noncompliance with Title IV-D, Title IV-A and 42 U.S.C.

                   sec. 654.

                         Accordingly, in support of this Show Cause, Appellant moves

                   for judicial notice of the following, pursuant to Fed. R. Evid. 201

                   and the Court’s inherent truth-seeking authority.

                   Diligently scouring the federal appellate rules and procedures,

                   Appellant could not find any explicit requirements to file a stand-

                   alone separate application or motion for Fed. R. Evid. 201 for judicial

                   notice, therefore, if Appellant, just as do judges and courts that make


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                   mistakes, respectfully requests good cause or excusable neglect

                   reasons for failing to find any textually explicit requirement to file a

                   motion for judicial notice under Fed. R. Evid. 201 separately. If the

                   Court so orders, Appellant will absolutely comply.

             IV.   Appellant’s Motion pursuant to Fed. R. Evid. 201 and 18 U.S.C.
                   sec. 4 for Judicial Notice of the Commission of Organized Crimes

                   Under Fed. R. Evid. 201 and pursuant to U.S.C. § 4, 18 U.S.C. § 666

                   18 U.S.C. § 287 - making false, fictitious claims,

                   18 U.S.C. § 371 - conspiracy to defraud the United States,

                   18 U.S.C. § 1001 - false documents or false statements to a federal

                   agency,

                   18 U.S.C. § 1341 - mail fraud,

                   18 U.S.C. § 1343 - wire fraud,

                   18 U.S.C. § 641 - Public money, property or records,

                   31 U.S.C. § 3279 - federal civil false claims act Et al. , Appellant

                   respectfully requests judicial notice of all that is made known to

                   judges of the United States below.

                         Under Fed. R. Evid. 201(e), Appellant requests for a hearing

                   on Appellant’s motion to take judicial notice.




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             The Court may take judicial notice of any matter “not subject to reasonable

       dispute because it . . . can be accurately and readily determined from sources

       whose accuracy cannot reasonably be questioned.” Fed R. Evid. 201(b).

             The legislations publication, concurrent litigation court information, United

       States’ Briefs and Judge-Created Laws are available through the Congress’s

       official website, through the Rhode Island Publications of State Legislations,

       through Rhode Island’s Digital Courts’ online portals, and through the United

       States Department of Justice Website, and, thus, is properly subject to judicial

       notice. See Daniels-Hall v. Nat’l Educ. Ass’n, 629 F.3d 992, 998-99 (9th Cir.

       2010) (taking judicial notice of information contained in school district websites).

             The State Policy attached in Exhibit A was not available until 2024 and is

       highly indisputable fact. It is a written policy regarding, inter alia, the removal of

       interest from the automated data processing and information retrieval system in

       interstate cases, and at the top of the one page policy, it states, “This specification

       will outline the process by which interstate cases are selected, automatic

       adjustments are created, and support orders are modified all for the purpose of

       removing interest from interstate cases.” It is directly relevant to and at the heart

       of this INTERSTATE matter. Rhode Island’s policy and practice administering

       the Title IV Program requiring by Policy “Specification for OCSS Change Order”

       the systemic unlawful and fraudulent removal from the automated data processing
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       and information retrieval system mandated by 42 U.S.C. sec. 654, thus creating,

       inter alia, false accounting records, false certifications to the State of TEXAS and

       to the UNITED STATES under 42 U.S.C. sec. 654 and 42 U.S.C. sec. 666 are

       crucial factual allegations at the heart of this matter – see Amended Complaint,

       ECF 25. And Judge Smith knew and should have known and advised the Rhode

       Island Appellees on the legality of this scheme from 1996 to the time of his

       appointment as Federal Judge in 2002. As such, Judge Smith had an obligation to

       make it known to a judge or other civil or military authority of the United States

       under 18 U.S.C. sec. 4.

             The next paragraph of this Policy states, “It is desirable for the Rhode Island

       Office of Child Support Services (OCSS) to prohibit the charging of interest on

       interstate cases. This is manually done by placing an N in the interest field on page

       2 of the support order. Entry of the N not only prohibits the charging of future

       interest but automatically creates adjustments to zero out any existing interest.”

             The last paragraph of this one-page policy states, “Two reports will be

       created” for several different categories of various manual adjustments N, Y, B or

       P. Therefore, in this interstate case targeting TEXAS, interest was manually

       removed from the system when Rhode Island falsely certified the accuracy of the

       total amount due in violation of, inter alia, 42 U.S.C. sec. 666(14), lying and

       deceiving TEXAS that there is no interest when in fact the interest amounting to
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       tens of thousands of dollars were unlawfully and fraudulently removed from the

       system. This simultaneously created a false certification to the UNITED STATES

       under the Title IV-D and Title IV-A Programs to fraudulently certify that Rhode

       Island is in compliant with Title IV in order to procure billions of dollars of federal

       funding it is ineligible for, which automated system adjustments to conceal the

       noncompliant 12% compound interest and false certification acts since the 1996

       Amendments to 42 U.S.C. sec. 654, incurred and accrued over a billion dollars.

             At the bottom of the Policy page, it is dated January 25, 2011. 12%

       compound interest was established in 2012 in Appellant’s case. Therefore, the

       Policy affects and is directly and materially relevant to this matter.

             The screenshots of the Appellees’ State Plan operated online Child Support

       account that is operated by the State Plan’s automated data processing and

       information retrieval system are extensively described in the Amended Complaint

       in this matter. The Policy is relevant because it states the policy that “it is

       undesirable for the Rhode Office of Child Support Services to charge interest in

       interstate cases.” The Amended Complaint describes an interstate case in which

       interest is charged by the Appellees. The policy is moreover relevant because it

       states “two reports” will be created that shows retrieval of data from the automated

       data processing and retrieval system, one with adjustments and another without

       adjustments, which is described in the Amended Complaint, describing at least
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       seven different sets of books of accounts showing accounting fraud in interstate

       cases. The Policy describing detailed instructions on how to make adjustments to

       the automated data processing and information retrieval system to create two

       reports in interstate cases relating to adjustments of “undesirable” interest in

       interstate cases shows an organized falsification of certification and government

       records in Title IV-D Program official records and documents, that are

       straightforward criminal. That “undesirable” interest in interstate cases concerns

       the routine establishment and enforcement of 12% compound interest in Rhode

       Island under color of state law, R.I.G.L. sec. 15-5-16.5. It is “undesirable” because

       under Title IV-D, specifically 42 U.S.C. sec. 654(21)(A), 12% compound interest

       is prohibited, and it is “undesirable” in interstate cases because Rhode Island

       knows full well that the 12% compound interest state legislation is preempted by

       42 U.S.C. sec. 654(21)(A) upon State’s acceptance of participation in Title IV-D.

       The Policy evidences the knowing violation and organized Rhode Island

       circumvention of 42 U.S.C. sec. 654(21)(A) through the creation of multiple books

       or reports of accounts that are false in interstate cases. The Policy evidences that

       the charging of the color of state law 12% compound interest necessarily involves

       a symbiotic entity that establishes the “undesirable” 12% compound interest in

       interstate cases – that would be the 42 U.S.C. sec. 654(1) state political




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       subdivision, Rhode Island state family court and certain pliant judges sitting

       therein.

             The Younger abstention issue squarely before this Court then is, unlike other

       state proceedings, the federal government is heavily involved in Title IV-D

       proceedings, and prescribed explicitly by statute tens of millions of dollars of

       penalty liable by the State for a single unwilful noncompliance. This State Policy

       (Exhibit A) that explicitly provides for “it is undesirable to charge interest in

       interstate cases” and the creations of “two reports” resulting from “adjustments” to

       the automated data processing and information retrieval system in interstate cases

       makes it plain that noncompliance is not just willful by policy and systemic, but

       also involves acts that violate the Federal Criminal Codes, as it entails theft of the

       Federal Program Funding under 18 U.S.C. sec. 666 and 18 U.S.C. sec. 641 through

       falsification of records. Therefore, does the Comity envisioned in our Union

       envisioned by Appellees and the district court under Younger Abstention apply

       when the federal preemptive statutory text of Title IV-D explicitly provide for

       steep penalties for single noncompliance in fiscal year that runs up to tens of

       millions of dollars, with a penalty compounding effect (of its own!) of subsequent

       State failures up to 30% of the amount of federal funding paid to the State –

       certainly additional penalties accrued in 2023 and now in 2024 directly as a result

       of applying Younger Abstention, and that certainly is not in the State’s interest to

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       continue to fail to comply, willfully, in light of Appellant’s challenges, here, in

       Appeal No. 23-1967, 23-1978 and in yet a possible fourth appeal.

             The Appellant is introducing highly indisputable facts.

             These facts are compelling because they provide a tantamount service to the

       United States and are moreover proffered to the Judges of the United States under

       18 U.S.C. sec. 4.

             Under the Appellate Court’s inherent equitable authority, moreover, the

       federal courts of appeals have relied on the truth-seeking function of the judiciary

       to permit supplementation of evidence. See., e.g., “It would be nonsensical to

       overlook the existence of materials that bear heavily on the contested issue.”

       Colbert v. Potter, 471 F.3d 158, 166 (D.C. Cir. 2006). Here, one of the threshold

       issues of Younger Abstention is whether the limited jurisdiction state family court,

       itself a 42 U.S.C. sec. 654(1) political subdivision that 42 U.S.C. sec. 654 binds,

       has the authority to enforce, establish or address Rhode Island’s routine 42 U.S.C.

       sec. 654(21)(A) prohibited 12% compound interest on overdue support under color

       of state law when Rhode Island participates in Title IV-D that Congress in its

       statutory text explicitly preempts State general laws and State constitutions to the

       extent that Congress prescribes “Grace Periods for Effective Date” prescribing the

       States to amend the State constitution for compliance, or whether proceedings as


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       such lack any authority under the law as plainly “under color of state law” void,

       voidable and nullity proceedings that are fraudulent and penalty-incurring (tens of

       millions of dollars for a single willful violation under Title IV-D). Therefore, in

       this case, Rhode Island’s noncompliance incurs monetary liability that are in the

       tens of millions of dollars per single violation explicitly prescribed by Congress in

       42 U.S.C. sec. 654. States lack any interest in the knowing and abusive violation

       of the preemptive 42 U.S.C. sec. 654, abusively dressed up as a state “interest to

       enforce child support.” In reality, Rhode Island has an overwhelming and

       compelling State interest to comply with 42 U.S.C. sec. 654 rather than violate

       provisions of 42 U.S.C. sec. 654. For this First Circuit, the question of the

       resulting harm inflicted on the State of Texas to have to then address the

       unenforceability and issues of void judgments under color of Rhode Island state

       law, and Rhode Island’s inherent attempt to harm citizens of Texas, harming

       Texas’s State interest, as well as Texas Appellant’s individual interests, must be

       decided, and the decision affects the National Interest and the Public’s Interest

       nationally. This Court must take judicial notice of the fact that all other applicable

       federal districts within the First Circuit, Massachusetts, New Hampshire, Maine are

       42 U.S.C. sec. 654(21)(A) compliant (setting 0% - 6% interest). Title IV-D also

       specifically prescribes federal and states review (executive and judicial) of whether

       support orders are enforceable and Congress cast doubt to the accuracy of support


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       orders and enforcement operations that prompted Congress to act and enact the

       1996 Amendments to 42 U.S.C. sec. 654, specifically explicitly providing penalties

       that could amount to tens of millions of dollars to over hundred million dollars in a

       fiscal year for State noncompliance – to wit the $10 million penalty incurred by

       South Carolina in 2010 described in the United States Brief in the seminal case,

       Turner v. Rogers. It is against the public interest and against the “Comity” to

       permit the wanton continuation of Rhode Island’s 12% compound interest under

       color of state law targeting noncustodial victims that, if allowed to mushroom,

       reaches its tentacles across all corners of the United States, out of an inequitable

       disproportionate concern for Appellee-alleged Rhode Island’s “interest” that

       essentially is no interest at all. Essentially, it is in Rhode Island’s interest to

       comply with 42 U.S.C. sec. 654. For the majority law-abiding 360 million

       population’s interest in the United States to subserve to the law-violating Rhode

       Island’s Appellee-alleged “state interest,” in essence, non-interest, runs afoul of

       Inherent Justice for all.

              The Court’s Truth-Seeking Function and Fed. R. Evid. 201

              I.     Inherent Equitable Authority

              The lower court dismissed Appellant’s Amended Complaint without leave to

       amend, with the Appellees answering the Amended Complaint. The First


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       Amended Complaint in that action amends the original complaint filed in the

       action at law filed on March 30, 2023, based on factual circumstances here, namely

       presenting in pleading of facts supported by evidence produced by the State

       Appellees pursuant to court ordered discovery since seven months ago in February

       2023 by the family court in State ex. rel. Gero Meyersiek v. Mary Seguin,

       K20010521M and information obtained through statutory right of access to public

       records via federal and state freedom of information act and access to public

       records acts.

             Federal courts of appeals have held that a plaintiff appealing an FRCP 12(b)

       dismissal may request that the court consider extra-record materials, in determining

       whether the complaint should have been dismissed without leave to amend. In

       Orthmann v. Apple River Campground, Inc., 757 F.2d 909 (7th Cir. 1985), for

       example, the Seventh Circuit considered evidence produced during discovery in a

       parallel case but never introduced at trial in the case on appeal.

             As Judge Posner explained in Orthmann, although the materials presented

       for the first time on appeal were "no part of the official record," the appellant,

       hoping "to show that the complaint should not have been dismissed on its face"

       could present "an unsubstantiated version of the events," so long as that story "was

       not inconsistent with the allegations of the complaint." Orthmann, supra n. 46, at

       914-15.
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             The supplemental materials, he noted, "[were] usable to show how the

       accident might have happened." Id. at 915.

             Here, the supplemental materials are usable to show how the breach of

       contract, fraud and deprivation of Constitutional rights might have happened, since

       much of the legislative history and statutory notes of 42 U.S.C. sec. 654 showing

       its preemptive effect on State legislation as well as State constitutions, and the

       State’s prima facie Policy showing its “work-around” scheme to circumvent

       detection of its unlawful 12% compound interest through the creation of “two

       reports” that are then interchangeably used to cover up the unlawful 12%

       compound interest when certifying to Texas and to the United States, then another

       “report” when it enforces the unlawful 12% compound interest in the state’s family

       court and intrastate under color of state law are usable to show how the breach of

       contract and fraud, as well as deprivation of Appellant’s due process rights

       protected by 42 U.S.C. sec. 654 as well as Federal Constitutional rights happened

       with organized intent by the Appellees.

             Appellant relies on the 2024 recently discovered State Policy to show how

       breach of contract, fraud and deprivation of Constitutional rights might have been

       established and, accordingly, why the district court should not have dismissed

       Appellant’s complaint, not even without leave to amend. Moreover, this evidence



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       corroborates the Amended Complaint filed in the concurrent matter before this

       Court of Appeals, in Appeal Case. No. 23-1967.

             Accordingly, Appellant files this motion pursuant to the Court’s inherent

       truth seeking function authority to supplement the record.

             II.    Federal Rules of Evidence 201

             Under Fed. R. Evid. 201, federal courts of appeals can take judicial notice of

       highly indisputable facts or other court proceedings that directly relate to the issues

       on appeal. The record on appeal is subject to the right of an appellate court to take

       judicial notice of new developments not considered by the lower court.” See e.g.

       Landy v. FDIC, 486 F.2d 139, 151 (3d Cir. 1973). Parties may in consequence seek

       to supplement the appellate record with new materials under Fed. R. Fed. 201.

              Judicial Notice of Legislative Acts by Congress and Congressional statutory

       notes and texts that explicitly provide for the preemptive effect of 42 U.S.C. sec.

       654 over State general laws and State constitutions, are under Fed. R. Evid. 201[a]

       Advisory Committee’s note or are “established truths, facts or pronouncements that

       do not change from case to case” and “do not relate specifically to the…litigants.”

       [United States v. Gould, 536 F.2d 216, 220 [8th Cir. 1976]]. In general, courts are

       free to take notice of legislative facts, including research data and writings like

       those cited in the famous “Brandeis briefs.” Appellate courts take judicial notice of


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       such legislative facts, because they help them develop reasonable rules of law that

       will apply in future cases.

             Appellant was not aware of the Rhode Island State Policy that prohibits the

       charging of interest rate in interstate cases until 2024, see Appellee Rhode Island

       Office of Child Support Services Policy Exhibit A. Therefore, this evidence was

       not available at the time final judgment was issued on October 19, 2023 in this

       matter. Judicial Notice, in aid of the court, is respectfully requested of it. Whether

       requesting or opposing judicial notice, litigants have a right to be heard on the

       issue under Rule 201[e], therefore, Appellant requests a hearing on the issue

       under Rule 201(e).

             Under Fed. R. Evid. 201[f], judicial notice of adjudicative facts may be

       taken at any stage of the proceedings, including on appeal. In practice, appellate

       courts frequently take judicial notice of both adjudicative and legislative facts

       presented for the first time on appeal, whether requested by a party or on their own

       initiative. See, e.g., Hotel Employees & Rest. Employees Union, Local 100 of New

       York, N.Y. & Vicinity, AFL-CIO v. City of New York Dep’t of Parks & Recreation,

       311 F.3d 534, 540 n.1 [2d Cir. 2002]; In re Indian Palms Assoc. Ltd ., 61 F.3d 197,

       205 [3d Cir. 1995]. See also, White v. Gaetz, 588 F.3d 1135, 1137 n. 2 (7th Cir.

       2009) (taking judicial notice of state court transcript). The federal courts of

       appeals may take judicial notice of a proceeding in another court if the proceeding
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       has a direct connection to the issues on appeal, See Philips Med. Sys. Intl., B.V. v.

       Bruetman, 982 F.2d 211, 215 (7th Cir. 1992).

             Appellant respectfully requests the Court to take judicial notice under Fed.

       R. Evid. 201 of the attached Objection and Notice to Take Judicial Notice Pursuant

       to Fed. R. Evid 201 and 18 U.S.C. sec. 4 filed in Appeal No. 23-1967, Document:

       00118126457 filed on March 29, 2024. See Exhibit B. Document: 00118126457.

             Judicial Notice in practice is taken at any time of a proceeding, including for

       the first time on appeal, of legislative history and statutory amendments, etc.,, e.g.,

       the legislative history of 42 U.S.C. sec. 654 regarding Congress’s Amendment in

       1996. This similarly applies to the State of Rhode Island’s legislative history, to

       wit, the failure of Rhode Island Gen. Law. 15-5-16.5 to comply with the 1996

       Amendment of 42 U.S.C. sec. 654. 42 U.S.C. sec. 654 makes it explicitly clear

       that such failures incur penalties. The fact that Rhode Island family court is a court

       of limited jurisdiction, as prescribed by R.I. Gen. Law. 8-10-3 where limited relief

       is authorized by State legislation is a matter of legislative fact, that in practice is

       judicially noted at any time of a proceeding, including for the first time on appeal.

             Appellant attaches the above legislations, requesting judicial notice of

       Congress’s publication of 42 U.S.C. sec. 654 that answers all threshold questions

       of jurisdiction. The Congressional 1996 Amendment for 42 U.S.C. sec. 654


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       explicitly make clear that 42 U.S.C. sec. 654 preempts State laws and State

       constitutions, and mandates that participating States must change State laws and

       amend State constitutions accordingly to comply with the 1996 Amendment

       provisions of 42 U.S.C. sec. 654. The pre-emptive effect of the explicit language

       in the statutory provisions under Amendment 1996 of 42 U.S.C. sec. 654 make

       clear that the State of Rhode Island is operating an unlawful State Plan that

       unlawfully charges 12% compound interest on overdue support under color of state

       law, which noncompliant state law is the basis of the current “State enforcement”

       of its routine “court orders” charging 12% compound interest without jurisdiction.

       Moreover, the fact that since 1996 Rhode Island falsely certified to the United

       States for the past twenty-eight (28) years that its State laws are compliant with 42

       U.S.C. sec. 654 violates Federal Criminal Codes, is a fact that this Court must take

       judicial notice under Fed. R. Evid. 201, its inherent truth-seeking authority, and

       under Appellant’s invocation of 18 U.S.C. sec. 4. Since a trial did not occur in

       this matter, at this juncture the Court must take all factual allegations in the

       Amended Complaint in this matter as true, and it plainly pleads that the State

       Appellee represented to the Appellant in Texas that if Appellant paid $104,185.98

       in one lump sum, Appellee Gero Meyersiek waived interest, and that the

       $104,185.98 is a pay-off amount that does not include interest. And this allegedly

       enforceable interest was established under R.I. Gen Laws 15-5-16.5 that is


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       explicitly preempted by 42 U.S.C. sec. 654 upon Rhode Island’s acceptance of

       participation in 42 U.S.C. sec. 654 since 1996, along with the 1996 Amendment’s

       explicitly provided penalties for noncompliance – in Rhode Island’s case, as shown

       by the posture of the Appellees in multiple jurisdictions, the noncompliance is

       willful and defiant. Rhode Island is free to continue enforcing its 12% compound

       interest state law, but that, by Federal Law, requires withdrawing from

       participation in Title IV, per the plain language of Title IV-D, and paying the

       penalties it incurred and accrued since 1996 during Rhode Island’s participation

       that amounts to up to billions of dollars, as explicitly provided for in 42 U.S.C. sec.

       654 to make the United States whole. To make Appellant whole, Appellant seeks

       millions of dollars in damages in this action at law.

             Appellee Gero Meyersiek changed his mind after the Texas Appellant

       accepted the offer in Texas, performed and paid the lump sum $104,185.98. The

       “changed his mind” entailed the action of “putting interest back on the system” that

       consists of 12% compound interest (see attached R.I.G.L. sec. 15-5-16.5.).

             Since the State Plan that charges 12% compound interest, takes interest off

       the system only during certifications to the TEXAS and UNITED STATES

       authorities, and then puts interest back on the system when Appellee Gero

       Meyersiek “changed his mind” waiving interest after Texas Appellant performed

       on the terms of the agreement, it is abundantly clear that the Appellees,
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       government and private persons, operate a criminally unlawful State Plan. Since

       all Appellees participate in the “take interest off the system” when certifying to

       TEXAS and when certifying to the UNITED STATES the total support due, and

       since the State Policy provides for the creation of “two reports,” Fed. R.Evidence

       201 evidence is abundantly clear before this Court and before a panel of “some

       judges” pursuant to the pending Fed. R. App. P 8(a)(2)(D) motion supported by

       affidavit in Appeal No. 23-1967 of organized criminal fraud and the lack of

       jurisdiction of the limited jurisdiction state family court to issue orders for 12%

       compound interest on overdue support that 42 U.S.C. 654(21)(A) explicitly

       prohibits, this Court must take judicial notice of legislative and adjudicative facts

       relating to these critical matters materially relevant to this case.

             For the convenience of the Judges of this Court, Appellant attached hereto

       Congress’s publication of 42 U.S.C.. sec. 654, the RI Gen. Law 15-5-16.5.

             Appellees’ request to strike Fed. R. Evid. 201 evidence of crimes made

       known to “some judges” under 18 U.S.C. sec. 4 from the record in a matter that

       involves Appellees’ organized criminal activity that violates, inter alia, 18 U.S.C.

       sec. 666 and 18 U.S.C. sec. 641, 18 U.S.C. § 287 - making false, fictitious claims,

       18 U.S.C. § 371 - conspiracy to defraud the United States, 18 U.S.C. § 1001 - false

       documents or false statements to a federal agency,18 U.S.C. § 1341 - mail fraud,



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       18 U.S.C. § 1343 - wire fraud by the Appellees is an obstruction of an official

       proceeding and an obstruction of justice.

             Finally, undisputed Appellees’ operational evidence that includes unlawful

       redactions made sense only after the availability in 2024 of the State Policy that

       evidences the State Plan operating an unlawful Child Support enforcement

       program by policy of creating “two reports” in interstate cases, one with the

       unlawful 12% compound interest to enforce under color of law, and one report for

       the purposes of making false claims, false certifications, and falsifying official

       government documents to unlawfully apply for Federal Title IV Program funding

       that the Appellees knew Rhode Island is ineligible for. That amounts to billions of

       dollars of theft against the United States.

             Emphatically, Congress intended, by making “some judge(s)”…”of the

       United States” to whom the commission of crimes is mandated to be made known,

       explicitly conferred the duty on Judges of the United States under Federal Criminal

       Law the same duty, obligations and responsibility acting as authorities under the

       United States, as the “other persons in civil or military authority under the United

       States” explicitly named in the federal criminal statute 18 U.S.C. sec. 4. Appellant

       requested Judicial Notice under 18 U.S.C. sec. 4 to the “some judges” as the

       “person in authority under the United States” under 18 U.S.C. sec. 4. Striking

       from the record Congressional legislation history of 42 U.S.C. sec. 654, State
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       legislation history, Rhode Island State Plan 42 U.S.C. sec. 654(3) State operating

       and disbursement unit’s Policy that are neither classified information nor

       confidential or privileged information to the United States are further not in the

       interest of the United States.

             Striking evidence that shows $0.00 interest on a December 6, 2021

       screenshot of the Appellee-operated 42 U.S.C. sec. 654a automated data

       processing and information retrieval system accomplishes nothing other than

       taking as true the factual allegations in the Amended Complaint that details

       Appellant being shown the $0.00 Under Interest generated by the automated data

       processing and information retrieval system. The Fed. R. Evid. visual evidence

       aids the court to visualize the truth of Appellant’s factual allegations.

             Striking evidence of a screenshot of the Appellee-operated 42 U.S.C. sec.

       654a automated data processing and information retrieval system that shows $0.00

       Payment for Appellant’s whopping lump sum $104,185.98 December 7, 2021

       payment accomplishes nothing, when the screenshot is a visual evidence of the

       “two reports” explicitly stated in the Appellee State Policy to create “two reports”

       that consist of falsified records – these are evidence in the aid of the court of

       Appellant’s 18 U.S.C. sec. 4 and Fed. R. Evid. request to take judicial notice of

       activities that harm the United States and steal from Federal Program Funds.



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             This case is related to Appeal No. 23-1967 and Appeal No. 23-1978.

       Under Fed. R. Evid. 201[f], judicial notice of adjudicative facts may be taken at

       any stage of the proceedings, including on appeal. In practice, appellate courts

       frequently take judicial notice of both adjudicative and legislative facts presented

       for the first time on appeal, whether requested by a party or on their own initiative.

       See, e.g., Hotel Employees & Rest. Employees Union, Local 100 of New York, N.Y.

       & Vicinity, AFL-CIO v. City of New York Dep’t of Parks & Recreation, 311 F.3d

       534, 540 n.1 [2d Cir. 2002]; In re Indian Palms Assoc. Ltd ., 61 F.3d 197, 205 [3d

       Cir. 1995].

             Appellate courts take judicial notice of facts that were not available to

       litigants at trial and events that occurred after judgment was entered. For example,

       courts have taken judicial notice of guilty pleas entered in a related criminal case

       after judgment in the civil case was entered. See, e.g., Colonial Penn Ins. Co. v.

       Coil, 887 F.2d 1236, 1239 [4th Cir. 1989]. Similarly, appellate courts have taken

       judicial notice of post-judgment changes in the conditions in a foreign country

       relevant to an immigration appeal, Ivezaj v. INS , 84 F.3d 215, 218-19 [6th Cir.

       1996], as well as post-trial changes in the racial composition of a state’s judiciary

       in a discrimination suit. Southern Christian Leadership Conference of Alabama v.

       Sessions, 56 F.3d 1281, 1288 n.13 [11th Cir. 1995].



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Case:Case
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             Certain categories of facts have long been the subject of judicial notice on

       appeal. Courts routinely take judicial notice of pleadings and records in other court

       cases [see, e.g., Green v. Warden, U.S. Penitentiary, 699 F.2d 364, 369 [7th Cir.

       1983]; E.I. du Pont de Nemours & Co. Inc. v. Cullen, 791 F.2d 5, 7 [1st Cir. 1986]]

       and in administrative agency proceedings [see, e.g., Opeka v. INS, 194 F.3d 392,

       394-95 [7th Cir. 1996]], Courts are generally willing to take judicial notice of data,

       pronouncements and publications issued by the government, such as

       Environmental Protection Agency research [Nebraska v. EPA, 331 F.3d 995, 998

       n.3 [D.C. Cir. 2003]]; State Department travel warnings [Parsons v. United Tech.

       Corp ., 700 A.2d 655, 665 n.18 [Conn. 1997]]; and a federal fisheries management

       plan approved by formal rule [City of Charleston v. A Fisherman’s Best Inc., 310

       F.3d 155, 172 [4th Cir. 2002], cert. denied, 123 S.Ct. 2573 [2003]]. Appellate

       courts are also likely to take judicial notice of relevant newspaper articles [see,

       e.g., The Washington Post v. Robinson, 935 F.2d 282, 291-92 [D.C. Cir. 1991]]

       and historical information contained in authoritative publications, such as a text on

       the history of Lincoln Center [see, e.g., Hotel Employees, 311 F.3d at 540 n.1.].

             Courts take judicial notice of online information. Appellate courts have

       increasingly cited information found on the Internet. In today’s digital courts, all

       court information filed in concurrent and related state court proceedings are

       available online, on government websites, such as Rhode Island’s digital courts

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       where this Federal Appeals Court should by the plain textual language of Rhode

       Island Rules and Practice Rule 5 relating to access to court information (that denies

       the Public and pro-se litigants remote access), should have no trouble accessing

       court information through Rhode Island’s digital courts’ online portal. Rhode

       Island’s judge-created laws regarding all relating cases enforcing the 12%

       compound interest published online should also be available to this Federal Court

       online under the Government Edicts Doctrine (although they are accessible to the

       Public and to the pro-se litigants) – see Georgia v. Public.Resource.Org, Inc., 590

       U.S. ___ (2020). As with hard-copy publications, courts are most willing to take

       judicial notice of information found on government Web sites, such as the time of

       sunrise found on the Web site of the U.S. Naval Observatory [U.S. v. Bervaldi, 226

       F.3d 1256, 1266 n.9 [11th Cir. 2000]]; the prime interest rate on the Federal

       Reserve Board Web site [Levan v. Capital Cities/ABC Inc., 190 F.3d 1230, 1235

       n.12 [11th Cir. 1999]]; and records of retired military personnel on a federal Web

       site [Denius, 330 F.3d at 926]. Courts have even been willing to take judicial

       notice of information on arguably less reliable commercial Internet sites, including

       mileage information on Mapquest [In re Extradition of Gonzalez, 52 F. Supp. 2d

       725, 731 n.12 [W.D. La. 1999]]; historical information on Liberia on the

       “Geocities” Web site [Bridgeway Corp. v. Citibank, 45 F. Supp. 2d 276, 278 n.2

       [S.D.N.Y. 1999]]; and information regarding a bank’s ownership from the bank’s


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       Web site [see Laborers’ Pension Fund v. Blackmore Sewer Constr. Inc., 298 F.3d

       600, 607 [7th Cir. 2002]]. Therefore, information on the complete extent of Rhode

       Island’s citizenry harmed by the State’s unlawful establishment and enforcement

       of the unlawful and Title IV-D-preempted 12% compound interest under color of

       state law that is available online on Rhode Island’s Government’s Digital Courts

       Website, is reliable, is judge-created by state judges, and is directly related to the

       Amended Complaint, motion to amend complaint nunc pro tunc, the September

       28, 2023 judgment in this matter, and the State Policy attached in Exhibit A that

       was available to the Appellant in 2024, after the Appellant filed her Opening Brief

       in 2023 pursuant to the Court’s Briefing schedule.

             The use of judicial notice spans a wide spectrum of cases, from the most

       historically significant-such as Chief Justice Earl Warren’s reliance in Brown v.

       Board of Ed., 347 U.S. 483, 494 n.11 [1954], on scholarly publications

       documenting the effect of segregated schools on minority children-to the most

       mundane, such as the 2d U.S. Circuit Court of Appeals’ judicial notice of the

       “traditional features of a snowman.” Eden Toys Inc. v. Marshall Field & Co., 675

       F.2d 498, 500 n.1 [2d Cir. 1982].

             In general, courts are free to take notice of legislative facts, including

       research data and writings like those cited in the famous “Brandeis briefs.”

       Appellate courts are understandably more willing to take judicial notice of such
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       legislative facts, because they help them develop reasonable rules of law that will

       apply in future cases. “Legislative facts,” which are facts of general “relevance to

       legal reasoning and the lawmaking process” [Fed. R. Evid. 201[a] Advisory

       Committee’s note] or are “established truths, facts or pronouncements that do not

       change from case to case” and “do not relate specifically to the…litigants.” [United

       States v. Gould, 536 F.2d 216, 220 [8th Cir. 1976]]. 42 U.S.C. sec. 654 relates to

       all interested parties and the United States, and are established truths and facts that

       do not change from case to case, and do not specifically only apply just to this

       matter. Likewise R.I. Gen. Laws. Sec, 15-5-16.5 relates to all interested parties

       and the United States, not just to this matter. Likewise the Appellees’ State Policy

       prohibiting the charging of interest in interstate cases and creating “two reports”

       from the policy adjustments to the 42 U.S.C. sec. 654a automated data processing

       and information retrieval system is established truths and facts that do not change

       from case to case, and do not specifically only apply just to this matter. The

       resultant Screenshot evidence of the resulting false records created by the “two

       reports” do not change because Rhode Island creates two reports in intrastate cases

       in order to evade detection of the unlawful 12% compound interest under color of

       state law, one for enforcement under color of law, one for false certification of

       State Plan compliance to the United States Title IV Program. While full suite of

       issues concerning State noncompliance with 42 U.S.C. sec. 654 this Court notices


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       under the Turner v. Rogers Amicus Brief submitted by the United States can be

       noticed on the Court’s own initiative, however, the full suite of the issues

       contained therein made sense of the State Policy that was not available to the

       Appellant under 2024 – nevertheless, Appellant makes known this evidence to the

       judges of the First Circuit Court of Appeals under 18 U.S.C. sec. 4 and Fed. R.

       Evid. 201.

       As such, all public truths and facts and publications “made known” to this Court

       under 18 U.S.C. sec. 4 and Fed. R. Evid. 201 should be judicially noticed.

       Appellant attaches the Brief hereto.

             Appellant declares under Fed. R. Evid. 201 and 28 U.S.C. sec. 1746(2),

       that all the facts “made known” to the United States Panel of Judges invoking

       18 U.S.C. sec. 4 and/or Fed. R. Evid. 201 in Appellant’s Notice of the

       Commission of Facts are true to the best of Appellant’s knowledge.

             Appellant attaches hereto the 18 U.S.C. sec. 4 materials that are subject

       of this Fed. R. Evid. 201 Motion to Take Judicial Notice.

             Accordingly, Appellant requests judicial notice of the documents attached

       here to. Pursuant to Fed. R. Evidence 201(e), Appellant requests by right a

       hearing.




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                                           CONCLUSION

             For the above reasons the Court should consolidate Appeal No. 23-1967 and

       Appeal No. 23-1978.

       Respectfully submitted,
                                      Mary Seguin
                                              guin
                                      Pro Se
                                             __________________
                                      /s/____________________
                                      Email: maryseguin22022@gmail.com
                                      Phone: (281)744-2016
                                      P.O. Box 22022
                                      Houston, TX 77019

                                      Dated: March 31, 2024

                                 CERTIFICATE OF SERVICE

             This is to certify that the foregoing instrument has been served via the
       Court’s ECF filing system on March 31, 2024, on all registered counsel of record,
       and has been transmitted to the Clerk of the Court.

                                                           eguin
                                                    Mary Seguin
                                                    Pro Se
                                                           __________________
                                                    /s/____________________
                                                    Email: maryseguin22022@gmail.com
                                                    Phone: (281)744-2016
                                                    P.O. Box 22022
                                                    Houston, TX 77019




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                                   EXHIBIT I.
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                                              Form 1A

              Notice of Appeal to a Court of Appeals From a Judgment of a District Court

                                  United States District Court for the
                                       District of Rhode Island
                                Docket Number 1:23-cv-126-WES-PAS


       MARY SEGUIN, Plaintiff

       v.                                         Notice of Appeal

       RHODE ISLAND DEPARTMENT
       OF HUMAN SERVICES in its
       official capacity; MICHAEL D.
       COLEMAN, DEBORAH A.
       BARCLAY in their individual and
       official capacities;
       RHODE ISLAND OFFICE OF
       CHILD SUPPORT SERVICES in its
       official capacity; KEVIN TIGHE,
       MONIQUE BONIN, FRANK
       DIBIASE, WENDY FOBERT,
       KARLA CABALLEROS,
       TIMOTHY FLYNN, LISA
       PINSONNEAULT, CARL
       BEAUREGARD, PRISCILLA
       GLUCKSMAN, JOHN LANGLOIS,
       PAUL GOULD, in their individual
       and official capacities; RHODE
       ISLAND STATE COURT SYSTEM
       in its official capacity; PAUL A.
       SUTTELL in his individual and
       official capacity as EXECUTIVE
       HEAD OF RHODE ISLAND
       STATE COURT SYSTEM; RHODE
       ISLAND ADMINISTRATIVE
       OFFICE OF STATE COURTS in its
       official capacity; RHODE ISLAND
       ADMINISTRATIVE OFFICE OF
       THE SUPERIOR COURT in its
       official capacity; RHODE ISLAND
       JUDICIAL COUNCIL in its official
       capacity; RHODE ISLAND
       SUPERIOR COURT in its official
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       capacity; RHODE ISLAND
       SUPERIOR COURT JUDICIAL
       COUNCIL in its official capacity;
       THE JUDICIAL TECHNOLOGY
       CENTER in its official capacity;
       JULIE HAMIL, MARISA BROWN,
       JOHN JOSEPH BAXTER, JR.,
       JUSTIN CORREA in their
       individual and official capacities;
       RHODE ISLAND OFFICE OF THE
       ATTORNEY GENERAL in its
       official capacity; RHODE ISLAND
       OFFICE OF THE ATTORNEY
       GENERAL OPEN GOVERNMENT
       UNIT in its official capacity; ADAM
       D. ROACH, PETER NERONHA in
       their official and individual
       capacities; TYLER
       TECHNOLOGIES, INC.; GERO
       MEYERSIEK, Defendants

       MARY SEGUIN (name all parties taking the appeal) appeals to the United States Court of
       Appeals for the FIRST Circuit from the final judgment entered on October 19, 2023 (state the
       date the judgment was entered).


                                                                Mary Seguin
                                                                Proo Se
                                                                /s/____________________
                                                                   ________
                                                                         _ ___________
                                                                Email:
                                                                    il maryseguin22022@gmail.com
                                                                               i 22022
                                                                Phone: (281)744-2016
                                                                P.O. Box 22022
                                                                Houston, TX 77019

                                                                Dated: November 17, 2023




        See Rule 3(c) for permissible ways of identifying appellants.
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             UNITED STATES DISTRICT COURT FOR THE DISTRICT OF RHODE ISLAND


       MARY SEGUIN,
       pro se

       Plaintiff,

       VS.                                                    Civil Action No. 1:23-cv-126-WES-PAS


       RHODE ISLAND DEPARTMENT OF HUMAN SERVICES in its official capacity; MICHAEL
       D. COLEMAN, DEBORAH A. BARCLAY in their individual and official capacities;
       RHODE ISLAND OFFICE OF CHILD SUPPORT SERVICES in its official capacity; KEVIN
       TIGHE, MONIQUE BONIN, FRANK DIBIASE, WENDY FOBERT, KARLA
       CABALLEROS, TIMOTHY FLYNN, LISA PINSONNEAULT, CARL BEAUREGARD,
       PRISCILLA GLUCKSMAN, JOHN LANGLOIS, PAUL GOULD, in their individual and
       official capacities; RHODE ISLAND STATE COURT SYSTEM in its official capacity; PAUL
       A. SUTTELL in his individual and official capacity as EXECUTIVE HEAD OF RHODE
       ISLAND STATE COURT SYSTEM; RHODE ISLAND ADMINISTRATIVE OFFICE OF
       STATE COURTS in its official capacity; RHODE ISLAND ADMINISTRATIVE OFFICE OF
       THE SUPERIOR COURT in its official capacity; RHODE ISLAND JUDICIAL COUNCIL in
       its official capacity; RHODE ISLAND SUPERIOR COURT in its official capacity; RHODE
       ISLAND SUPERIOR COURT JUDICIAL COUNCIL in its official capacity; THE JUDICIAL
       TECHNOLOGY CENTER in its official capacity; JULIE HAMIL, MARISA BROWN, JOHN
       JOSEPH BAXTER, JR., JUSTIN CORREA in their individual and official capacities; RHODE
       ISLAND OFFICE OF THE ATTORNEY GENERAL in its official capacity; RHODE ISLAND
       OFFICE OF THE ATTORNEY GENERAL OPEN GOVERNMENT UNIT in its official
       capacity; ADAM D. ROACH, PETER NERONHA in their official and individual capacities;
       TYLER TECHNOLOGIES, INC.; GERO MEYERSIEK

               Defendants

                PLAINTIFF’S DOCKETING STATEMENT TO THE UNITED STATES COURT

          OF APPEALS FOR THE FIRST CIRCUIT AND THE UNITED STATES DISTRICT

                             COURT OF THE DISTRICT OF RHODE ISLAND

               1. Plaintiff, proceeding pro se from and as a citizen of Texas, respectfully states to the

                    U.S. Court of Appeals for the First Circuit and the United States District Court of the

                    District of Rhode Island that this case is related to the pending appellate case, Mary

                    Seguin v. Rhode Island Office of Child Support Services, et al, Case Number 23-1851.
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             2. Plaintiff respectfully requests the U.S. Court of Appeals for the First Circuit to review

                Plaintiff’s timely filed Rule 59 Motion and Rule 60 Motion that were filed in the U.S.

                District Court of the District of Rhode Island on November 16, 2023 as proper part of

                the record of appeal. Prior to filing this Notice of Appeal, Plaintiff also filed a Rule

                60(b)(1) Motion regarding the District Court’s interference with Plaintiff’s right to

                file Rule 59 and Rule 60 post judgement in which Plaintiff sought to preserve issues

                for appeal on the record. Plaintiff attaches all relevant documentation, including all

                relevant emails to the Clerk of the Court of the District Court and Plaintiff’s properly

                filed post judgment motions pursuant to Rule 59 and Rule 60 herein to this Notice of

                Appeal and Docket Statement.

             3. Plaintiff’s Rule 59 Motion was filed on November 16, 2023, which the District Court

                of Rhode Island refused to docket on the record, pursuant to instructions by Judge

                Smith.

             4. Plaintiff’s first Rule 60 Motion was filed on November 16, 2023, which the District

                Court of Rhode Island refused to docket on the record, pursuant to instructions by

                Judge Smith.

             5. Plaintiff attaches the aforesaid post judgment Motions and requests appellate review

                under these extraordinary and troubling factual circumstances that violate and

                obstruct the fundamental First Amendment right of access to the Court of Record, due

                process and obstruction to justice in the First Circuit, and inter alia, interference with

                the accuracy of the court’s record for appeal in this matter.



                                          CERTIFICATE OF SERVICE
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              I HEREBY CERTIFY that on November 16, 2023, I filed the within Motion with the

       Clerk of the Court via email.

                                                       Respectfully submitted,
                                                       Mary Seguin
                                                       Proo Se
                                                       /s/____________________
                                                          _________
                                                                 _ ___________
                                                       Email: maryseguin22022@gmail.com
                                                       Phone: (281)744-2016
                                                       P.O. Box 22022
                                                       Houston, TX 77019

                                                       Dated: November 17, 2023
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                                   No. 23-1978

                                IN THE
                    UNITED STATES COURT OF APPEALS
                         FOR THE FIRST CIRCUIT
                      UNITED STATES OF AMERICA,

                               Plaintiff-Appellant,
                                MARY SEGUIN
                                        v.
       RHODE ISLAND DEPARTMENT OF HUMAN SERVICES in its official
         capacity; MICHAEL D. COLEMAN, DEBORAH A. BARCLAY in their
        individual and official capacities; Rhode Island OFFICE OF Child Support
    Services in its official capacity; KEVIN TIGHE, MONIQUE BONIN, FRANK
    DIBIASE, WENDY FOBERT, KARLA CABALLEROS, TIMOTHY FLYNN,
   LISA PINSONNEAULT, CARL BEAUREGARD, PRISCILLA GLUCKSMAN,
     JOHN LANGLOIS, PAUL GOULD, in their individual and official capacities;
    RHODE ISLAND STATE COURT SYSTEM in its official capacity; PAUL A.
      SUTTELL in his individual and official capacity as EXECUTIVE HEAD OF
             RHODE ISLAND STATE COURT SYSTEM; RHODE ISLAND
      ADMINISTRATIVE OFFICE OF STATE COURTS in its official capacity;
  RHODE ISLAND ADMINISTRATIVE OFFICE OF THE SUPERIOR COURT in
       its official capacity; RHODE ISLAND JUDICIAL COUNCIL in its official
   capacity; RHODE ISLAND SUPERIOR COURT in its official capacity; RHODE
  ISLAND SUPERIOR COURT JUDICIAL COUNCIL in its official capacity; THE
    JUDICIAL TECHNOLOGY CENTER in its official capacity; JULIE HAMIL,
    MARISA BROWN, JOHN JOSEPH BAXTER, JR., JUSTIN CORREA in their
          individual and official capacities; RHODE ISLAND OFFICE OF THE
    ATTORNEY GENERAL in its official capacity; RHODE ISLAND OFFICE OF
      THE ATTORNEY GENERAL OPEN GOVERNMENT UNIT in its official
   capacity; ADAM D. ROACH, PETER NERONHA in their official and individual
            capacities; TYLER TECHNOLOGIES, INC.; GERO MEYERSIEK
                              Defendants-Appellees.



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     Appeal from the United States District Court for the District of Rhode Island
                                 ___________________

      APPELLANT’S SUPPLEMENTAL SHOW CAUSE IN SUPPORT OF
             APPELLANT’S MOTION TO CONSOLIDATE
                       ___________________

        Appellant, MARY SEGUIN, respectfully supplement Appellant’s Show

  Cause (filed on March 31, 2024) with the following documentary proof, namely

  the district court’s Clerk’s Certificate and Appellate Cover Sheet ECF 33, that the

  district court’s functus officio actions taken subsequent to the November 17, 2023

  filing of the Notice of Appeal of Judgment are void. In the section under “Record

  Information,” the district clerk checked off “NO” as to whether motions are

  pending, proving that at the time of the filing of the Notice of Appeal of the final

  judgment on November 17, 2023, NO MOTIONS WERE PENDING, per the

  district court clerk’s certification. This certification is electronically signed by

  district court Deputy Clerk Meghan Kenny.

        The Appeal divested the district court of power to modify its pre-Appeal

  orders or take other actions affecting the cause without permission from the court

  of appeals. Since the district court clerk certified on the date of the Appeal on

  November 17, 2023 that there were NO pending motions (see ECF 33), the

  functus officio judge William Smith’s post-appeal actions affecting the cause




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  without permission from the court of appeals are void. His actions interfered with

  the cause without permission from the court of appeals.

        This appeal of the district court’s November 20, 2023 functus officio Text

  Order appeals the functus officio November 20, 2023 Text order and actions taken

  by the district court from November 20, 2023 onward.

        In aid of the Court, Appellant attaches the screenshot of ECF 33 below, and

  requests judicial notice pursuant to Fed. R. of Evid. 201 of this undisputable fact:




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        Appellant attaches herewith in Exhibit A, the Clerk’s Certificate and

  Appellate Cover Sheet ECF 33.

        The functus officio jurisdiction-divested district court judge’s post-appeal

  functus officio actions that are under appeal have interfered with the cause of the

  appeal of the final judgment. The functus officio district court actions interfered

  with the Appellant’s right to amend the appeal.

        The functus officio district court’s void post-appeal actions interfered with

  Appellant’s right to amend the appeal in Appeal No. 23-1967.

        The functus district court’s void post-appeal actions interfering with

  Appellant’s right to amend the appeal in No. 23-1967 necessitated a third Notice of

  Appeal to be filed appealing the district court’s denials of the Appellant’s FRAP 4

  motions for extension of time to amend the appeal – Appellant filed the extension

  of time pursuant to the Court of Appeal’s late-hour March 1, 2024 Court order in

  Appeal No. 23-1967 vacating the briefing schedule there out of confusion over the

  altered record on appeal that the functus officio district court altered without

  authority and unlawfully, intentionally. Judge William E. Smith, prior to his

  federal judicial appointment, was the Chief outside counsel for the Appellee Rhode

  Island political subdivisions under the State Plan under Title IV of the Social

  Security Act, from 1996 to 2002, and had advised the Appellee Rhode Island


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  political subdivisions on the State’s noncompliant charge of 12% compound

  interest that violates 42 U.S.C. sec. 654(21)(A) (which permits only 0%-6% simple

  interest), and the State’s unlawful and organized cover-up circumventing practices

  of making manual adjustments to the automated data processing and information

  retrieval system through the removal of the unlawful 12% compound interest

  whenever the State certifies the accounting fraud as a “true account,” whether to

  other states, like TEXAS, for enforcement cooperations under 42 U.S.C. sec. 666,

  or to the United States for the unlawful procurement of federal funding under the

  Title IV Programs. Because Rhode Island knows violations of 42 U.S.C. sec. 654

  incurs tens of millions of penalties in a fiscal year and may cause it to lose TANF

  funding, and the willful violation may cause it to become ineligible to participate

  in Title IV Programs, Rhode Island engages in systemic cover up, accounting

  fraud, falsification of government records and false certifications, all of which

  Judge William Smith had advised to as the Chief outside counsel for Rhode Island

  political subdivisions and the Rhode Island Appellees. This is essentially a cover

  up of organized unlawful theft of TEXAS, theft of the United States and theft of

  targeted unsuspecting noncustodial parent victims under color of Rhode Island

  state law.

        The Notice of Appeal of the November 20, 2023 Text Order in this matter

  encompasses the void district court actions from November 20, 2023 onward, as

                                        Page 5 of 10
Case 1:23-cv-00126-WES-PAS          Document 65 Filed 09/16/24      Page 201 of 227 PageID
                                          #: 2937



  well as the self-executing disqualification of the district court judge is one of the

  cause of appeal in this matter.

        In aid of the Court, the Appellant attaches herewith in Exhibit B , (ECF 59)

  the Notice of Appeal, filed on April 1, 2024, appealing from the district court’s

  March 7th, 2024, March 8th, 2024 and March 11th, 2024 Text Orders.

        Appellant appeals to the United States Court of Appeals for the FIRST

  Circuit from all the functus officio modifications to the district court’s orders or

  functus officio actions taken in the district court after the filing of the appeal on

  November 17, 2023, affecting the cause without permission from the court of

  appeals.

        Appellant appeals to the United States Court of Appeals for the FIRST

  CIRCUIT from the functus officio actions taken in the district court after the filing

  of the appeal on November 17, 2023 (ECF 32), affecting the cause without

  permission from the court of appeals, that moreover deprived Plaintiff’s right to

  file an amended notice of appeal.

        Appellant appeals to the United States Court of Appeals for the FIRST

  CIRCUIT and filed that direct attack on the functus officio void actions taken in

  the district court without jurisdiction or without authority after the filing of the

  appeal on November 17, 2023 (ECF 32), affecting the cause without permission


                                         Page 6 of 10
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                                       #: 2938



  from the court of appeals. The appeal divested the district court of authority to

  modify the TWO November 17, 2023 Text Orders appealed from (ECF 32) or take

  other actions affecting the cause without permission from the court of appeals.

        Appellant appeals to the United States Court of Appeals for the FIRST

  CIRCUIT the matter of the self-executing disqualification of the functus officio

  district court Judge William E. Smith.

        Appellant appeals to the Court of Appeals for the FIRST CIRCUIT

  from Post-Appeal Orders and Actions Taken by the District Court Affecting

  the Cause under appeal.

               By way of visual illustration in support of this Show Cause, and in aid

               of the Court, Appellant further attaches herewith a screenshot of ECF

               33-1, of page 9 of 92, that corroborates with the clerk’s certification of

               the record on appeal (ECF 33) certifying that there were NO pending

               motions at the time of the filing of the Notice of Appeal of the Final

               Judgment on November 17, 2023:




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Case 1:23-cv-00126-WES-PAS      Document 65 Filed 09/16/24      Page 203 of 227 PageID
                                      #: 2939




        Accordingly, Appellant requests judicial notice of the documents attached

  here to and screenshots of the documents affixed to the text of this Show Cause

  response to the Court. Pursuant to Fed. R. Evidence 201(e), Appellant requests by

  right a hearing.

                                      CONCLUSION

        For the above reasons the Court should consolidate Appeal No. 23-1967 and

  Appeal No. 23-1978.

                                 Respectfully submitted,

                                      Page 8 of 10
Case 1:23-cv-00126-WES-PAS      Document 65 Filed 09/16/24       Page 204 of 227 PageID
                                      #: 2940



                                  Mary Seguin
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                                         _______________
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                                                 i 22022@
                                  Phone: (281)744-2016
                                  P.O. Box 22022
                                  Houston, TX 77019

                                  Dated: April 2, 2024

                           CERTIFICATE OF SERVICE

        This is to certify that the foregoing instrument has been served via the
  Court’s ECF filing system on April 2, 2024, on all registered counsel of record,
  and has been transmitted to the Clerk of the Court.

                                                        g
                                                Mary Seguin
                                                Pro Se
                                                       ________________
                                                /s/____________________
                                                Email: maryseguin22022@gmail.com
                                                Phone: (281)744-2016
                                                P.O. Box 22022
                                                Houston, TX 77019




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Case 1:23-cv-00126-WES-PAS   Document 65 Filed 09/16/24   Page 205 of 227 PageID
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                                   #: 2942




                               Exhibit A
 Case1:23-cv-00126-WES-PAS
Case  1:23-cv-00126-WES-PAS Document
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                               Exhibit B
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       Notice of Appeal to a Court of Appeals From Post-Appeal Orders of a District Court

                    United States District Court for the District of Rhode Island
                             Docket Number 1:23-cv-126-WES-PAS

  MARY SEGUIN, Plaintiff

  v.                                              Notice of Appeal

  RHODE ISLAND DEPARTMENT
  OF HUMAN SERVICES in its
  official capacity; MICHAEL D.
  COLEMAN, DEBORAH A.
  BARCLAY in their individual and
  official capacities;
  RHODE ISLAND OFFICE OF
  CHILD SUPPORT SERVICES in its
  official capacity; KEVIN TIGHE,
  MONIQUE BONIN, FRANK
  DIBIASE, WENDY FOBERT,
  KARLA CABALLEROS,
  TIMOTHY FLYNN, LISA
  PINSONNEAULT, CARL
  BEAUREGARD, PRISCILLA
  GLUCKSMAN, JOHN LANGLOIS,
  PAUL GOULD, in their individual
  and official capacities; RHODE
  ISLAND STATE COURT SYSTEM
  in its official capacity; PAUL A.
  SUTTELL in his individual and
  official capacity as EXECUTIVE
  HEAD OF RHODE ISLAND
  STATE COURT SYSTEM; RHODE
  ISLAND ADMINISTRATIVE
  OFFICE OF STATE COURTS in its
  official capacity; RHODE ISLAND
  ADMINISTRATIVE OFFICE OF
  THE SUPERIOR COURT in its
  official capacity; RHODE ISLAND
  JUDICIAL COUNCIL in its official
  capacity; RHODE ISLAND
  SUPERIOR COURT in its official
  capacity; RHODE ISLAND
  SUPERIOR COURT JUDICIAL
  COUNCIL in its official capacity;
  THE JUDICIAL TECHNOLOGY

                                             Page 1 of 3
 Case1:23-cv-00126-WES-PAS
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  CENTER in its official capacity;
  JULIE HAMIL, MARISA BROWN,
  JOHN JOSEPH BAXTER, JR.,
  JUSTIN CORREA in their
  individual and official capacities;
  RHODE ISLAND OFFICE OF THE
  ATTORNEY GENERAL in its
  official capacity; RHODE ISLAND
  OFFICE OF THE ATTORNEY
  GENERAL OPEN GOVERNMENT
  UNIT in its official capacity; ADAM
  D. ROACH, PETER NERONHA in
  their official and individual
  capacities; TYLER
  TECHNOLOGIES, INC.; GERO
  MEYERSIEK, Defendants

  Plaintiff, MARY SEGUIN (name all parties taking the appeal), appeals to the United States
  Court of Appeals for the FIRST Circuit from the Text Orders entered on March 7, 2024, on
  March 8, 2024 and on March 11, 2024.

  Plaintiff, MARY SEGUIN, appeals to the United States Court of Appeals for the FIRST Circuit
  all the functus officio modifications to the district court’s orders or functus officio actions taken
  in the district court after the filing of the appeal on November 17, 2023, affecting the cause
  without permission from the court of appeals.

  Plaintiff, MARY SEGUIN, appeals to the United States Court of Appeals for the FIRST
  CIRCUIT the functus officio actions taken in the district court after the filing of the appeal on
  November 17, 2023 (ECF 32), affecting the cause without permission from the court of appeals,
  that moreover deprived Plaintiff’s right to file an amended notice of appeal.

  Plaintiff, MARY SEGUIN, appeals to the United States Court of Appeals for the FIRST
  CIRCUIT this direct attack on the functus officio void actions taken in the district court without
  jurisdiction or without authority after the filing of the appeal on November 17, 2023 (ECF 32),
  affecting the cause without permission from the court of appeals. The appeal divested the district
  court of authority to modify the TWO November 17, 2023 Text Orders appealed from (ECF 32)
  or take other actions affecting the cause without permission from the court of appeals.

  Plaintiff, MARY SEGUIN, appeals to the United States Court of Appeals for the FIRST
  CIRCUIT the matter of the self-executing disqualification of the functus officio district court
  Judge William E. Smith.




   See Rule 3(c) for permissible ways of identifying appellants.

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 Case1:23-cv-00126-WES-PAS
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  Plaintiff, MARY SEGUIN, appeals to the Court of Appeals for the FIRST CIRCUIT from
  Post-Appeal Orders and Actions Taken by the District Court Affecting the Cause under
  appeal.


                                                Mary Seguin

                                                Pro Se
                                                /s/____________________
                                                     _________
                                                            _ ___________
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                                                    il maryseguin22022@gmail.com
                                                               i 22022@
                                                Phone: (281)744-2016
                                                P.O. Box 22022
                                                Houston, TX 77019

                                                Dated: April 1, 2024




                                       Page 3 of 3
Case 1:23-cv-00126-WES-PAS    Document 65 Filed 09/16/24    Page 212 of 227 PageID
                                    #: 2948



                                   No. 23-1978

                                IN THE
                    UNITED STATES COURT OF APPEALS
                         FOR THE FIRST CIRCUIT
                      UNITED STATES OF AMERICA,

                               Plaintiff-Appellant,
                                MARY SEGUIN
                                        v.
       RHODE ISLAND DEPARTMENT OF HUMAN SERVICES in its official
         capacity; MICHAEL D. COLEMAN, DEBORAH A. BARCLAY in their
        individual and official capacities; Rhode Island OFFICE OF Child Support
    Services in its official capacity; KEVIN TIGHE, MONIQUE BONIN, FRANK
    DIBIASE, WENDY FOBERT, KARLA CABALLEROS, TIMOTHY FLYNN,
   LISA PINSONNEAULT, CARL BEAUREGARD, PRISCILLA GLUCKSMAN,
     JOHN LANGLOIS, PAUL GOULD, in their individual and official capacities;
    RHODE ISLAND STATE COURT SYSTEM in its official capacity; PAUL A.
      SUTTELL in his individual and official capacity as EXECUTIVE HEAD OF
             RHODE ISLAND STATE COURT SYSTEM; RHODE ISLAND
      ADMINISTRATIVE OFFICE OF STATE COURTS in its official capacity;
  RHODE ISLAND ADMINISTRATIVE OFFICE OF THE SUPERIOR COURT in
       its official capacity; RHODE ISLAND JUDICIAL COUNCIL in its official
   capacity; RHODE ISLAND SUPERIOR COURT in its official capacity; RHODE
  ISLAND SUPERIOR COURT JUDICIAL COUNCIL in its official capacity; THE
    JUDICIAL TECHNOLOGY CENTER in its official capacity; JULIE HAMIL,
    MARISA BROWN, JOHN JOSEPH BAXTER, JR., JUSTIN CORREA in their
          individual and official capacities; RHODE ISLAND OFFICE OF THE
    ATTORNEY GENERAL in its official capacity; RHODE ISLAND OFFICE OF
      THE ATTORNEY GENERAL OPEN GOVERNMENT UNIT in its official
   capacity; ADAM D. ROACH, PETER NERONHA in their official and individual
            capacities; TYLER TECHNOLOGIES, INC.; GERO MEYERSIEK
                              Defendants-Appellees.



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     Appeal from the United States District Court for the District of Rhode Island
                                 ___________________

      APPELLANT’S SUPPLEMENTAL SHOW CAUSE IN SUPPORT OF
             APPELLANT’S MOTION TO CONSOLIDATE
                       ___________________

        Appellant, MARY SEGUIN, respectfully supplement Appellant’s Show

  Cause (filed on March 31, 2024) with the following documentary proof, namely

  the district court’s Clerk’s Certificate and Appellate Cover Sheet ECF 33, that the

  district court’s functus officio actions taken subsequent to the November 17, 2023

  filing of the Notice of Appeal of Judgment are void. In the section under “Record

  Information,” the district clerk checked off “NO” as to whether motions are

  pending, proving that at the time of the filing of the Notice of Appeal of the final

  judgment on November 17, 2023, NO MOTIONS WERE PENDING, per the

  district court clerk’s certification. This certification is electronically signed by

  district court Deputy Clerk Meghan Kenny.

        The Appeal divested the district court of power to modify its pre-Appeal

  orders or take other actions affecting the cause without permission from the court

  of appeals. Since the district court clerk certified on the date of the Appeal on

  November 17, 2023 that there were NO pending motions (see ECF 33), the

  functus officio judge William Smith’s post-appeal actions affecting the cause




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  without permission from the court of appeals are void. His actions interfered with

  the cause without permission from the court of appeals.

        This appeal of the district court’s November 20, 2023 functus officio Text

  Order appeals the functus officio November 20, 2023 Text order and actions taken

  by the district court from November 20, 2023 onward.

        In aid of the Court, Appellant attaches the screenshot of ECF 33 below, and

  requests judicial notice pursuant to Fed. R. of Evid. 201 of this undisputable fact:




                                        Page 3 of 10
Case 1:23-cv-00126-WES-PAS       Document 65 Filed 09/16/24        Page 215 of 227 PageID
                                       #: 2951



        Appellant attaches herewith in Exhibit A, the Clerk’s Certificate and

  Appellate Cover Sheet ECF 33.

        The functus officio jurisdiction-divested district court judge’s post-appeal

  functus officio actions that are under appeal have interfered with the cause of the

  appeal of the final judgment. The functus officio district court actions interfered

  with the Appellant’s right to amend the appeal.

        The functus officio district court’s void post-appeal actions interfered with

  Appellant’s right to amend the appeal in Appeal No. 23-1967.

        The functus district court’s void post-appeal actions interfering with

  Appellant’s right to amend the appeal in No. 23-1967 necessitated a third Notice of

  Appeal to be filed appealing the district court’s denials of the Appellant’s FRAP 4

  motions for extension of time to amend the appeal – Appellant filed the extension

  of time pursuant to the Court of Appeal’s late-hour March 1, 2024 Court order in

  Appeal No. 23-1967 vacating the briefing schedule there out of confusion over the

  altered record on appeal that the functus officio district court altered without

  authority and unlawfully, intentionally. Judge William E. Smith, prior to his

  federal judicial appointment, was the Chief outside counsel for the Appellee Rhode

  Island political subdivisions under the State Plan under Title IV of the Social

  Security Act, from 1996 to 2002, and had advised the Appellee Rhode Island


                                        Page 4 of 10
Case 1:23-cv-00126-WES-PAS       Document 65 Filed 09/16/24       Page 216 of 227 PageID
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  political subdivisions on the State’s noncompliant charge of 12% compound

  interest that violates 42 U.S.C. sec. 654(21)(A) (which permits only 0%-6% simple

  interest), and the State’s unlawful and organized cover-up circumventing practices

  of making manual adjustments to the automated data processing and information

  retrieval system through the removal of the unlawful 12% compound interest

  whenever the State certifies the accounting fraud as a “true account,” whether to

  other states, like TEXAS, for enforcement cooperations under 42 U.S.C. sec. 666,

  or to the United States for the unlawful procurement of federal funding under the

  Title IV Programs. Because Rhode Island knows violations of 42 U.S.C. sec. 654

  incurs tens of millions of penalties in a fiscal year and may cause it to lose TANF

  funding, and the willful violation may cause it to become ineligible to participate

  in Title IV Programs, Rhode Island engages in systemic cover up, accounting

  fraud, falsification of government records and false certifications, all of which

  Judge William Smith had advised to as the Chief outside counsel for Rhode Island

  political subdivisions and the Rhode Island Appellees. This is essentially a cover

  up of organized unlawful theft of TEXAS, theft of the United States and theft of

  targeted unsuspecting noncustodial parent victims under color of Rhode Island

  state law.

        The Notice of Appeal of the November 20, 2023 Text Order in this matter

  encompasses the void district court actions from November 20, 2023 onward, as

                                        Page 5 of 10
Case 1:23-cv-00126-WES-PAS          Document 65 Filed 09/16/24      Page 217 of 227 PageID
                                          #: 2953



  well as the self-executing disqualification of the district court judge is one of the

  cause of appeal in this matter.

        In aid of the Court, the Appellant attaches herewith in Exhibit B , (ECF 59)

  the Notice of Appeal, filed on April 1, 2024, appealing from the district court’s

  March 7th, 2024, March 8th, 2024 and March 11th, 2024 Text Orders.

        Appellant appeals to the United States Court of Appeals for the FIRST

  Circuit from all the functus officio modifications to the district court’s orders or

  functus officio actions taken in the district court after the filing of the appeal on

  November 17, 2023, affecting the cause without permission from the court of

  appeals.

        Appellant appeals to the United States Court of Appeals for the FIRST

  CIRCUIT from the functus officio actions taken in the district court after the filing

  of the appeal on November 17, 2023 (ECF 32), affecting the cause without

  permission from the court of appeals, that moreover deprived Plaintiff’s right to

  file an amended notice of appeal.

        Appellant appeals to the United States Court of Appeals for the FIRST

  CIRCUIT and filed that direct attack on the functus officio void actions taken in

  the district court without jurisdiction or without authority after the filing of the

  appeal on November 17, 2023 (ECF 32), affecting the cause without permission


                                         Page 6 of 10
Case 1:23-cv-00126-WES-PAS       Document 65 Filed 09/16/24        Page 218 of 227 PageID
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  from the court of appeals. The appeal divested the district court of authority to

  modify the TWO November 17, 2023 Text Orders appealed from (ECF 32) or take

  other actions affecting the cause without permission from the court of appeals.

        Appellant appeals to the United States Court of Appeals for the FIRST

  CIRCUIT the matter of the self-executing disqualification of the functus officio

  district court Judge William E. Smith.

        Appellant appeals to the Court of Appeals for the FIRST CIRCUIT

  from Post-Appeal Orders and Actions Taken by the District Court Affecting

  the Cause under appeal.

               By way of visual illustration in support of this Show Cause, and in aid

               of the Court, Appellant further attaches herewith a screenshot of ECF

               33-1, of page 9 of 92, that corroborates with the clerk’s certification of

               the record on appeal (ECF 33) certifying that there were NO pending

               motions at the time of the filing of the Notice of Appeal of the Final

               Judgment on November 17, 2023:




                                        Page 7 of 10
Case 1:23-cv-00126-WES-PAS      Document 65 Filed 09/16/24      Page 219 of 227 PageID
                                      #: 2955




        Accordingly, Appellant requests judicial notice of the documents attached

  here to and screenshots of the documents affixed to the text of this Show Cause

  response to the Court. Pursuant to Fed. R. Evidence 201(e), Appellant requests by

  right a hearing.

                                      CONCLUSION

        For the above reasons the Court should consolidate Appeal No. 23-1967 and

  Appeal No. 23-1978.

                                 Respectfully submitted,

                                      Page 8 of 10
Case 1:23-cv-00126-WES-PAS      Document 65 Filed 09/16/24       Page 220 of 227 PageID
                                      #: 2956



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                                  Pro Se
                                         _______________
                                  /s/____________________
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                                                 i 22022@
                                  Phone: (281)744-2016
                                  P.O. Box 22022
                                  Houston, TX 77019

                                  Dated: April 2, 2024

                           CERTIFICATE OF SERVICE

        This is to certify that the foregoing instrument has been served via the
  Court’s ECF filing system on April 2, 2024, on all registered counsel of record,
  and has been transmitted to the Clerk of the Court.

                                                        g
                                                Mary Seguin
                                                Pro Se
                                                       ________________
                                                /s/____________________
                                                Email: maryseguin22022@gmail.com
                                                Phone: (281)744-2016
                                                P.O. Box 22022
                                                Houston, TX 77019




                                       Page 9 of 10
Case 1:23-cv-00126-WES-PAS   Document 65 Filed 09/16/24   Page 221 of 227 PageID
                                   #: 2957




                                  Page 10 of 10
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                               Exhibit A
 Case1:23-cv-00126-WES-PAS
Case  1:23-cv-00126-WES-PAS Document
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  9Y49ÿ9Y6ÿK;MM;:<Iÿ4<<6^6Hÿ6M6B9A;<:BÿH;BCE6<95ÿB;<59:9C96ÿ9Y6ÿ4FFA6>:496HÿA6B;AHÿ;<ÿ48864Mÿ:<ÿ9Y6ÿ
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                               Exhibit B
 Case1:23-cv-00126-WES-PAS
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       Notice of Appeal to a Court of Appeals From Post-Appeal Orders of a District Court

                    United States District Court for the District of Rhode Island
                             Docket Number 1:23-cv-126-WES-PAS

  MARY SEGUIN, Plaintiff

  v.                                              Notice of Appeal

  RHODE ISLAND DEPARTMENT
  OF HUMAN SERVICES in its
  official capacity; MICHAEL D.
  COLEMAN, DEBORAH A.
  BARCLAY in their individual and
  official capacities;
  RHODE ISLAND OFFICE OF
  CHILD SUPPORT SERVICES in its
  official capacity; KEVIN TIGHE,
  MONIQUE BONIN, FRANK
  DIBIASE, WENDY FOBERT,
  KARLA CABALLEROS,
  TIMOTHY FLYNN, LISA
  PINSONNEAULT, CARL
  BEAUREGARD, PRISCILLA
  GLUCKSMAN, JOHN LANGLOIS,
  PAUL GOULD, in their individual
  and official capacities; RHODE
  ISLAND STATE COURT SYSTEM
  in its official capacity; PAUL A.
  SUTTELL in his individual and
  official capacity as EXECUTIVE
  HEAD OF RHODE ISLAND
  STATE COURT SYSTEM; RHODE
  ISLAND ADMINISTRATIVE
  OFFICE OF STATE COURTS in its
  official capacity; RHODE ISLAND
  ADMINISTRATIVE OFFICE OF
  THE SUPERIOR COURT in its
  official capacity; RHODE ISLAND
  JUDICIAL COUNCIL in its official
  capacity; RHODE ISLAND
  SUPERIOR COURT in its official
  capacity; RHODE ISLAND
  SUPERIOR COURT JUDICIAL
  COUNCIL in its official capacity;
  THE JUDICIAL TECHNOLOGY

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  CENTER in its official capacity;
  JULIE HAMIL, MARISA BROWN,
  JOHN JOSEPH BAXTER, JR.,
  JUSTIN CORREA in their
  individual and official capacities;
  RHODE ISLAND OFFICE OF THE
  ATTORNEY GENERAL in its
  official capacity; RHODE ISLAND
  OFFICE OF THE ATTORNEY
  GENERAL OPEN GOVERNMENT
  UNIT in its official capacity; ADAM
  D. ROACH, PETER NERONHA in
  their official and individual
  capacities; TYLER
  TECHNOLOGIES, INC.; GERO
  MEYERSIEK, Defendants

  Plaintiff, MARY SEGUIN (name all parties taking the appeal), appeals to the United States
  Court of Appeals for the FIRST Circuit from the Text Orders entered on March 7, 2024, on
  March 8, 2024 and on March 11, 2024.

  Plaintiff, MARY SEGUIN, appeals to the United States Court of Appeals for the FIRST Circuit
  all the functus officio modifications to the district court’s orders or functus officio actions taken
  in the district court after the filing of the appeal on November 17, 2023, affecting the cause
  without permission from the court of appeals.

  Plaintiff, MARY SEGUIN, appeals to the United States Court of Appeals for the FIRST
  CIRCUIT the functus officio actions taken in the district court after the filing of the appeal on
  November 17, 2023 (ECF 32), affecting the cause without permission from the court of appeals,
  that moreover deprived Plaintiff’s right to file an amended notice of appeal.

  Plaintiff, MARY SEGUIN, appeals to the United States Court of Appeals for the FIRST
  CIRCUIT this direct attack on the functus officio void actions taken in the district court without
  jurisdiction or without authority after the filing of the appeal on November 17, 2023 (ECF 32),
  affecting the cause without permission from the court of appeals. The appeal divested the district
  court of authority to modify the TWO November 17, 2023 Text Orders appealed from (ECF 32)
  or take other actions affecting the cause without permission from the court of appeals.

  Plaintiff, MARY SEGUIN, appeals to the United States Court of Appeals for the FIRST
  CIRCUIT the matter of the self-executing disqualification of the functus officio district court
  Judge William E. Smith.




   See Rule 3(c) for permissible ways of identifying appellants.

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  Plaintiff, MARY SEGUIN, appeals to the Court of Appeals for the FIRST CIRCUIT from
  Post-Appeal Orders and Actions Taken by the District Court Affecting the Cause under
  appeal.


                                                Mary Seguin

                                                Pro Se
                                                /s/____________________
                                                     _________
                                                            _ ___________
                                                Email:
                                                    il maryseguin22022@gmail.com
                                                               i 22022@
                                                Phone: (281)744-2016
                                                P.O. Box 22022
                                                Houston, TX 77019

                                                Dated: April 1, 2024




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